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                                        ALAN· BULIFANT
                                      September 27, 2021

        ∑∑∑∑∑∑∑∑∑∑UNITED STATES DISTRICT COURT
        ∑∑∑∑∑∑∑∑∑∑EASTERN DISTRICT OF MICHIGAN
        ∑∑∑∑∑∑∑∑∑∑∑∑SOUTHERN DIVISION
        ∑
        ∑∑JOHNATHAN L. BURKS,
        ∑∑∑∑∑∑∑∑∑∑Plaintiff,
        ∑∑∑∑vs.∑∑∑∑∑∑∑∑∑∑Case No. 2:19-cv-10027
        ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑Hon. Gershwin A. Drain
        ∑∑BENNY NAPOLEON, et al.,∑∑Magistrate Judge Anthony Patti
        ∑∑∑∑∑∑∑∑∑∑Defendants.
        ∑∑___________________________/
        ∑
        ∑
        ∑∑∑∑The Deposition of ALAN BULIFANT,
        ∑∑∑∑Taken at 500 Griswold Street, 30th Floor,
        ∑∑∑∑Detroit, Michigan,
        ∑∑∑∑Commencing at 9:07 a.m.,
        ∑∑∑∑Monday, September 27, 2021,
        ∑∑∑∑Before Cheri L. Poplin, CSR-5132, RPR, CRR.
        ∑
        ∑
        ∑
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        ∑


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           ∑1 APPEARANCES:                                             ∑1 Detroit, Michigan
           ∑2
           ∑∑∑∑FOR PLAINTIFF:
                                                                       ∑2 Monday, September 27, 2021
           ∑3                                                          ∑3 9:07 a.m.
           ∑∑∑∑∑∑∑SARAH S. PRESCOTT                                    ∑4
           ∑4∑∑∑∑∑∑Salvatore, Prescott, Porter & Porter
           ∑∑∑∑∑∑∑105 East Main Street
                                                                       ∑5∑∑∑∑∑∑∑∑∑∑∑∑ALAN BULIFANT,
           ∑5∑∑∑∑∑∑Northville, Michigan 48167                          ∑6∑∑∑was thereupon called as a witness herein, and after
           ∑∑∑∑∑∑∑248.679.8711                                         ∑7∑∑∑having first been duly sworn to testify to the truth,
           ∑6∑∑∑∑∑∑prescott@sppplaw.com
           ∑7                                                          ∑8∑∑∑the whole truth and nothing but the truth, was
           ∑∑∑∑FOR DEFENDANTS:                                         ∑9∑∑∑examined and testified as follows:
           ∑8
                                                                       10∑∑∑∑∑∑∑∑∑∑∑∑∑EXAMINATION
           ∑∑∑∑∑∑∑PAUL T. O'NEILL
           ∑9∑∑∑∑∑∑Wayne County Corporation Counsel                    11 BY MS. PRESCOTT:
           ∑∑∑∑∑∑∑500 Griswold Street                                  12 Q.∑∑Hi, Commander.∑I'm Sarah Prescott.∑We theoretically
           10∑∑∑∑∑∑Floor 30
                                                                       13∑∑∑met, it was a Zoom meeting, before, but I'm going --
           ∑∑∑∑∑∑∑Detroit, Michigan 48226
           11∑∑∑∑∑∑313.967.6402                                        14∑∑∑it's going to run very similarly.∑I will ask you some
           ∑∑∑∑∑∑∑poneill@waynecounty.com                              15∑∑∑questions, and we have these masks, which makes it
           12
           13
                                                                       16∑∑∑even harder for the court reporter and sometimes for
           14                                                          17∑∑∑me to tell if maybe you're hesitating but you have
           15                                                          18∑∑∑more to say.∑Likewise, you may not know if I'm
           16
           17
                                                                       19∑∑∑finishing.∑But best case scenario we don't talk over
           18                                                          20∑∑∑each other and we have a little gap in between so that
           19                                                          21∑∑∑Cheri can take down everything both of us say.∑If you
           20
           21                                                          22∑∑∑need a break, that's always no problem.∑I'd just ask
           22                                                          23∑∑∑that we -- answer any question that's pending and then
           23
                                                                       24∑∑∑it's fine to take a break any time you need.∑And then
           24
           25                                                          25∑∑∑the last point, and I'm sure I said this to you when


                                                              Page 3                                                                    Page 5
           ∑1∑∑∑∑∑∑∑∑∑∑∑TABLE OF CONTENTS                              ∑1∑∑∑we met before, but if there's ever a time where you
           ∑2                                                          ∑2∑∑∑don't know what I'm asking, will you let me know?
           ∑3∑WITNESS∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑PAGE                       ∑3 A.∑∑Yes.
           ∑4∑ALAN BULIFANT                                            ∑4 Q.∑∑Okay.∑What do you understand is your capacity for
           ∑5                                                          ∑5∑∑∑being here today in terms of your role as a witness?
           ∑6∑EXAMINATION BY MS. PRESCOTT∑∑∑∑∑∑∑∑∑∑∑∑∑4                ∑6 A.∑∑I'm here to answer questions about the Burks lawsuit
           ∑7                                                          ∑7∑∑∑regarding a sexual assault that occurred in the jail
           ∑8∑∑∑∑∑∑∑∑∑∑∑∑∑∑EXHIBITS                                    ∑8∑∑∑and my knowledge of departmental policies and
           ∑9                                                          ∑9∑∑∑procedures and to rebut reports from the experts
           10∑EXHIBIT∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑PAGE                       10∑∑∑regarding the matter.
           11 (Exhibit attached to transcript.)                        11 Q.∑∑Since the last time that you asked questions -- or
           12∑EXHIBIT 1∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑143                       12∑∑∑excuse me, answered questions up to today when you
           13                                                          13∑∑∑started answering questions, what documents have you
           14                                                          14∑∑∑reviewed of any kind about the case?
           15                                                          15 A.∑∑I was given the expert reports to read that I believe
           16                                                          16∑∑∑are supplied by your side, and I had to provide my
           17                                                          17∑∑∑resume or CV here.
           18                                                          18 Q.∑∑Okay.∑And besides looking at the reports of the
           19                                                          19∑∑∑experts, have you looked at any of the documents that
           20                                                          20∑∑∑were prepared, for example, by the department or
           21                                                          21∑∑∑anybody to do with the underlying matter or case?
           22                                                          22 A.∑∑No.∑I don't have access to the Internal Affairs files
           23                                                          23∑∑∑or anything anymore.
           24                                                          24 Q.∑∑Last time when we met you were sitting as a
           25                                                          25∑∑∑representative speaking on behalf of the county, so


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           ∑1∑∑∑then there's a whole bunch of your own personal                        ∑1 Q.∑∑What was your -- you know, a commander of a jail
           ∑2∑∑∑knowledge that we can't really get into there, and so                  ∑2∑∑∑division is pretty high up, so the fact that you're
           ∑3∑∑∑I just want to understand what you do and don't know                   ∑3∑∑∑dealing with a particular inmate when you're the
           ∑4∑∑∑and did and didn't do as background.∑So let's begin                    ∑4∑∑∑commander in 2018, what was that about?
           ∑5∑∑∑with whether -- have you ever in your life met the                     ∑5 A.∑∑Mr. Solomon became -- and I don't know if this is
           ∑6∑∑∑rapist, Martin Solomon?                                                ∑6∑∑∑HIPAA protected.∑I mean, am I allowed to talk about
           ∑7 A.∑∑Yes.                                                                 ∑7∑∑∑his medical condition?
           ∑8 Q.∑∑In what capacity did you ever meet him?                              ∑8 Q.∑∑Yeah.
           ∑9 A.∑∑When I was made the commander at Jail Division 1, he                 ∑9∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Yes.
           10∑∑∑was an inmate there, so I had to have some dealings                    10 A.∑∑Okay.∑So in 2018 when I became the commander,
           11∑∑∑with him while he was an inmate.                                       11∑∑∑Mr. Solomon, from what the medical teams had told me,
           12 Q.∑∑Was that during or after September 2018, then?                       12∑∑∑was suffering from -- there was no physical ailment,
           13 A.∑∑Yes.                                                                 13∑∑∑but he felt that he could not walk and that he was
           14 Q.∑∑And so would that timeline, sometime after                           14∑∑∑confined to a wheelchair, so the doctors had assured
           15∑∑∑September 2018, be the very first time that you ever                   15∑∑∑that there was no physical reason for this, so there
           16∑∑∑met him?                                                               16∑∑∑would be difficulties and times moving him to
           17 A.∑∑That I physically met him, yes.                                      17∑∑∑different areas of the jail for different activities
           18 Q.∑∑Okay.∑And also the first time that you had ever                      18∑∑∑or whatever, and then, you know, there were times he
           19∑∑∑spoken to him would have been during or after                          19∑∑∑would make accusations against staff and other inmates
           20∑∑∑September of '18?                                                      20∑∑∑and things, so it had become necessary to at times
           21 A.∑∑Yes.                                                                 21∑∑∑videotape his movements and -- and there was one
           22 Q.∑∑And had you heard anything about him before September                22∑∑∑incident in particular where I had to supervise the
           23∑∑∑of 2018?                                                               23∑∑∑movement of him from Jail Division 1 to Jail
           24 A.∑∑Yes.                                                                 24∑∑∑Division 2.
           25 Q.∑∑Okay.∑In what capacity?                                              25 BY MS. PRESCOTT:


                                                                              Page 7                                                                     Page 9
           ∑1 A.∑∑When I was the captain of Internal Affairs, you know,                ∑1 Q.∑∑And is the idea of the supervision that you were
           ∑2∑∑∑there was some investigations regarding his behaviors                  ∑2∑∑∑worried that he'd make an allegation that something
           ∑3∑∑∑in the jail, namely, the sexual assault with                           ∑3∑∑∑happened that the officers never really did do --
           ∑4∑∑∑Mr. Burks.                                                             ∑4 A.∑∑Yes.
           ∑5 Q.∑∑Okay.∑And so am I correct that you become the captain                ∑5 Q.∑∑-- if it wasn't witnessed by somebody?
           ∑6∑∑∑in charge of Internal Affairs, as you just mentioned                   ∑6 A.∑∑Yes.
           ∑7∑∑∑it, in May of 2017?                                                    ∑7 Q.∑∑And is that also the idea behind the videotaping?
           ∑8 A.∑∑I was actually made the executive lieutenant of                      ∑8 A.∑∑Yes.
           ∑9∑∑∑Internal Affairs back in 2009, and I served in that                    ∑9 Q.∑∑Were you also videotaping to prove that when he wanted
           10∑∑∑capacity all the way up until January of 2017.∑At                      10∑∑∑to he could get up and walk?
           11∑∑∑that point all of the captains were moved.∑I was sent                  11 A.∑∑Well, no.∑It wasn't -- we weren't videotaping like
           12∑∑∑to Jail Division 1 as a captain there, and then in May                 12∑∑∑24/7.∑Like what happened is like when we went to move
           13∑∑∑of 2017 they asked me to go back to Internal Affairs                   13∑∑∑him that day, we videotaped our interaction with him
           14∑∑∑and so I returned then, but in 2011 I was appointed to                 14∑∑∑in moving him to prove we didn't hurt him or assault
           15∑∑∑the rank of captain.                                                   15∑∑∑him or do anything like that.
           16 Q.∑∑I see.∑Okay.∑So from February 2011 until you leave                   16 Q.∑∑I got it.∑And all that time is it your understanding
           17∑∑∑for Jail Division 1 in 2017 you're running Internal                    17∑∑∑that he was awaiting trial for raping a woman and my
           18∑∑∑Affairs as its captain?                                                18∑∑∑client both?
           19 A.∑∑Yeah.∑Also in 2009 to 2011 I was the executive                       19 A.∑∑I'm not sure if I knew if he was awaiting trial or if
           20∑∑∑lieutenant, which was the highest rank in Internal                     20∑∑∑he was sentenced or whatever.∑I mean, I knew -- I
           21∑∑∑Affairs at that time.                                                  21∑∑∑remembered him from our Internal Affairs case and that
           22 Q.∑∑Okay.∑That's helpful.∑And so had you heard of any                    22∑∑∑there was a sexual assault case.∑I don't know if I
           23∑∑∑Internal Affairs investigations involving Solomon                      23∑∑∑knew if he had been convicted at that point or not or
           24∑∑∑other than to do with Burks?                                           24∑∑∑what.
           25 A.∑∑I don't recall.                                                      25 Q.∑∑Okay.∑In other words, though, your understanding was


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           ∑1∑∑∑that he was lying and malingering about his supposed                   ∑1 Q.∑∑And when you say signed off, is there an actual
           ∑2∑∑∑weakness and being in a wheelchair?                                    ∑2∑∑∑literal paper that does that?
           ∑3 A.∑∑All I know is that the medical team told me there was                ∑3 A.∑∑Yes.∑There's a cover sheet.
           ∑4∑∑∑nothing physically wrong with him.                                     ∑4 Q.∑∑Okay.∑And when do you leave did you say?
           ∑5 Q.∑∑Did anyone ever advise you that he had been engaged                  ∑5 A.∑∑I became the commander of Division 1 in September of
           ∑6∑∑∑with an alleged sexual assault of someone in MDOC and                  ∑6∑∑∑2018.
           ∑7∑∑∑then that prisoner had stabbed him repeatedly?                         ∑7 Q.∑∑Okay.∑You did say that.∑All right.
           ∑8 A.∑∑I don't recall if I knew that or not.                                ∑8∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑So I have here a page marked
           ∑9 Q.∑∑Okay.∑Did you ever speak with Mr. Solomon about the                  ∑9∑∑∑3057, Paul.∑I don't know that I'm going to mark it,
           10∑∑∑Burks matter?                                                          10∑∑∑but . . .
           11 A.∑∑No.                                                                  11 BY MS. PRESCOTT:
           12 Q.∑∑Do you know anybody who did?                                         12 Q.∑∑Can you take a look at that, Mr. Bulifant?∑My
           13 A.∑∑It was assigned to one of my detectives when I was in                13∑∑∑question is just what is that page?
           14∑∑∑charge of Internal Affairs.∑I don't remember who it                    14 A.∑∑This is an IA closure notification which shows that
           15∑∑∑was, but, I mean, I would have assigned the case and                   15∑∑∑the warrant was approved and that he was arrested on
           16∑∑∑it would have gone back through my office, you know,                   16∑∑∑the warrant, went to trial and was found guilty.∑It's
           17∑∑∑to be approved and everything.                                         17∑∑∑by Corporal Christopher Lawson, so he was the
           18 Q.∑∑Okay.∑So you're not -- you don't know really?                        18∑∑∑detective.
           19 A.∑∑Yeah.∑I wasn't intimately involved with the                          19 Q.∑∑Okay.∑And it's to you?
           20∑∑∑investigation.                                                         20 A.∑∑Um-hmm.
           21 Q.∑∑Okay.∑How about Mr. Burks?∑Have you ever in your                     21 Q.∑∑That's a yes just for the record?
           22∑∑∑life spoken with my client, Mr. Burks?                                 22 A.∑∑I'm sorry.∑Yes.
           23 A.∑∑Not that I'm aware of, no.∑I mean, if I had made                     23 Q.∑∑Okay.∑And then but that's in 2019?
           24∑∑∑rounds in the jail or something, maybe I had seen him                  24 A.∑∑Yes.
           25∑∑∑but I didn't know, you know . . .                                      25 Q.∑∑Is there -- based on your prior answer, it sounded


                                                                             Page 11                                                                 Page 13
           ∑1 Q.∑∑Okay.∑And do you know anyone who did speak with him                  ∑1∑∑∑like you were out of IA by then.
           ∑2∑∑∑ever about the Solomon incident?                                       ∑2 A.∑∑That's correct.
           ∑3 A.∑∑I know one of my detectives that I would have, but who               ∑3 Q.∑∑So do you know why this memo was to you?
           ∑4∑∑∑it was I don't know.                                                   ∑4 A.∑∑Obviously whoever the captain was that was in charge
           ∑5 Q.∑∑All right.∑Have you ever -- I know you said that you                 ∑5∑∑∑of IA at that time, which would have been Captain
           ∑6∑∑∑weren't intimately involved with the investigation.                    ∑6∑∑∑Carmen Ramirez, didn't realize it.
           ∑7∑∑∑Did you watch any of the witness interviews, like                      ∑7 Q.∑∑I'm sorry.∑Can you say that again?∑Someone didn't
           ∑8∑∑∑either in the room or because you could, you know,                     ∑8∑∑∑realize what?
           ∑9∑∑∑monitor them remotely?                                                 ∑9 A.∑∑The captain that this would have been submitted to,
           10 A.∑∑I don't believe I had the capacity to monitor them                   10∑∑∑which was Carmen Ramirez, didn't realize that it
           11∑∑∑remotely at that time, and I did not sit in on them.                   11∑∑∑wasn't her name at the top.
           12∑∑∑We did be -- we did get the ability to monitor                         12 Q.∑∑Do you know if you ever got 3057 and any attachments
           13∑∑∑remotely, but I believe it was after 2016.                             13∑∑∑to it?
           14 Q.∑∑Okay.∑Then all the way up till today have you                        14 A.∑∑This wouldn't have come to me, no.∑Because I was at
           15∑∑∑reviewed the tape-recordings of any interviews that                    15∑∑∑Division 1.
           16∑∑∑occurred around the Solomon and Burks rape?                            16 Q.∑∑Okay.∑And then once you're at -- out of IA it sounds
           17 A.∑∑No.                                                                  17∑∑∑like from something you said earlier you don't have
           18 Q.∑∑Do you have a memory sitting here today of reading the               18∑∑∑access to those files?
           19∑∑∑report of the sergeant that you would have assigned                    19 A.∑∑Right.∑Unless you were to be tasked with like a
           20∑∑∑when he or she was done with the review?                               20∑∑∑disciplinary hearing or something like that.∑When
           21 A.∑∑I don't have a memory of it.∑I mean, I'm sure that                   21∑∑∑you're out, you're out.
           22∑∑∑I -- that I -- if it had been turned in and submitted                  22 Q.∑∑Can you tell -- there is a signature and a stamp of
           23∑∑∑before I had left to become the commander of                           23∑∑∑approved.∑Did you use that stamp when you were in IA?
           24∑∑∑Division 1, I would have had to have read it and                       24 A.∑∑Yes.
           25∑∑∑signed off on it.                                                      25 Q.∑∑What does that mean?


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           ∑1 A.∑∑It means that it's been approved and then you would               ∑1 A.∑∑It's a report package from the jail.
           ∑2∑∑∑initial it, so this was -- it looks like a K to me.                 ∑2 Q.∑∑Okay.∑What should it contain?
           ∑3∑∑∑It could have been Carmen Ramirez, the captain, or it               ∑3 A.∑∑It would contain a cover sheet and then it would have
           ∑4∑∑∑could have been -- I'm not sure if Kevin O'Rourke was               ∑4∑∑∑a PJ83, which is the original police report.∑It could
           ∑5∑∑∑still the sergeant at that time or if he had been                   ∑5∑∑∑possibly have PJ99s, which are supplemental reports
           ∑6∑∑∑moved as well, but it looks like a K to me.                         ∑6∑∑∑from other officers that are involved.∑It may have
           ∑7 Q.∑∑Okay.∑It's helpful because my next question was                   ∑7∑∑∑documents from medical.∑It may -- it will usually
           ∑8∑∑∑there's a little squiggle of some sort of maybe an                  ∑8∑∑∑have inmate witness forms or possibly other civilian
           ∑9∑∑∑initialing, and you're not sure who that is?                        ∑9∑∑∑witness forms in it.∑It will have prosecution rights
           10 A.∑∑Yeah.∑My -- yeah.∑I'm not sure who it is.∑I believe               10∑∑∑forms in it.∑It will have a jail management system
           11∑∑∑it would be Carmen Ramirez or Kevin O'Rourke.                       11∑∑∑disciplinary report.∑It will have a housing status
           12 Q.∑∑Okay.∑Were you ever on Ward 610 let's say in the                  12∑∑∑board printout of the inmates that are in that area,
           13∑∑∑three months before and including August 2016?                      13∑∑∑and then, you know, depending upon the case or the
           14 A.∑∑I started in the Wayne County Sheriff's Office in                 14∑∑∑allegation, whatever it -- there's various other
           15∑∑∑1993, and I was assigned to the old jail, and I worked              15∑∑∑things, I mean, evidence tags.∑There's various other
           16∑∑∑the sixth floor many, many times as an officer between              16∑∑∑things that could be included.
           17∑∑∑1993 and 2002, so I had been on Ward 610 many times                 17 Q.∑∑Okay.∑And so who would oversee the gathering of that
           18∑∑∑prior to 2016.                                                      18∑∑∑package?
           19 Q.∑∑Okay.∑So I'm just asking -- fair.∑I'm just asking in              19 A.∑∑The jail.
           20∑∑∑the three months, so June, July, August of 2016, were               20 Q.∑∑Say it again.
           21∑∑∑you ever in Ward 610?                                               21 A.∑∑The jail.
           22 A.∑∑Not that I remember.                                              22 Q.∑∑The jail.∑So there are witnesses.∑There are officers
           23 Q.∑∑Okay.∑Have you ever spoken with the commander of the              23∑∑∑who are going to write the PJ83 and that's just going
           24∑∑∑jail division who is responsible at the time of the                 24∑∑∑to be whoever first came upon the incident; right?
           25∑∑∑rape?                                                               25∑∑∑Whichever officer --


                                                                          Page 15                                                                  Page 17
           ∑1∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Spoken about the case?                           ∑1 A.∑∑That it's reported to.
           ∑2∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑About the case, yeah.                           ∑2 Q.∑∑Is reported to.∑So then is the person who oversees
           ∑3 A.∑∑No.∑I wouldn't have spoken to them about the case.                ∑3∑∑∑the collection that person's sergeant or that person's
           ∑4 BY MS. PRESCOTT:                                                      ∑4∑∑∑lieutenant or captain or commander?∑Who is
           ∑5 Q.∑∑Okay.∑Do you know who was the commander that was over             ∑5∑∑∑responsible for overseeing that?
           ∑6∑∑∑the jail division where the rape occurred?                          ∑6 A.∑∑My answer would be in stages all of them because like
           ∑7 A.∑∑It changed hands multiple times.∑I'm sure I know who              ∑7∑∑∑let's say it happens on a weekend, so initially what
           ∑8∑∑∑the commander is, but I can't say specifically whether              ∑8∑∑∑happens is you report the incident, you notify your
           ∑9∑∑∑it was Lynnette Cain or Donafay Collins or whoever at               ∑9∑∑∑command, you notify medical, you notify
           10∑∑∑that time.                                                          10∑∑∑classification.∑You do everything you need to do.
           11 Q.∑∑Okay.∑Did you ever speak with anybody senior to you               11∑∑∑You write your reports up.∑You have to take them to
           12∑∑∑about the Burks and Solomon rape?                                   12∑∑∑the sergeant to get them approved.∑Then the sergeant
           13 A.∑∑Yeah.∑When cases come over to Internal Affairs to be              13∑∑∑makes sure that the package is together and has
           14∑∑∑investigated, you received a report package and I                   14∑∑∑everything it has, and he submits it -- or he or she
           15∑∑∑review it, and then what I would do is I would take                 15∑∑∑submits it to the lieutenant.∑The lieutenant then
           16∑∑∑them to Deputy Chief Tonya Guy, who was my boss, and                16∑∑∑reviews to make sure that everything is there and
           17∑∑∑then I would sit down and say, hey, look, this is a                 17∑∑∑nothing is missing.∑They submit it to the captain.
           18∑∑∑case that we've received from the jail, they're asking              18∑∑∑The captain reviews it.∑The captain gives it to the
           19∑∑∑for us to investigate it, it looks like, you know,                  19∑∑∑commander.∑The commander at that point back then,
           20∑∑∑this is the allegation, do we have your approval to go              20∑∑∑they were still having to send them to the deputy
           21∑∑∑ahead and initiate, you know, this investigation,                   21∑∑∑chief to look at, and then it would have to go to the
           22∑∑∑which she would have granted and then we would assign               22∑∑∑chief, and then it would be sent over to Internal
           23∑∑∑it out.                                                             23∑∑∑Affairs.
           24 Q.∑∑Okay.∑And what is the package that comes over that                24 Q.∑∑Okay.∑Are the people -- if it's an allegation of
           25∑∑∑you'd have in hand before you would have that meeting?              25∑∑∑sexual assault, just to make it easier, are the


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           ∑1∑∑∑accused and the victim, alleged victim, are they                       ∑1 Q.∑∑Okay.∑In 2016 you would have known that he was a
           ∑2∑∑∑already interviewed by the time this comes to IA or                    ∑2∑∑∑registered sex offender; right?
           ∑3∑∑∑does IA have to do that?∑What phase would -- who                       ∑3 A.∑∑If he was in the jail on a rape case but not
           ∑4∑∑∑would be handling that?                                                ∑4∑∑∑convicted, he may not have necessarily been registered
           ∑5 A.∑∑So it can happen in a few different ways, but the way                ∑5∑∑∑at that point, so I don't know if I would have known
           ∑6∑∑∑that it would normally happen is the allegation would                  ∑6∑∑∑if he was registered at that time or not.
           ∑7∑∑∑be made.∑They're separated.∑The officers would give                    ∑7 Q.∑∑So you don't recall at the time you were looking at
           ∑8∑∑∑them witness statement forms to fill out.∑They would                   ∑8∑∑∑this knowing that he'd, in fact, been convicted and
           ∑9∑∑∑fill them out.∑Internal Affairs would be notified,                     ∑9∑∑∑served a lengthy sentence in which he had maxed out
           10∑∑∑and then a detective would be sent over to make                        10∑∑∑for raping a child?
           11∑∑∑interviews or conduct interviews.                                      11 A.∑∑No.∑I don't -- I don't recall that.
           12 Q.∑∑Okay.∑And that's before the packet has gone through                  12 Q.∑∑Would you have known in 2016 about how MDOC had tried
           13∑∑∑the eight steps of all the way up and it's been                        13∑∑∑to send him to sex offender or rehabilitation
           14∑∑∑assigned?∑IA would already be sending someone over?                    14∑∑∑education and that he had been ejected from the
           15 A.∑∑It can be done that way, yes.∑Now, there are times                   15∑∑∑program?
           16∑∑∑where it won't be because you may get a call from like                 16 A.∑∑No.∑I wouldn't have known that.∑I want you to
           17∑∑∑a prison that says, hey, this inmate claims back in                    17∑∑∑understand the role of Internal Affairs, it's not fair
           18∑∑∑June of two years ago he was sexually assaulted.                       18∑∑∑to treat someone based upon -- you treat each
           19∑∑∑Well, obviously in that case there's nobody to go                      19∑∑∑individual act as an investigation and a new
           20∑∑∑interview or whatever, so you'll get the package                       20∑∑∑investigation.∑You know, you can't necessarily say
           21∑∑∑through first before you may try to settle that stuff                  21∑∑∑because someone's done something in the past that
           22∑∑∑up.∑So it depends on the case.∑But that's a typical                    22∑∑∑they're automatically guilty now.∑You look at the
           23∑∑∑serious sexual assault response.                                       23∑∑∑evidence and you look at, you know, everything that
           24 Q.∑∑Okay.∑And are all IA interviews recorded in 2016?                    24∑∑∑you have, and you present that to the prosecutor's
           25 A.∑∑They're supposed to be, yes.                                         25∑∑∑office, and then they take the action that they want


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           ∑1 Q.∑∑Am I correct that you personally, you individually did               ∑1∑∑∑to take.∑So did I know it?∑No.∑And, quite frankly,
           ∑2∑∑∑not interview any witnesses for the Burks and Solomon                  ∑2∑∑∑you investigate the case for what it is.
           ∑3∑∑∑investigation?∑Is that right?                                          ∑3 Q.∑∑Okay.∑So when you investigate the case for what it
           ∑4 A.∑∑Not that I recall, no.                                               ∑4∑∑∑is, that doesn't include trying to identify the
           ∑5 Q.∑∑Okay.∑And do you have a memory of reading any witness                ∑5∑∑∑person's charge or substantiated history of sexually
           ∑6∑∑∑statements from the investigation?                                     ∑6∑∑∑assaulting others when you have a sexual assault case?
           ∑7 A.∑∑I don't specifically recall them, but when the report                ∑7 A.∑∑If somebody had never raped anybody before but raped
           ∑8∑∑∑package would have come through to me, I would have                    ∑8∑∑∑somebody now, does that make it any less egregious?
           ∑9∑∑∑read it so that I could go and talk to the deputy                      ∑9 Q.∑∑Can you answer my question?∑Your investigation
           10∑∑∑chief guy about it, so I would have read them.                         10∑∑∑doesn't include and embrace trying to figure out if
           11 Q.∑∑Do you know all the way in your whole life sitting up                11∑∑∑someone alleged to have committed a sexual assault may
           12∑∑∑till today whether you've ever seen the intake and                     12∑∑∑have a history of committing sexual assaults it sounds
           13∑∑∑classification documents of either Solomon or Burks?                   13∑∑∑like; right?
           14 A.∑∑I don't believe I've seen them.                                      14 A.∑∑No.∑That is something that you may take into
           15 Q.∑∑How about Solomon's -- how much do you know all the                  15∑∑∑consideration when you're preparing to interview
           16∑∑∑way sitting up to today about Solomon's history of                     16∑∑∑someone, but that does not make them automatically
           17∑∑∑institutional and on the street rapes?∑Putting aside                   17∑∑∑guilty.
           18∑∑∑the Solomon and Burks piece.∑So, you know, sexually                    18 Q.∑∑I didn't say anything -- your department and your
           19∑∑∑assaulting bunkies or sexually assaulting women or                     19∑∑∑office never made any determination of substantiation
           20∑∑∑children out in the world.                                             20∑∑∑or non-substantiation of the allegations, did it?
           21 A.∑∑Yeah.∑I mean, I guess I would feel safe in saying                    21 A.∑∑We submitted a warrant request asking for criminal
           22∑∑∑that I know he's accused to have committed a or some                   22∑∑∑charges to be brought against him.∑That is our
           23∑∑∑sexual assaults.∑As far as how many or, you know, who                  23∑∑∑statement of we believe that we have probable cause
           24∑∑∑the victims were or how or how it was done, I didn't                   24∑∑∑that he has done this, we are asking you to criminally
           25∑∑∑have that intimate knowledge of it.                                    25∑∑∑charge him so that he can stand trial for that.∑That


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           ∑1∑∑∑is our statement.                                                     ∑1 A.∑∑Yes.
           ∑2 Q.∑∑That right there?                                                   ∑2 Q.∑∑Okay.∑Are you aware of federal law saying in 2016
           ∑3 A.∑∑Yeah.                                                               ∑3∑∑∑that your department had a duty within its own walls
           ∑4 Q.∑∑Okay.∑When he's -- when the warrant is requested?                   ∑4∑∑∑to substantiate or not substantiate sexual assaults?
           ∑5 A.∑∑Yes.                                                                ∑5 A.∑∑Yes.∑And we did when he was convicted.
           ∑6 Q.∑∑Is your department's determination?                                 ∑6 Q.∑∑Okay.∑But you just told me moments ago, and we went
           ∑7 A.∑∑If we didn't have probable cause in our mind, we                    ∑7∑∑∑over it about four times, that your department's
           ∑8∑∑∑wouldn't be able to submit the warrant.                               ∑8∑∑∑determination of substantiation was upon determining
           ∑9 Q.∑∑Okay.∑And that's a serious thing?∑I mean, you're                    ∑9∑∑∑probable cause.∑Didn't you say that?
           10∑∑∑asserting on the reputation and the basis of the                      10 A.∑∑Yes.∑I recall saying that.
           11∑∑∑investigation in your department probable cause;                      11 Q.∑∑And that you guys stand behind that as your reputation
           12∑∑∑right?∑You understand that that has judicial                          12∑∑∑and that's, you know, an important judicial step.∑Do
           13∑∑∑importance --                                                         13∑∑∑you remember saying that?
           14 A.∑∑Yes.                                                                14 A.∑∑Yes.
           15 Q.∑∑-- that your department stands behind that; right?                  15 Q.∑∑Okay.∑And so my question for you is, why didn't your
           16 A.∑∑Yes.                                                                16∑∑∑department report to the federal government that it
           17 Q.∑∑And that your department if it -- I mean, you have                  17∑∑∑had done its role, its whole entire role, you were
           18∑∑∑this relationship with the prosecutor's office, hey,                  18∑∑∑done, anybody else can do whatever they want in Kym
           19∑∑∑we stand behind this determination, this is our word                  19∑∑∑Worthy's office, we substantiate this?
           20∑∑∑on this; right?                                                       20 A.∑∑Because the case is not finished at that point.
           21 A.∑∑Yes.                                                                21 Q.∑∑Okay.∑Well, let me ask you this way.∑What if Kym
           22 Q.∑∑Well, then why wasn't this case marked substantiated                22∑∑∑Worthy said I don't have the resources or one of my
           23∑∑∑when you did that?                                                    23∑∑∑prosecutors messed up and accidentally didn't turn
           24 A.∑∑Because we don't substantiate a case.∑The trier of                  24∑∑∑over Brady evidence or committed -- you know, had an
           25∑∑∑fact in this case, the criminal justice system are the                25∑∑∑affair with the defense lawyer or something and I


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           ∑1∑∑∑ones that decide is he guilty or is he not.                           ∑1∑∑∑can't prosecute this case?∑Don't you have a duty and
           ∑2 Q.∑∑Okay.                                                               ∑2∑∑∑a responsibility internal to your own walls to make
           ∑3 A.∑∑We allow the justice to take its course.                            ∑3∑∑∑your own decision no matter what she does in her
           ∑4 Q.∑∑So you're not aware of the obligation under federal                 ∑4∑∑∑office?
           ∑5∑∑∑law to substantiate or rule substantiated or                          ∑5 A.∑∑You're asking about the report to the Federal Bureau
           ∑6∑∑∑unsubstantiated sexual assaults that happen in the                    ∑6∑∑∑of Prisons Crime Statistics report that we submit
           ∑7∑∑∑Wayne County Jail?                                                    ∑7∑∑∑every couple of -- every year about substantiated,
           ∑8 A.∑∑Upon his conviction it's substantiated.                             ∑8∑∑∑unsubstantiated, confirmed, unconfirmed.∑That's --
           ∑9 Q.∑∑No.∑Listen to my question.∑You're not aware of your                 ∑9∑∑∑that's the statement that you're requesting, that they
           10∑∑∑duty within the jail to rule, substantiated or not                    10∑∑∑send me through the mail that I read and interpret the
           11∑∑∑substantiated?                                                        11∑∑∑rules and the following myself and submit, that they
           12 A.∑∑I am aware of that duty because I used to have to                   12∑∑∑sometimes may or may not call back and ask you a
           13∑∑∑report the crime statistics to the feds.                              13∑∑∑question on.∑In relation to this hypothetical about a
           14 Q.∑∑Right.                                                              14∑∑∑prosecutor sleeping with a defense attorney or
           15 A.∑∑And upon the conviction he is substantiated guilty.                 15∑∑∑something, that situation didn't happen, so I didn't
           16 Q.∑∑Okay.∑See if you can follow my point.                               16∑∑∑have to face that and I didn't have to make a decision
           17 A.∑∑I can follow your point.                                            17∑∑∑on that.∑Just like in 2019 I wasn't there to make the
           18 Q.∑∑Outside of your whole role, you have no role                        18∑∑∑decision on this case.∑We requested a warrant
           19∑∑∑whatsoever, jurisdiction, ability to do anything to                   19∑∑∑request.∑The Wayne County Prosecutor's Office issued
           20∑∑∑prosecute someone; right?∑That's not your jail's                      20∑∑∑that.∑We went to trial and we got a criminal
           21∑∑∑role?                                                                 21∑∑∑conviction that makes Martin Solomon guilty of a
           22 A.∑∑Short of requesting a warrant.                                      22∑∑∑criminal sexual assault.∑We did everything that we
           23 Q.∑∑Right.∑But you agree with me; right?∑There's no --                  23∑∑∑could possibly do to provide justice in that matter.
           24∑∑∑your step ends when you request a warrant and then                    24 Q.∑∑Well, we'll get to more on that, but can I have an
           25∑∑∑somebody else has to go prosecute?                                    25∑∑∑answer to my question?∑Do you remember what --


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           ∑1 A.∑∑You're asking if I was aware of the duty to report it.             ∑1∑∑∑marked substantiated after the warrant request
           ∑2∑∑∑And yes, it was reported.                                            ∑2∑∑∑asserting probable cause, can you?
           ∑3 Q.∑∑No.∑I didn't ask that.∑I'm not asking about the duty               ∑3 A.∑∑I think we're arguing apples and oranges here.∑In our
           ∑4∑∑∑to report.                                                           ∑4∑∑∑mind it was substantiated because we submitted the
           ∑5 A.∑∑Then repeat the question, please.                                  ∑5∑∑∑warrant request.
           ∑6 Q.∑∑Okay.∑It's not about reporting.∑I didn't ask                       ∑6 Q.∑∑Okay.
           ∑7∑∑∑anything about reporting in my question.∑My question                 ∑7 A.∑∑Now, did somebody misinterpret the rules when they
           ∑8∑∑∑was whether you have a duty to make a determination                  ∑8∑∑∑report it and said we need to wait for a criminal
           ∑9∑∑∑inside your department of substantiated or                           ∑9∑∑∑conviction?∑That may have happened.∑The point of the
           10∑∑∑unsubstantiated for yourselves.                                      10∑∑∑matter is it doesn't change what happened at the end
           11 A.∑∑Fine.∑In my opinion, because we requested a warrant                11∑∑∑of the day.∑He was accused of sexual assault.∑We
           12∑∑∑request, in our mind it was substantiated.                           12∑∑∑requested a warrant.∑He went to trial and he was
           13 Q.∑∑Okay.∑And then you didn't report that on -- do you                 13∑∑∑convicted.
           14∑∑∑know that you didn't -- that this wasn't reported at                 14 Q.∑∑Okay.∑So is that the end of it for you?∑You got a
           15∑∑∑that time to the federal government through multiple                 15∑∑∑conviction of this guy and so that's the end of what
           16∑∑∑different formats?                                                   16∑∑∑your department needed to look at, in particular IA?
           17 A.∑∑They send it to us as a survey.                                    17 A.∑∑If there had been some egregious action, some error,
           18 Q.∑∑Just are you aware?                                                18∑∑∑something that had occurred that would have caused us
           19 A.∑∑Anything that I was given once it was determined                   19∑∑∑to take action, to take notice, to decide that there
           20∑∑∑completed -- because what's the date on the warrant                  20∑∑∑was some deficiency somewhere, any evidence at all
           21∑∑∑request?∑When was it submitted?                                      21∑∑∑that led to that, we would have taken action, but
           22 Q.∑∑It was submitted years earlier.∑I mean, it took them               22∑∑∑when -- in lacking any evidence that leads you down
           23∑∑∑forever to prosecute the guy.                                        23∑∑∑that substantial trial, all you can do is let the
           24 A.∑∑So, I mean, I don't have those documents in front of               24∑∑∑wheels of justice work.
           25∑∑∑me about how many I said were confirmed, how many were               25 Q.∑∑So you needed an egregious error or action but you


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           ∑1∑∑∑not.∑I don't have that stuff in front of me to look                  ∑1∑∑∑lacked any evidence.∑Did your people in IA look for
           ∑2∑∑∑at.∑I don't know what was sent in that year by me to                 ∑2∑∑∑any evidence of anybody doing anything wrong other
           ∑3∑∑∑the feds.∑Do you have the survey?                                    ∑3∑∑∑than Martin Solomon?
           ∑4 Q.∑∑Yeah.∑I have it.∑Yeah.∑In 2016 it says no, no cases                ∑4 A.∑∑They would have read the reports, interviewed the
           ∑5∑∑∑happened.∑In 2017 it says no, no substantiated cases                 ∑5∑∑∑parties involved, taken their statements, and they
           ∑6∑∑∑happened.∑2018 -- the 2018 report about 2016 or, you                 ∑6∑∑∑would have followed where the evidence led.∑If
           ∑7∑∑∑know, no, no substantiated cases happened.∑And I'm                   ∑7∑∑∑somebody had said something had occurred, then they
           ∑8∑∑∑just wondering why that is.∑I guess your answer is we                ∑8∑∑∑could have followed up on that, but when that doesn't
           ∑9∑∑∑were waiting to see what Kym Worthy was going to do                  ∑9∑∑∑occur, they can't.
           10∑∑∑and whether a jury would convict; right?                             10 Q.∑∑Okay.∑So you have people come through the jail,
           11 A.∑∑Yeah.                                                              11∑∑∑20,000 people a year, and they have a whole wide
           12 Q.∑∑So only if Kym Worthy gets a conviction and nothing                12∑∑∑variety of abilities, right, from probably pretty
           13∑∑∑goes wrong in the court or she doesn't decide she's                  13∑∑∑clever, hardened people, to some pretty vulnerable not
           14∑∑∑going to prosecute it does your department say we have               14∑∑∑the brightest bulbs.∑Can we agree on that?
           15∑∑∑a substantiated case?∑Is that the pattern?                           15 A.∑∑Yes.
           16 A.∑∑I don't know.∑I guess I would have to wait and see.                16 Q.∑∑Okay.∑Am I correct that you're not expecting victims
           17 Q.∑∑Well, I'm just asking if that's the pattern.                       17∑∑∑of crime to know what they should be asking and
           18 A.∑∑There is no pattern.                                               18∑∑∑answering in an investigation with a trained police
           19 Q.∑∑Okay.∑It's just that there are very few substantiated              19∑∑∑officer, are you?
           20∑∑∑cases, and I can see why that is if you're waiting for               20 A.∑∑Yes.∑I do expect a victim of a crime to be able to
           21∑∑∑Kym Worthy to do whatever outside her walls as opposed               21∑∑∑tell me what has occurred.∑We can't go out and
           22∑∑∑to making your own determinations.                                   22∑∑∑speculate every single day -- I mean, for instance,
           23 A.∑∑No.∑There's a number of reasons why there are very                 23∑∑∑did you commit a crime today?∑Should I be asking you
           24∑∑∑few unsubstantiated cases.                                           24∑∑∑that question?∑Should I be asking the court reporter
           25 Q.∑∑Well, you can't give me a reason why this one was not              25∑∑∑if she committed a crime today?


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            ∑1 Q.∑∑I don't understand your point.                                        ∑1∑∑∑make a determination because, as you stated, okay,
            ∑2 A.∑∑Do I go to a bank and ask a bank teller were you                      ∑2∑∑∑this person seems to be together, they seem to be able
            ∑3∑∑∑robbed today?∑Or do I wait for the bank teller to                       ∑3∑∑∑to communicate their point, they seem to be telling us
            ∑4∑∑∑say, hey, we were robbed?                                               ∑4∑∑∑their version of the facts, they seem to be credible,
            ∑5 Q.∑∑Okay.∑So now you have a victim saying I was raped.                    ∑5∑∑∑they seem to be reliable, we're interviewing them, the
            ∑6 A.∑∑Okay.                                                                 ∑6∑∑∑prosecutor's interviewed them, this and that, when
            ∑7 Q.∑∑And now you automatically know that if true, and you                  ∑7∑∑∑they don't say anything, you know, that anything off
            ∑8∑∑∑have to figure that out, but if true, you have someone                  ∑8∑∑∑the wall happened, that the jail's deficient in some
            ∑9∑∑∑who's undergone a serious trauma; right?                                ∑9∑∑∑way, shape, or form, you're not going to automatically
            10 A.∑∑Yes.                                                                  10∑∑∑assume that somebody failed somewhere.
            11 Q.∑∑And you don't know yet because you barely talk to them                11 Q.∑∑Okay.∑How about -- okay.∑Automatically assume? I
            12∑∑∑if they're the dimmest bulb in all of Wayne County or                   12∑∑∑thought your job was to be looking for evidence.
            13∑∑∑a criminal mastermind and that's why they're there;                     13 A.∑∑And if there's no evidence leading you down the rabbit
            14∑∑∑right?∑You don't know what their capabilities are.                      14∑∑∑hole, you don't go.
            15∑∑∑You've got to figure that out; right?                                   15 Q.∑∑Okay.∑So let's ask it this way.∑Do you have a
            16 A.∑∑No.∑I'm taking their statement and I'm following the                  16∑∑∑responsibility in IA to enforce a whole series of
            17∑∑∑facts where they lead.                                                  17∑∑∑rules and regulations and standards and expectations
            18 Q.∑∑Okay.                                                                 18∑∑∑that are unique to the jail staff?
            19 A.∑∑So in the scenario you just gave, it makes it sound                   19 A.∑∑I would say yes, but I want to clarify that when you
            20∑∑∑like if I think they're a criminal mastermind and                       20∑∑∑say enforce, the role in IA would be to report those
            21∑∑∑they're trying to manipulate it, I don't follow up on                   21∑∑∑and then it would be up to discipline, up to and
            22∑∑∑it at all.∑That's not the case.                                         22∑∑∑including the sheriff, to enforce.
            23 Q.∑∑No.∑That's not what I meant.∑That's not what I                        23 Q.∑∑Okay.
            24∑∑∑meant.∑I just meant you could be dealing with someone                   24 A.∑∑So we're not judge, jury, executioner.∑We are --
            25∑∑∑who's able to advocate for themselves and tell a clear                  25 Q.∑∑Investigators.


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            ∑1∑∑∑story.∑You could also be dealing with someone with                      ∑1 A.∑∑Yes.
            ∑2∑∑∑some real -- I mean, you know, that doesn't know what                   ∑2 Q.∑∑And in a good investigation, you have to be open to
            ∑3∑∑∑to say or how to get help for themselves.∑You must                      ∑3∑∑∑lots of possibilities; right?
            ∑4∑∑∑have experienced that; right?                                           ∑4 A.∑∑Yes.
            ∑5 A.∑∑Yes.                                                                  ∑5 Q.∑∑And you have to be willing to entertain all kinds of
            ∑6 Q.∑∑People who genuinely have been victims of crime who                   ∑6∑∑∑possibilities at least to see where the evidence might
            ∑7∑∑∑are not the best communicators; right?                                  ∑7∑∑∑go; right?
            ∑8 A.∑∑Yes.                                                                  ∑8 A.∑∑You follow the evidence where it leads you.
            ∑9 Q.∑∑And still your job, and the IA department, it's not                   ∑9 Q.∑∑Okay.∑And it's not just that.∑You don't just come in
            10∑∑∑just your job, but the job of the IA department is to                   10∑∑∑and say, guy who's sitting in a cell, tell us what you
            11∑∑∑get to the truth; right?                                                11∑∑∑feel like; right?∑And then you just take their
            12 A.∑∑Yes.∑Follow the evidence where it leads.                              12∑∑∑evidence.∑You actually have an interview that's run
            13 Q.∑∑And also to root out violations of policies and rules                 13∑∑∑by a trained investigator; right?
            14∑∑∑and laws; right?                                                        14 A.∑∑Yes.
            15 A.∑∑Yes.                                                                  15 Q.∑∑And that trained investigator goes through specialized
            16 Q.∑∑You're not depending on Joe Guy, who's a prisoner, to                 16∑∑∑training to learn how to explore different
            17∑∑∑do all the things you need to do to make sure the                       17∑∑∑possibilities; right?
            18∑∑∑department is following its rules and regulations, are                  18 A.∑∑Yes.
            19∑∑∑you?                                                                    19 Q.∑∑And not just to assume one thing happened but to, you
            20 A.∑∑Within reason.∑Because I see the rabbit hole you want                 20∑∑∑know, explore different potential issues; right?
            21∑∑∑to go down here.                                                        21 A.∑∑Within reasons.∑You're not going to -- you're not
            22 Q.∑∑Okay.                                                                 22∑∑∑going to make the narrative fit what you want it to
            23 A.∑∑That's not the case.∑Because you're counting on the                   23∑∑∑fit.∑You fit what is provided to you.
            24∑∑∑jail command to be responsible for running their                        24 Q.∑∑What's provided to you.∑Well, let's -- it seems like
            25∑∑∑facility.∑And so when we interview somebody and we                      25∑∑∑you're -- let's get to the heart of it.∑You're aware


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            ∑1∑∑∑that your investigator asked not one single question                    ∑1 Q.∑∑And you're not troubled by it, are you?
            ∑2∑∑∑about what was going on with the jail staff when the                    ∑2 A.∑∑Your job is to try to poke holes --
            ∑3∑∑∑rape occurred of Solomon -- of Burks by Solomon;                        ∑3 Q.∑∑Are you troubled by it?
            ∑4∑∑∑right?                                                                  ∑4 A.∑∑I'm troubled by it and I'll tell you why I'm troubled
            ∑5 A.∑∑I'm aware that Mr. Burks did not say that anything                    ∑5∑∑∑by it.∑Because your job is to poke holes in an
            ∑6∑∑∑negative about the jail staff.                                          ∑6∑∑∑investigation that did exactly what it is supposed to
            ∑7 Q.∑∑Did you hear my question?                                             ∑7∑∑∑do, take a victim who's been wrongfully victimized,
            ∑8 A.∑∑Yes.                                                                  ∑8∑∑∑report it, get him help, get him medical treatment, do
            ∑9 Q.∑∑My question was, you're aware that your investigator                  ∑9∑∑∑everything he's supposed to do, keep him safe, do what
            10∑∑∑didn't even ask a single question about what the staff                  10∑∑∑he was supposed to do.
            11∑∑∑was doing or not doing that night, aren't you?                          11 Q.∑∑Kept him safe?∑You think your investigation kept him
            12 A.∑∑Yes.                                                                  12∑∑∑safe?
            13 Q.∑∑Okay.∑And when did you become aware of that?                          13 A.∑∑If he hadn't been moved that day, how many --
            14 A.∑∑Through your questioning.∑I can tell where you're                     14 Q.∑∑You kept him safe after he was raped.∑I got it.
            15∑∑∑going.                                                                  15 A.∑∑You didn't even let me finish my answer.
            16 Q.∑∑Okay.∑So all the way up until today and sitting here                  16 Q.∑∑All right.∑Go ahead.
            17∑∑∑you did not know that your investigator didn't even                     17 A.∑∑We don't have a crystal ball.∑We don't know what's
            18∑∑∑ask a single question about what the staff was doing?                   18∑∑∑going to happen.∑Let's say the officers didn't move
            19 A.∑∑Mr. Burks said he was raped.∑He told the officers.                    19∑∑∑him that day, didn't do anything.∑How many days could
            20∑∑∑The officers wrote the reports.∑They got him moved.                     20∑∑∑he have been victimized?∑How -- could he have been
            21∑∑∑They got him medical attention.∑They got him help.                      21∑∑∑possibly killed?∑We don't have a crystal ball to know
            22∑∑∑It was reported to IA.∑We prosecuted the case.∑They                     22∑∑∑what would have happened in the future.∑When the
            23∑∑∑did everything they were supposed to do.                                23∑∑∑officers became aware of it, they reported it.∑My
            24 Q.∑∑I'm going to ask my question again.∑All the way up to                 24∑∑∑detective interviewed, did the warrant request,
            25∑∑∑now where you surmise from questions, I guess, what                     25∑∑∑presented it to the prosecutor's office.∑They


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            ∑1∑∑∑may have happened, you're telling me as the head of IA                  ∑1∑∑∑prosecuted the case and got a criminal conviction in
            ∑2∑∑∑you didn't know your officers didn't ask a single                       ∑2∑∑∑this matter.
            ∑3∑∑∑question about the policies, the procedures, the                        ∑3 Q.∑∑I heard you.
            ∑4∑∑∑activities, or the omissions of what the officers were                  ∑4 A.∑∑Justice worked that way.∑Where it's not working is
            ∑5∑∑∑doing on the night of the rape; is that right?                          ∑5∑∑∑now you're trying to say that what they did isn't good
            ∑6 A.∑∑I know you're trying to poke holes in their                           ∑6∑∑∑enough.∑That --
            ∑7∑∑∑investigation.∑If there's not evidence to lead them                     ∑7 Q.∑∑So you're troubled by me?
            ∑8∑∑∑there, they would not ask these questions.                              ∑8∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Excuse me.∑Objection.∑The
            ∑9 Q.∑∑I'm going to ask it again.                                            ∑9∑∑∑witness has not finished answering.
            10 A.∑∑Just like if I asked you today did you beat your                      10 BY MS. PRESCOTT:
            11∑∑∑children?∑I don't have any evidence that leads me to                    11 Q.∑∑You're right.∑Go ahead.∑Go ahead.∑I don't think
            12∑∑∑believe you've beaten your children, so I'm not going                   12∑∑∑you're answering the question, but . . .
            13∑∑∑to ask you that question.∑It's not appropriate.                         13 A.∑∑It's easy to sit there and try to fit the narrative to
            14 Q.∑∑But it's appropriate to just use it as a hypothetical?                14∑∑∑what you want it to be --
            15 A.∑∑I'm using it as an example.                                           15 Q.∑∑You think this is easy?
            16 Q.∑∑Let's go back to my question for the third time.                      16 A.∑∑-- instead of what actually occurred.∑It's easy to
            17∑∑∑Asking to strike that last answer.∑My question is, is                   17∑∑∑try to poke holes in what somebody else did when
            18∑∑∑it your testimony that up until sitting here and                        18∑∑∑they're not the ones actually doing it.
            19∑∑∑whatever you assume or surmise, you did not know, all                   19 Q.∑∑All right.∑Go ahead.
            20∑∑∑I'm asking is what you knew, not what other people                      20 A.∑∑They actually got a criminal conviction for a CSC
            21∑∑∑did, you did not know that your officers in IA did not                  21∑∑∑against a man who committed a CSC against him.
            22∑∑∑ask a single question about the activities or                           22 Q.∑∑You think -- who committed a CSC?
            23∑∑∑omissions of the security staff on the night of the                     23 A.∑∑Solomon.∑CSC Burks.
            24∑∑∑rape?                                                                   24 Q.∑∑Against a man who committed a CSC against him?
            25 A.∑∑No.∑I didn't know that.                                               25 A.∑∑We got a criminal conviction against Solomon for


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            ∑1∑∑∑sexually assaulting Burks.                                             ∑1∑∑protect people and keep people safe and protect them
            ∑2 Q.∑∑Yeah.∑We --                                                          ∑2∑∑and provide the best security that we possibly can.
            ∑3 A.∑∑Once we became aware of it and did it.                               ∑3∑∑Unfortunately in this case something happened.∑I wish
            ∑4 Q.∑∑Except you didn't; right?                                            ∑4∑∑I could go back and change it.
            ∑5 A.∑∑Solomon did it.                                                      ∑5∑∑∑∑∑∑∑In the early '90s when I was a deputy at
            ∑6 Q.∑∑Except you didn't get any conviction in your jail;                   ∑6∑∑Jail Division 2, it was either the mid or late '90s, I
            ∑7∑∑∑right?∑Earlier you wanted to make this                                 ∑7∑∑actually went in and physically intervened and stopped
            ∑8∑∑∑differentiation between -- okay.                                       ∑8∑∑a sexual assault on a known protect ward where I had
            ∑9 A.∑∑Okay.∑You want a conviction in the jail?∑Was there a                 ∑9∑∑to physically grab another man and remove him, pull
            10∑∑∑disciplinary report filed on Martin Solomon and did                    10∑∑him out from inside of another man.∑I've seen it
            11∑∑∑the hearing officer convict him and impose any                         11∑∑happen.∑I have nightmares about it.∑I've lived
            12∑∑∑sanctions?∑Do you have that information?                               12∑∑through it.∑I have physically placed my body on the
            13 Q.∑∑No, they didn't.∑He was housed with whoever.                         13∑∑line to stop those types of behaviors.∑I've spent all
            14 A.∑∑It has nothing to do with housing.∑I'm asking about                  14∑∑of my time in Internal Affairs trying to stop those
            15∑∑∑were there sanctions?∑Did he lose any sanctions or                     15∑∑types of behaviors.∑We've prosecuted inmates.∑We've
            16∑∑∑privileges at all?∑Was his classification level                        16∑∑prosecuted staff and gotten criminal convictions
            17∑∑∑changed?∑Did anything like that occur?                                 17∑∑against staff for engaging in sexual activity with
            18 Q.∑∑No.∑No.                                                              18∑∑inmates.∑We've prosecuted staff and gotten criminal
            19 A.∑∑I mean, I don't know what criminal --                                19∑∑convictions against staff for physically abusing and
            20 Q.∑∑Does that surprise you?                                              20∑∑assaulting physically inmates.∑We take these matters
            21 A.∑∑I don't know what conviction the jail got                            21∑∑very seriously.
            22∑∑∑disciplinary-wise, but, I mean, I know we did the                      22∑∑∑∑∑∑∑While I was in charge of Internal Affairs I
            23∑∑∑criminal aspect of it.                                                 23∑∑was responsible for over a hundred resignations or
            24 Q.∑∑Does it surprise you to know there was no discipline?                24∑∑terminations due to staff misconduct in the nine to
            25 A.∑∑No.∑I'm asking you simply if there is or not.                        25∑∑almost ten years that I was there.∑I've lived my


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            ∑1 Q.∑∑There isn't.∑His classification didn't change.∑And                   ∑1∑∑∑life -- some of the proudest work that I've ever done
            ∑2∑∑∑when they sent him -- when your jail sent him to MDOC                  ∑2∑∑∑is when I was in charge of Internal Affairs.∑I've
            ∑3∑∑∑after determining probable cause that he raped someone                 ∑3∑∑∑spent a career.∑I've taught on this subject.∑I still
            ∑4∑∑∑in your facility, they marked him as no red flags, no                  ∑4∑∑∑teach on this subject occasionally.∑I take it very
            ∑5∑∑∑concerns, nothing to know, MDOC.∑Does that surprise                    ∑5∑∑∑seriously, and I do everything that I can, as do --
            ∑6∑∑∑you?                                                                   ∑6∑∑∑does everyone else in the jail.∑We place our own
            ∑7 A.∑∑I don't really know what goes on with classification                 ∑7∑∑∑lives on the line.∑It's that -- Jail Division 2 is
            ∑8∑∑∑when somebody rides out and what we supply and what we                 ∑8∑∑∑the only jail where we've had two officers murdered in
            ∑9∑∑∑do not, so I don't really have an answer for that.                     ∑9∑∑∑it.∑We take every action that we can possibly take to
            10 Q.∑∑Okay.∑So my question was, are you troubled by the                    10∑∑∑make it as safe as we possibly can.∑Sometimes things
            11∑∑∑concept that there would be not a single question                      11∑∑∑happen.∑So what do you do?∑You deal with it the best
            12∑∑∑asked of my client of did you see staff, were they by,                 12∑∑∑you can upon finding out about it, and we did that in
            13∑∑∑did you ask for help, where were they, did you see                     13∑∑∑this case.
            14∑∑∑rounds?∑Anything to do with the floor security staff.                  14 Q.∑∑You think that this investigation was the best you
            15∑∑∑I asked if you were troubled.                                          15∑∑∑can?∑You did the best --
            16 A.∑∑I'm not troubled by that.                                            16 A.∑∑Nothing could take sexual assault back.
            17 Q.∑∑I didn't think you would be.∑But I didn't understand                 17 Q.∑∑No.∑I'm talking about the investigation after the
            18∑∑∑your last answer.∑Instead what your answer was was                     18∑∑∑fact.∑You did the best job with the sexual assault?
            19∑∑∑you're troubled that I'm asking these questions                        19 A.∑∑We followed the evidence where it led.
            20∑∑∑because it's trying to poke holes.∑That's troubling                    20 Q.∑∑Okay.∑But without asking even a single question about
            21∑∑∑to you; right?∑Because it's so easy for me?∑Is that                    21∑∑∑what the jail situation could have been, you followed
            22∑∑∑what your point was?                                                   22∑∑∑the evidence; is that --
            23 A.∑∑Look, I'm not trying to make this personal. I                        23∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection.∑Asked and
            24∑∑∑understand you have a job to do.∑Your job is to try                    24∑∑∑answered.
            25∑∑∑to win money from us.∑Our job is to just try to                        25 BY MS. PRESCOTT:


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            ∑1 Q.∑∑I guess you don't know that because you weren't aware                 ∑1∑∑∑robbed.∑You know nothing about it.∑Am I going to
            ∑2∑∑∑until now; right?                                                       ∑2∑∑∑say, well, did she know you got robbed?∑I mean --
            ∑3∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection.∑Asked and                                 ∑3 Q.∑∑I don't understand your --
            ∑4∑∑∑answered.∑And vague.∑Compound.∑I don't know what                        ∑4 A.∑∑If the officers had known something would have
            ∑5∑∑∑the question is.∑There's several questions in there.                    ∑5∑∑∑occurred, had occurred, they would have reported it.
            ∑6 BY MS. PRESCOTT:                                                          ∑6∑∑∑They didn't.∑I mean, as I sit here I don't know that
            ∑7 Q.∑∑I mean, you can't really say whether this was the best                ∑7∑∑∑they were asked.
            ∑8∑∑∑you could have done because you haven't even read or                    ∑8 Q.∑∑Your officer knows that a rape is alleged to have
            ∑9∑∑∑listened to the interviews; right?                                      ∑9∑∑∑occurred in conditions of confinement where the job --
            10 A.∑∑We have a criminal conviction in this matter.                         10∑∑∑the whole job of the floor security people is to keep
            11 Q.∑∑Okay.∑And that really gets to the heart of it.∑If                     11∑∑∑people safe and prevent injury to themselves and to
            12∑∑∑you put someone away for the sexual assault, then that                  12∑∑∑the staff; right?∑That's what's the setup here.
            13∑∑∑must mean you've done your job even if you don't take                   13 A.∑∑Yep.
            14∑∑∑any time or attention or ask a single question of how,                  14 Q.∑∑Someone says a crime occurred and you're like, wow,
            15∑∑∑let me finish, how breakdowns in the jail functioning                   15∑∑∑that's interesting because we had two sworn officers
            16∑∑∑itself could have contributed to the conditions that                    16∑∑∑whose whole job it was was to prevent something like
            17∑∑∑allowed the rape to happen?                                             17∑∑∑that.∑That's the setup.∑Doesn't it strike you as
            18 A.∑∑We do look for breakdowns in the jail situation, but                  18∑∑∑strange that the people whose job it was -- and I say
            19∑∑∑if nobody tells you that anything occurred, you have                    19∑∑∑two because it was two on afternoons and it was two
            20∑∑∑no lead to follow.                                                      20∑∑∑later on midnights, so it's -- you know, overnight
            21 Q.∑∑Okay.∑So it was up to Johnathan Burks to know what                    21∑∑∑there were four.∑Doesn't it strike you as strange
            22∑∑∑your policies all say so that he could bring it                         22∑∑∑that no one would go to them and say did you hear
            23∑∑∑forward?                                                                23∑∑∑something, did you see something, where were you, was
            24 A.∑∑No.∑No.                                                               24∑∑∑there any disturbance, what did you observe about the
            25 Q.∑∑Okay.∑So let's turn away from Johnathan Burks and the                 25∑∑∑countenances of the people?∑Does that not strike you


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            ∑1∑∑∑fact that he wasn't asked any questions.∑Are you                        ∑1∑∑∑as strange?
            ∑2∑∑∑aware that not a single question was ever asked of any                  ∑2 A.∑∑You don't know what you don't know.∑And that's the
            ∑3∑∑∑floor security staff who were on duty the night of the                  ∑3∑∑∑problem.
            ∑4∑∑∑rape ever?                                                              ∑4 Q.∑∑I'm asking about an investigation in your department.
            ∑5 A.∑∑They filed reports.                                                   ∑5 A.∑∑Um-hmm.
            ∑6 Q.∑∑No, they didn't, sir.∑You're not aware of that?                       ∑6 Q.∑∑Does it seem unusual that no one would go to the
            ∑7 A.∑∑They didn't write police reports?                                     ∑7∑∑∑people whose whole job it was to supervise and not ask
            ∑8 Q.∑∑That's right.                                                         ∑8∑∑∑them while you were supervising what did you see?
            ∑9 A.∑∑Wait a minute.∑You're not talking about the officers                  ∑9 A.∑∑I'm going to say no.∑Now, have the inmates said, hey,
            10∑∑∑that reported it.∑You're talking about the officers                     10∑∑∑I told them and they didn't do anything or
            11∑∑∑that were working when the alleged incident occurred?                   11∑∑∑something --
            12 Q.∑∑Yeah.                                                                 12 Q.∑∑Yeah.
            13 A.∑∑Oh, okay.∑Then I'll withdraw that.∑Yeah.∑I --                         13 A.∑∑-- like that that would give you reason to go back?
            14 Q.∑∑Are you aware that none of them ever were asked a                     14∑∑∑Then yes.∑But absent something -- it's like if I
            15∑∑∑single question?                                                        15∑∑∑don't notice a window's broken, hey, did you know this
            16 A.∑∑I may have been at some point.∑I don't know as I sit                  16∑∑∑window was broken?∑Well, no.∑If I did, I would have
            17∑∑∑here today if I was aware of that or not.                               17∑∑∑told you.∑I mean, it's --
            18 Q.∑∑Are you aware, I guess you are for my question, that                  18 Q.∑∑Does your investigator when he's talking to my client,
            19∑∑∑none of them was asked to do a 99 or -- I mean, an 83                   19∑∑∑does he have a job to do to see whether a crime has
            20∑∑∑wouldn't be right, but none of them was asked to even                   20∑∑∑occurred by the alleged rape?∑That's a pretty obvious
            21∑∑∑write a statement either?                                               21∑∑∑answer.∑He has that job to do; right?
            22 A.∑∑I didn't know that, but I also would offer that if                    22 A.∑∑He is following up on the facts and he's going to
            23∑∑∑nobody said anything that leads to them --                              23∑∑∑request a warrant.
            24 Q.∑∑But you just --                                                       24 Q.∑∑Can you answer my question?∑One of the things he's
            25 A.∑∑Again, you're a teller at a bank.∑This teller gets                    25∑∑∑supposed to do is figure out is there a basis to think


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            ∑1∑∑∑a crime occurred here, inmate-on-inmate violence?                    ∑1∑∑∑approach is Whac-A-Mole of like let's get this
            ∑2 A.∑∑Yeah.∑Now, see the way you phrased it there, yeah. I               ∑2∑∑∑prosecution after this thing happened, you could miss
            ∑3∑∑∑would say yes.∑Because I don't want -- like it's not                 ∑3∑∑∑opportunities to actually prevent the next situation?
            ∑4∑∑∑our job to see if a crime occurred or not.∑We request                ∑4∑∑∑Do you see that concern?
            ∑5∑∑∑a warrant.∑The prosecutor decides that a crime                       ∑5 A.∑∑I understand that concern, but do you understand my
            ∑6∑∑∑occurred or not.                                                     ∑6∑∑∑concern?∑That someone who's highly trained and
            ∑7 Q.∑∑I hear you.                                                        ∑7∑∑∑skilled and educated to go around and find
            ∑8 A.∑∑And that's a huge distinction for me.∑That's why I                 ∑8∑∑∑deficiencies, shortcomings, errors, problems, issues,
            ∑9∑∑∑answered differently this time.                                      ∑9∑∑∑you can make an argument for anything.∑I could sit
            10 Q.∑∑Okay.∑And then another thing he's supposed to be                   10∑∑∑here and walk through this building and find all kinds
            11∑∑∑doing is he's supposed to be helping protect the                     11∑∑∑of physical hazards that maybe you could trip over,
            12∑∑∑environment itself, the system itself, by determining                12∑∑∑maybe it could be a fire hazard, maybe it could this,
            13∑∑∑whether a breakdown could have occurred with regard to               13∑∑∑maybe it could that.∑We followed the evidence that
            14∑∑∑the rules and regulations of what the staff should                   14∑∑∑was presented to us.∑We could spend all day long
            15∑∑∑follow; right?                                                       15∑∑∑running around chasing, playing Whac-A-Mole, just like
            16 A.∑∑That can be part of his job, yes.                                  16∑∑∑you said, well, this could lead to this and this could
            17 Q.∑∑Was it part of his job with regard to Burks?                       17∑∑∑lead to this.∑We don't have a crystal ball.∑We do
            18 A.∑∑I think it's part of his job at all times.                         18∑∑∑the absolute best that we can in an environment that
            19 Q.∑∑Okay.∑In what way did the investigator, I think it's               19∑∑∑is very difficult and we take every precaution and
            20∑∑∑Mr. Lawson, assess in any way, shape, or form that                   20∑∑∑every safety measure that we can possibly do, an
            21∑∑∑part of his job, his responsibility to figure out                    21∑∑∑incredibly difficult decision putting our own lives in
            22∑∑∑could there have been a breakdown on our end?                        22∑∑∑danger and in jeopardy, and now, again, you want to
            23 A.∑∑I'm saying nothing led him to believe that there was a             23∑∑∑ask, well, why didn't we do this, why didn't we do
            24∑∑∑breakdown because there was nothing reported to him by               24∑∑∑that.∑You can only do what you can do.∑You don't
            25∑∑∑the inmate that led to this.∑Now, you're going to                    25∑∑∑have a crystal ball.∑And I don't know what Chris


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            ∑1∑∑∑say, well, no, that's not good enough, but, I mean,                  ∑1∑∑∑Lawson did.∑I don't know what he was thinking. I
            ∑2∑∑∑that's my answer.                                                    ∑2∑∑∑don't know why he was asking him was he thinking about
            ∑3 Q.∑∑So my question was, what did Lawson do -- you just                 ∑3∑∑∑this over here or looking at this and maybe there was
            ∑4∑∑∑said one of his jobs was to figure out if there was a                ∑4∑∑∑nothing to follow so he didn't.∑I'm not him. I
            ∑5∑∑∑problem with the department itself.                                  ∑5∑∑∑wasn't in his mind.
            ∑6 A.∑∑So now you're asking me to speculate what Chris Lawson             ∑6 Q.∑∑But you were his boss reviewing this.∑That's why I'm
            ∑7∑∑∑was thinking in his mind while he was interviewing                   ∑7∑∑∑asking.∑Do you think he did a good investigation
            ∑8∑∑∑this man.                                                            ∑8∑∑∑here?
            ∑9 Q.∑∑What you know that he did or didn't do.                            ∑9 A.∑∑Yes.∑He got a criminal conviction on this matter.
            10 A.∑∑I know he interviewed him.                                         10∑∑∑I'm not sure that I was the one reviewing it because
            11 Q.∑∑Do you know anything he did to try to figure out                   11∑∑∑it looks like it was turned in in 2019 when it was
            12∑∑∑whether or not the department had violated any rules,                12∑∑∑completed, the final package.∑I wasn't there.
            13∑∑∑any regulations, you know, it or its staff had                       13 Q.∑∑Well, you were there for years after, including up to
            14∑∑∑violated any expectations?                                           14∑∑∑and after the probable cause.
            15 A.∑∑I don't know what was in his mind.                                 15 A.∑∑And I would have read the warrant request that he
            16 Q.∑∑Do you know anything he did in that regard?                        16∑∑∑submitted to the prosecutor's office which I would
            17 A.∑∑I don't know what he may have followed up on or what               17∑∑∑have had to have approved or signed off on and I felt
            18∑∑∑was in his mind or whatever.∑I mean, I know he did                   18∑∑∑that that was adequate enough to present.
            19∑∑∑the warrant request.∑He got a criminal conviction.                   19 Q.∑∑Okay.∑Here's my point, because I'm not sure you --
            20∑∑∑He filed a report.∑The report was turned in.∑It                      20∑∑∑the Whac-A-Mole might have been too --
            21∑∑∑would have been reviewed.                                            21 A.∑∑Far?
            22 Q.∑∑Do you see my concern that -- I mean, can you at least             22 Q.∑∑-- too much of an analogy.∑You are very proud that
            23∑∑∑understand the concern that instead of looking for                   23∑∑∑there was a criminal conviction here.∑A crime is
            24∑∑∑problems that are within the department that could                   24∑∑∑being punished.∑That is one aspect of what
            25∑∑∑contribute to unsafe conditions, if instead your                     25∑∑∑Mr. Lawson's job was is to seek out and get the


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            ∑1∑∑∑information about the crime.∑And when he needed more                    ∑1∑∑∑on this aspect.
            ∑2∑∑∑information, are you aware that he went back to my                      ∑2 A.∑∑And I'm saying based upon what you've told me where he
            ∑3∑∑∑client and said I have more questions for you?∑Did                      ∑3∑∑∑went back and asked follow-up questions, he absolutely
            ∑4∑∑∑you know that?                                                          ∑4∑∑∑did.
            ∑5 A.∑∑I didn't know that as I sit here.                                     ∑5 Q.∑∑No.∑But you don't know what the follow-up questions
            ∑6 Q.∑∑Okay.∑And he followed up and he said, oh, well,                       ∑6∑∑∑were.
            ∑7∑∑∑Solomon says this or, oh, I need to -- there's one                      ∑7 A.∑∑You just described them to me, that he -- the fact
            ∑8∑∑∑thing about, you know, why did you da da da, and he                     ∑8∑∑∑that he had thought about it and went back.
            ∑9∑∑∑would come back and he would ask his questions; right?                  ∑9 Q.∑∑Since you don't know, let me fill you in further.∑He
            10∑∑∑And then he got that conviction.                                        10∑∑∑went back and asked him questions about Mr. Solomon
            11 A.∑∑Um-hmm.                                                               11∑∑∑and Mr. Burks and what happened.∑And my question for
            12 Q.∑∑And thankfully a rapist is -- you know, the people saw                12∑∑∑you is, is it your testimony that he did just as good
            13∑∑∑that there was a rape and they held him guilty and he                   13∑∑∑a job trying to figure out whether Judy Bell or Keith
            14∑∑∑is being sentenced according to law.∑I'm focused on a                   14∑∑∑Williams might have done something wrong as he did
            15∑∑∑different question, and that is the systemic effort to                  15∑∑∑trying to figure out whether Martin Solomon did
            16∑∑∑prevent the next and the next that may or may not have                  16∑∑∑something wrong?
            17∑∑∑been happening, and my question is, did Corporal                        17∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑All right.∑I'm going to
            18∑∑∑Lawson do a good job trying to figure out if there                      18∑∑∑place an objection at this point.∑This is becoming a
            19∑∑∑were any problems within the department itself and the                  19∑∑∑debate and an argument, and the questions are
            20∑∑∑floor security staff, their training or their                           20∑∑∑argumentative and the tone is argumentative, and I
            21∑∑∑behaviors on the night of the rape?∑Did he do a good                    21∑∑∑would like the questions -- place an objection on that
            22∑∑∑job at that?                                                            22∑∑∑basis and ask that we get back on track to discover
            23 A.∑∑It sounds to me like from you just told me he did an                  23∑∑∑facts and opinions that this witness is going to offer
            24∑∑∑excellent job because apparently he followed up and                     24∑∑∑at trial.
            25∑∑∑thought about other questions and things that he had                    25 BY MS. PRESCOTT:


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            ∑1∑∑∑maybe missed and didn't think of at the time, so he                     ∑1 Q.∑∑Go ahead.
            ∑2∑∑∑went back to your client and followed up on those                       ∑2 A.∑∑Yes.
            ∑3∑∑∑things, so it sounded like he was very attentive and                    ∑3 Q.∑∑And that's based on your belief in him or what?
            ∑4∑∑∑tuned in to this case.                                                  ∑4∑∑∑Because I know you didn't listen to any of his
            ∑5 Q.∑∑They were all questions about what Martin Solomon did.                ∑5∑∑∑interviews and you didn't know he didn't ask any
            ∑6 A.∑∑And had there been anything that led him to believe my                ∑6∑∑∑questions.∑So what's that based on?
            ∑7∑∑∑assumption is to staff, he would have followed it up                    ∑7 A.∑∑You haven't presented any evidence to where he was
            ∑8∑∑∑because Chris Lawson -- Chris Lawson is a detective                     ∑8∑∑∑deficient in some way.∑You haven't been able to point
            ∑9∑∑∑that criminally prosecuted five officers for                            ∑9∑∑∑to anything where they said, hey, he was told this and
            10∑∑∑brutalizing multiple inmates in the Wayne County Jail,                  10∑∑∑he didn't act on it.∑Now, if you had that, I would
            11∑∑∑and some of them even went to prison.∑Chris Lawson --                   11∑∑∑have assumed you would have already presented it.
            12 Q.∑∑Okay.∑Is that supposed to be some -- I mean, that's                   12 Q.∑∑How can I present you that he didn't question
            13∑∑∑his job.                                                                13∑∑∑somebody?∑Do you want to see the deposition
            14 A.∑∑I wasn't done answering.∑You never let me finish.                     14∑∑∑transcript of Ms. Bell saying no one even asked her a
            15 Q.∑∑Okay.                                                                 15∑∑∑single question about this?
            16 A.∑∑I mean --                                                             16 A.∑∑No.∑I don't want to see her deposition transcript,
            17 Q.∑∑Well, you're not really answering my question, but go                 17∑∑∑but --
            18∑∑∑ahead.                                                                  18 Q.∑∑That's the excellent job you're referring to is not
            19 A.∑∑Well, I'm trying to answer your question.∑Maybe you                   19∑∑∑asking a single question?
            20∑∑∑just don't understand what I'm saying.                                  20∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection.∑You're
            21 Q.∑∑No.∑I don't remember asking you did Chris Lawson ever                 21∑∑∑interrupting again.
            22∑∑∑convict --                                                              22 A.∑∑Apparently you want to testify and not me.
            23 A.∑∑You asked me if he did a great job.∑I'm telling you                   23 BY MS. PRESCOTT:
            24∑∑∑about his job.                                                          24 Q.∑∑Well, I'd like to get answers to my questions.
            25 Q.∑∑Yeah.∑I'm talking about on this.∑I'm talking about                    25∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑But you're interrupting the


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            ∑1∑∑∑witness before he's done answering.                                     ∑1∑∑∑the witness any of them.∑So I object.
            ∑2 BY MS. PRESCOTT:                                                          ∑2 BY MS. PRESCOTT:
            ∑3 Q.∑∑Do you have any more to your last answer?                             ∑3 Q.∑∑Go ahead.
            ∑4 A.∑∑I had something in my train of thought, but I lost it,                ∑4 A.∑∑Yeah.∑I'm not saying I agree with your assumptions or
            ∑5∑∑∑so no.∑Not at this point.                                               ∑5∑∑∑your statements of fact.∑But, I mean, we do rely on
            ∑6 Q.∑∑It's an excellent job not to ask Judy Bell what                       ∑6∑∑∑the jail to supervise and monitor the officers'
            ∑7∑∑∑happened that night?                                                    ∑7∑∑∑activity, and you are relying on evidence or
            ∑8 A.∑∑I don't remember what it was.                                         ∑8∑∑∑accusations, statements, something to lead you to a
            ∑9 Q.∑∑Okay.∑You said you take these things very seriously.                  ∑9∑∑∑potential deficiency, and absent that, again, you
            10∑∑∑Is it taking it very seriously not to ask the guards                    10∑∑∑could run around digging holes all day long everywhere
            11∑∑∑whose job it was to supervise the situation, what they                  11∑∑∑you go and coming up with nothing.∑That's not a good
            12∑∑∑saw, what they did?                                                     12∑∑∑use of resources.∑I've got other issues and other
            13 A.∑∑I've answered this multiple times.∑If there's no                      13∑∑∑things that I need to be dealing with to where I can't
            14∑∑∑evidence to implicate that they have done something                     14∑∑∑just take one case and ignore all the other cases and
            15∑∑∑wrong -- you don't know what you don't know.                            15∑∑∑just follow every possible solution of, you know, did
            16 Q.∑∑Okay.∑So is your point that it's my client's fault                    16∑∑∑aliens come down and abduct him.∑If there's no
            17∑∑∑that he was more worried about his rapist than he was                   17∑∑∑evidence leading you there, you don't go there.
            18∑∑∑about whether procedure one, two, three in the policy                   18 Q.∑∑And there can't be evidence leading you there so that
            19∑∑∑book was violated?                                                      19∑∑∑you can go there acting against your own officers if
            20 A.∑∑No.∑That's not my answer.∑It's not your client's                      20∑∑∑no one asks them if they might have been asleep that
            21∑∑∑fault.∑What I am saying is the incident occurred.∑We                    21∑∑∑night or not paying attention; right?
            22∑∑∑prosecuted it.∑We got a criminal conviction.∑We                         22 A.∑∑That is your assumption and opinion because you want
            23∑∑∑followed our guidelines.∑We got him medical                             23∑∑∑to paint them in a negative light.∑If you painted
            24∑∑∑treatment.∑We did everything we were supposed to do.                    24∑∑∑them in a positive light that had they done something
            25∑∑∑I've said it's unfortunate that this incident occurs.                   25∑∑∑wrong or were derelict in their duty in some way,


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            ∑1∑∑∑But now you're saying, well, you did A, B, C, D, and E                  ∑1∑∑∑shape, or form that they would respond correctly and
            ∑2∑∑∑but I think you could have done G better so that we                     ∑2∑∑∑appropriately.
            ∑3∑∑∑should have done that.∑I'm not saying it's his fault,                   ∑3 Q.∑∑Well, people have said -- I mean, here's why I ask it.
            ∑4∑∑∑but it's definitely not my staff's fault and it's                       ∑4∑∑∑You know, you know and I know the people of the State
            ∑5∑∑∑definitely not our officers' fault.∑We are -- look,                     ∑5∑∑∑of Michigan have said that a rape occurred on the
            ∑6∑∑∑this is all about deliberate indifference.∑We care.                     ∑6∑∑∑watch of these people, so something went wrong,
            ∑7∑∑∑We've always cared.∑We do not have a systemic sexual                    ∑7∑∑∑something that according to your testimony, and I take
            ∑8∑∑∑assault problem in this agency.∑We have always been                     ∑8∑∑∑it for completely true and valid, you don't want rapes
            ∑9∑∑∑at the forefront of trying to prevent and respond to                    ∑9∑∑∑to be happening in your system.∑Of course not. I
            10∑∑∑these types of issues and we do.                                        10∑∑∑don't assume you do.∑So something went wrong, and the
            11 Q.∑∑Okay.∑So let's talk about all the investigations                      11∑∑∑people have spoken and said it did, and you guys knew
            12∑∑∑before my client.∑How come staff are -- there are no                    12∑∑∑it did well before that.∑You knew it.∑You had the
            13∑∑∑interviews of the staff on scene when harassment and                    13∑∑∑warrant request and you had probable cause.∑So when
            14∑∑∑assault are reported in general?∑This isn't just                        14∑∑∑something has gone wrong, I just want to understand is
            15∑∑∑Mr. Burks and Mr. Solomon and what Corporal Lawson                      15∑∑∑it your testimony that it's not a good use of
            16∑∑∑did.∑How come when I look back at all of the CSC                        16∑∑∑resources to go back and say, okay, guys, obviously
            17∑∑∑allegations in this jail prior to August of 2016                        17∑∑∑bad things can happen from time to time, but this was
            18∑∑∑systematically there is no effort to question the                       18∑∑∑a big one, this was a rape, what could we have been
            19∑∑∑security staff who were supposed to be there at the                     19∑∑∑doing differently?∑Let's look at what the officers
            20∑∑∑time to determine whether or not they were following                    20∑∑∑there were doing and weren't doing.∑That's not a bad
            21∑∑∑expectations and rules and approved practice?                           21∑∑∑use of resources, is it?
            22∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection.∑You're asking                             22 A.∑∑No.∑That's not my testimony that it is a bad use of
            23∑∑∑this -- that's vague and it's an improper question in                   23∑∑∑resources.∑What I'm saying is we did what we have
            24∑∑∑the form.∑It's asking questions about multiple                          24∑∑∑always done.∑We take these matters seriously.∑We
            25∑∑∑apparently CSC investigations and you're not showing                    25∑∑∑handle them.∑We get medical attention.∑We separate


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            ∑1∑∑∑them.∑We criminally prosecute.∑We attempt to                           ∑1∑∑∑or a sexual harassment allegation when they're the
            ∑2∑∑∑convict.∑We do all of the things that we do.∑If                        ∑2∑∑∑floor security staff that were in the area?
            ∑3∑∑∑there is a deficiency that the evidence has led us to,                 ∑3 A.∑∑No.
            ∑4∑∑∑we follow up on that and we review it and we act on                    ∑4 Q.∑∑Is there a policy that says they should?
            ∑5∑∑∑it, and we've done that in the past.∑What you're                       ∑5 A.∑∑No.
            ∑6∑∑∑trying to say is that we are not perfect, and no, we                   ∑6 Q.∑∑Was there a practice of the department up to
            ∑7∑∑∑are not perfect, and that's completely different than                  ∑7∑∑∑August 2016 of examining the role in any way, shape,
            ∑8∑∑∑deliberately indifferent.                                              ∑8∑∑∑or form of floor security staff who are supervising
            ∑9 Q.∑∑That's not what I'm trying to say.                                   ∑9∑∑∑individuals when a CSC is alleged to have occurred?
            10 A.∑∑I'm sure that in hindsight it would be wonderful if I                10 A.∑∑Is there a practice of what?∑I'm sorry.
            11∑∑∑could go to everybody on every floor where everything                  11 Q.∑∑It was a long question.∑Prior to August 2016 was
            12∑∑∑happened and say, hey, did you see anything, did you                   12∑∑∑there a practice -- first let me just make it --
            13∑∑∑see anything, did you see anything, but we -- that's                   13∑∑∑hopefully -- it's a long question but it makes it
            14∑∑∑why we rely on officers to report what they see, hear,                 14∑∑∑easier.∑So I asked you if there are policies to do --
            15∑∑∑notice, smell, witness, you know, anything.∑We can't                   15∑∑∑either to ask or not to ask and you said no.∑So now I
            16∑∑∑just assume, oh, well, they should have asked this                     16∑∑∑wanted to talk about practice.∑So practice before
            17∑∑∑question and they should have done this.∑Anybody can                   17∑∑∑August 2016.∑Was there a practice of questioning
            18∑∑∑poke a hole at anything at any time.∑Your boss could                   18∑∑∑floor security staff who would have been assigned in
            19∑∑∑listen to this deposition and say, oh --                               19∑∑∑areas where a CSC or a sexual harassment or assault
            20 Q.∑∑I don't have a boss, sir.∑Thank you.                                 20∑∑∑would have been alleged to occur?
            21 A.∑∑Well, I'm sure there's some appellate judge somewhere                21 A.∑∑I can't say that it's a practice.∑Investigations are
            22∑∑∑that could listen and say, hey, this lawyer should                     22∑∑∑like artwork.∑They're not a science.∑They're an art.
            23∑∑∑have asked this question or done this question or this                 23∑∑∑So you -- you know, it's like people say the
            24∑∑∑or that, because we all have those deficiencies.∑We                    24∑∑∑sculpture's in the rock.∑You follow the evidence, the
            25∑∑∑all have those areas where could something have been                   25∑∑∑information where it goes.∑So if it's necessary, you


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            ∑1∑∑∑done better.∑Absolutely it could.∑I'm not immune to                    ∑1∑∑∑do it.∑If it's not necessary, you don't.∑You don't
            ∑2∑∑∑that.∑Detective Lawson's certainly not immune to                       ∑2∑∑∑make something -- something that's not there.
            ∑3∑∑∑that.                                                                  ∑3 Q.∑∑And are you -- I assume you don't have any criticism
            ∑4 Q.∑∑Okay.∑Good.∑So you guys aren't immune to that.∑So                    ∑4∑∑∑of Internal Affairs investigators who would not be
            ∑5∑∑∑why are you so resistant to the concept of, hey, Bell,                 ∑5∑∑∑asking for security staff, you know, hey, there was an
            ∑6∑∑∑Williams, get over here, there was a rape, you were                    ∑6∑∑∑alleged, you know, groping or sexual assault and they
            ∑7∑∑∑here that night, let's talk about what could have been                 ∑7∑∑∑don't talk to the floor security staff?∑You haven't
            ∑8∑∑∑done better?                                                           ∑8∑∑∑ever disciplined or said that's not the way to do it
            ∑9 A.∑∑I'm not --                                                           ∑9∑∑∑or that's not appropriate or you should have been
            10 Q.∑∑Just what could have been done better?                               10∑∑∑asking those questions, have you?
            11 A.∑∑I'm not resistant to that.                                           11∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection.∑Form.∑Again,
            12 Q.∑∑Okay.∑So you're open to that?                                        12∑∑∑same as before.∑The question asks about so many
            13 A.∑∑What I'm resistant is you're saying that Corporal                    13∑∑∑investigations.
            14∑∑∑Lawson is wrong because he didn't do that or I'm wrong                 14 A.∑∑I can't say that's accurate because, I mean, I would
            15∑∑∑because I didn't tell him to do that.                                  15∑∑∑call my detectives in all the time and talk to them
            16 Q.∑∑Did the jail division staff do that ever?                            16∑∑∑about things that were done and -- or weren't done or
            17 A.∑∑I don't know.                                                        17∑∑∑should have been done or shouldn't have been done or
            18 Q.∑∑Okay.                                                                18∑∑∑the way that they had been done, so, I mean, it is --
            19∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Let's take a break for a                            19∑∑∑it is.∑You know, we do -- we do monitor and review
            20∑∑∑minute.                                                                20∑∑∑and we try to make everybody better and each other
            21∑∑∑∑∑∑∑∑∑(Recess taken at 10:17 a.m.)                                     21∑∑∑better constructively.∑So can I sit here and say that
            22∑∑∑∑∑∑∑∑∑(Back on the record at 10:20 a.m.)                               22∑∑∑I've never done it?∑No.
            23 BY MS. PRESCOTT:                                                         23 BY MS. PRESCOTT:
            24 Q.∑∑Is there a policy somewhere that says that officers                  24 Q.∑∑Do you train IA officers that they should be asking
            25∑∑∑shouldn't be questioned when there's a CSC allegation                  25∑∑∑for security staff, what happened, what they saw, what


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            ∑1∑∑∑they didn't see when an alleged sexual assault occurs?                  ∑1 Q.∑∑Finding out who was where when.
            ∑2 A.∑∑It's a case-by-case basis.∑If there's something that                  ∑2 A.∑∑Yes.
            ∑3∑∑∑leads you to go there, then absolutely you should be                    ∑3 Q.∑∑Did Bell or Williams or Seals or Lee, the four
            ∑4∑∑∑doing it.                                                               ∑4∑∑∑officers who were on duty the night of the rape, did
            ∑5 Q.∑∑What is -- isn't there a value in your line of work to                ∑5∑∑∑they all carry out all their duties according to
            ∑6∑∑∑having, even if it's just a zero report, like I got                     ∑6∑∑∑expectation of the department?
            ∑7∑∑∑nothing, to record that at the time?∑So going back to                   ∑7 A.∑∑I have no idea.
            ∑8∑∑∑Bell or Williams.∑Did you see anything?∑No, I didn't                    ∑8 Q.∑∑Did you ever know?
            ∑9∑∑∑see anything.∑Isn't there a value to having a                           ∑9 A.∑∑It's not what I was tasked to investigate.∑The jail
            10∑∑∑memorialized record of the people who are there?                        10∑∑∑command would be in charge of supervising them.
            11 A.∑∑They do their JMS entry logs.                                         11 Q.∑∑Is there a reason why your department, the IA folks,
            12 Q.∑∑Okay.∑But I'm asking about, hey, there's been an                      12∑∑∑did not routinely connect with jail command when there
            13∑∑∑alleged rape let's say.∑You were on duty.∑You were                      13∑∑∑would be an allegation of sexual assault to
            14∑∑∑doing rounds.∑You were there.∑Isn't there a value in                    14∑∑∑postmortem, you know, these very issues, okay, you
            15∑∑∑memorializing even if they saw nothing so that you                      15∑∑∑guys are in charge, I think you said you rely on them
            16∑∑∑have for your records?                                                  16∑∑∑to supervise, and we're looking at, you know,
            17 A.∑∑It depends on the circumstances.∑It depends on the                    17∑∑∑enforcement -- or not enforcement, but a detection of
            18∑∑∑evidence.∑If the inmate had said, hey, I told them                      18∑∑∑rule violations, so let's connect and talk about the
            19∑∑∑and they did nothing about it, then absolutely.                         19∑∑∑Burks case or -- or the Jones case or whatever the
            20 Q.∑∑If the what?                                                          20∑∑∑sexual assault claims are?
            21 A.∑∑If the inmate had said, hey, I told them and they                     21 A.∑∑Your statement of fact is inaccurate because we
            22∑∑∑didn't do anything about it, then absolutely.                           22∑∑∑actually would talk.∑Me and the commanders would
            23 Q.∑∑Is there a reason Mr. Lawson didn't ask my client did                 23∑∑∑meet, and we would talk about different aspects.∑If
            24∑∑∑you ask for help or did you tell any officers about                     24∑∑∑something occurred that I felt was an issue or
            25∑∑∑this?                                                                   25∑∑∑whatever, I could call them up and talk to them.∑We


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            ∑1 A.∑∑When you interview somebody, you get them talking and                 ∑1∑∑∑would have lunch.∑We would do all kinds of things.
            ∑2∑∑∑you get them to give you the information.∑Now, you                      ∑2∑∑∑In this particular case I imagine that conversation
            ∑3∑∑∑may ask follow-up questions.∑You may ask clarifying                     ∑3∑∑∑would have gone like, hey, this guy Mr. Burks says
            ∑4∑∑∑questions.∑You may do a number of things.∑But an                        ∑4∑∑∑that Solomon raped him, so we're prosecuting him.
            ∑5∑∑∑ethical investigator doesn't want to lead somebody                      ∑5∑∑∑What else do I have to go on?∑Because he doesn't
            ∑6∑∑∑down a path that's going to make them admit to                          ∑6∑∑∑allege that anything else occurred.∑He didn't even
            ∑7∑∑∑something they maybe haven't done.∑So part of it is                     ∑7∑∑∑allege anything else occurred in his criminal trial.
            ∑8∑∑∑as much as you don't want to revictimize the victim,                    ∑8 Q.∑∑So you're not aware -- have you read his testimony?
            ∑9∑∑∑I'm not going to sit here and throw up all kinds of                     ∑9 A.∑∑At some point I must have because I do --
            10∑∑∑things to say, oh, well, so how many times did the                      10 Q.∑∑So you're not aware that he --
            11∑∑∑officer come in and punch you in the face?∑You take                     11 A.∑∑-- because I do recall that he did not make any
            12∑∑∑the statements that he gives you, that they give you                    12∑∑∑statement about notifying the deputies in his criminal
            13∑∑∑and you follow them where they go.                                      13∑∑∑trial of Mr. Solomon.
            14 Q.∑∑You keep using this example of did I abuse my kids                    14 Q.∑∑You really want to sit here and testify to that?
            15∑∑∑this morning or did the court reporter rob a bank or,                   15∑∑∑That's what you think happened?
            16∑∑∑you know, did someone punch someone in the face, but                    16 A.∑∑Yeah.∑That's my recollection of it.
            17∑∑∑there was an actual rape that occurred here, --                         17 Q.∑∑Okay.∑So you're not aware that he testified that he
            18 A.∑∑Yes.                                                                  18∑∑∑specifically called out for help and tried to wave a
            19 Q.∑∑-- so it wasn't just creating facts.∑It was trying to                 19∑∑∑kite and wave over an officer?
            20∑∑∑understand who was where when.∑That's your job;                         20 A.∑∑That's different than saying I told an officer what
            21∑∑∑right?                                                                  21∑∑∑had occurred.∑Again, that's a misstatement of the
            22 A.∑∑And the facts that were reported were --                              22∑∑∑facts.
            23 Q.∑∑Can I get an answer to my point?∑That's a core job;                   23 Q.∑∑But you do recall that he tried to wave over an
            24∑∑∑right?                                                                  24∑∑∑officer and get help after he'd been raped and said
            25 A.∑∑What is a core job?                                                   25∑∑∑that the officer ignored his pleas for help?


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            ∑1 A.∑∑I don't know about waving out for an officer, but I                   ∑1 A.∑∑On this particular case?
            ∑2∑∑∑recall something about him saying that he yelled.                       ∑2 Q.∑∑In general.∑Is that contrary to what you would say?
            ∑3 Q.∑∑Do you recall him saying he was waving out -- or that                 ∑3 A.∑∑I'm trying to recall if there was a time I ever spoke
            ∑4∑∑∑he was in any way trying to flag down an officer for                    ∑4∑∑∑to her about any cases.∑Yeah.∑I don't recall if I
            ∑5∑∑∑assistance after he'd been raped and was ignored?                       ∑5∑∑∑ever spoke to her or not.∑I mean, there were
            ∑6 A.∑∑I do not recall that.                                                 ∑6∑∑∑commanders that I did speak to about different cases.
            ∑7 Q.∑∑That would be troubling if that happened, wouldn't it?                ∑7∑∑∑Some are coming to mind, but I believe the one I'm
            ∑8 A.∑∑It depends.                                                           ∑8∑∑∑specifically thinking of was at Jail Division 1, so
            ∑9 Q.∑∑Okay.                                                                 ∑9∑∑∑maybe she was at 2.
            10 A.∑∑Is the officer -- did the officer see it?∑Was the                     10 Q.∑∑And am I correct that she wouldn't have gotten any
            11∑∑∑officer in location where he could see it or hear it?                   11∑∑∑feedback about Solomon and Burks while it was an
            12∑∑∑I mean, all of these things are not in evidence.                        12∑∑∑active IA investigation up to April of 2019?
            13 Q.∑∑Definitely.∑Definitely.∑So when you read that -- did                  13 A.∑∑If there was something -- like there are times during
            14∑∑∑you read that or did you not?∑I don't remember.                         14∑∑∑an IA case, because you do keep things kind of
            15 A.∑∑I recall somewhere --                                                 15∑∑∑private, but there are times if something has occurred
            16 Q.∑∑Okay.∑Good.                                                           16∑∑∑that they need to know about to take proper
            17 A.∑∑-- about him stating -- him not stating -- there was                  17∑∑∑precautions like right away to stop something or
            18∑∑∑no statement on the record of him in trial that he had                  18∑∑∑prohibit, you know, some activity or something from
            19∑∑∑told an officer.∑It's not like he said, hey, I told                     19∑∑∑going on, there are times where you would communicate
            20∑∑∑Bell or I told -- you know, I don't even know what the                  20∑∑∑like, hey, as a result of an investigation we found
            21∑∑∑other guy's name is, but there was no record of that.                   21∑∑∑out that this is allegedly happening, you need to make
            22 Q.∑∑So you do or you don't recall that he testifies that                  22∑∑∑sure that you stop this.
            23∑∑∑he -- because you just said he never even testified to                  23 Q.∑∑Okay.∑And so you don't recall that happening in this
            24∑∑∑it, and I went you don't know?                                          24∑∑∑case; right?
            25 A.∑∑I was --                                                              25 A.∑∑No.


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            ∑1 Q.∑∑So now my question is, do you recall at some point                    ∑1 Q.∑∑And so best you would know is that she would at
            ∑2∑∑∑when you were in IA learning that he had tried to flag                  ∑2∑∑∑earliest be informed of something to do with this case
            ∑3∑∑∑down an officer for help and been ignored?                              ∑3∑∑∑when the case would be closed?
            ∑4 A.∑∑I don't recall that.                                                  ∑4 A.∑∑She probably wasn't even informed then because I
            ∑5 Q.∑∑Okay.∑Would that be something that your department                    ∑5∑∑∑believe she would have been at Jail Division 3 at that
            ∑6∑∑∑would investigate?                                                      ∑6∑∑∑point.
            ∑7 A.∑∑If it was new evidence that came into being that was                  ∑7 Q.∑∑Okay.∑So whoever who was over the jail division, the
            ∑8∑∑∑substantiated in some way, shape, or form, but here's                   ∑8∑∑∑earliest, then, you would understand, based on
            ∑9∑∑∑the problem.∑If your back is to me and I wave like                      ∑9∑∑∑processes, that they would get anything back on
            10∑∑∑this and you don't see it, that's not your fault.                       10∑∑∑Solomon and Burks was at the closure of the IA file?
            11 Q.∑∑Well, you go ask the officer; right?∑Hey, did you see                 11 A.∑∑In this particular case.
            12∑∑∑this?∑He says he's a rape victim and you're just                        12 Q.∑∑Right.∑Am I correct?
            13∑∑∑ignoring him.∑Did you see something?∑You'd ask the                      13 A.∑∑Yes.
            14∑∑∑question; right?                                                        14 Q.∑∑Have you ever spoken with Bell, Williams, Seals, or
            15 A.∑∑And maybe Officer Lawson did.∑I don't know.                           15∑∑∑Lee, the defendants in this case, about Solomon or
            16 Q.∑∑So you're not aware that he didn't?                                   16∑∑∑Burks?
            17 A.∑∑I don't know.                                                         17 A.∑∑No.
            18 Q.∑∑Okay.                                                                 18 Q.∑∑Do you know anybody who has?
            19 A.∑∑Again, I'm going from recollection from -- you know.                  19 A.∑∑Corporal Lawson.
            20 Q.∑∑So Commander Cain testified that you didn't have any                  20 Q.∑∑Why do you say that?
            21∑∑∑sort of -- so you said I was wrong.∑Well, it's not                      21 A.∑∑Okay.∑Now, wait a minute.∑So help me with the facts
            22∑∑∑just Sarah Prescott sitting here saying that.                           22∑∑∑here.∑Bell and who are working the day of the alleged
            23∑∑∑Commander Cain testified that she did not get feedback                  23∑∑∑incident?
            24∑∑∑back from IA about its findings, about its positions                    24 Q.∑∑Williams.
            25∑∑∑on what was going on in the sexual assault claims.                      25 A.∑∑Williams.∑So they're working the shift of the alleged


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            ∑1∑∑∑incident; correct?                                                    ∑1∑∑∑would follow the leads of what my client offered, hey,
            ∑2 Q.∑∑And then Lee and Seals are on the next shift.                       ∑2∑∑∑this person might have seen something, this person
            ∑3 A.∑∑Okay.∑Is it reported to Lee and Seals?                              ∑3∑∑∑might have seen something?∑Should Corporal Lawson
            ∑4 Q.∑∑Tried to be.                                                        ∑4∑∑∑follow those leads?
            ∑5 A.∑∑Okay.∑So who actually writes the reports?∑The shift                 ∑5 A.∑∑I would say yes.
            ∑6∑∑∑after that?                                                           ∑6 Q.∑∑Do you know whether my client offered any leads like
            ∑7 Q.∑∑Two shifts later I guess.                                           ∑7∑∑∑that?
            ∑8 A.∑∑Okay.∑Then no, I'm not aware of anybody that spoke to               ∑8 A.∑∑As I sit here, no, I do not.
            ∑9∑∑∑them.∑I was thinking it was the next shift that                       ∑9 Q.∑∑Okay.∑Would it trouble you if Corporal Lawson didn't
            10∑∑∑reported it, but if it's not, then no, I don't know                   10∑∑∑follow those kinds of leads that my client would have
            11∑∑∑anybody that spoke to them.                                           11∑∑∑given him?
            12 Q.∑∑Doesn't it seem like the officers would be really good              12 A.∑∑I don't want to use the word "troubled" because I
            13∑∑∑witnesses to help put a guy behind bars if he raped                   13∑∑∑would want to ask Corporal Lawson why didn't he and
            14∑∑∑someone who were there watching everybody the night of                14∑∑∑see what his explanation was.∑Maybe there's a reason
            15∑∑∑the rape?                                                             15∑∑∑why.∑I don't know.
            16 A.∑∑Only if they had direct evidence on the case.                       16 Q.∑∑So my client told Corporal Lawson some other guys told
            17 Q.∑∑Yeah.∑And you can't find that out unless you ask them               17∑∑∑me they saw Solomon coming in and out of my cell at
            18∑∑∑the question; right?                                                  18∑∑∑the time of the rape and they were right across the
            19 A.∑∑They would have reported it had they observed                       19∑∑∑hall in the other ward and they told me afterwards,
            20∑∑∑something.                                                            20∑∑∑hey, yeah, we saw that and also they happened to know
            21 Q.∑∑Okay.∑Now, Mr. -- unless possibly they weren't paying               21∑∑∑that he was a prior rapist of bunkies at MDOC and so
            22∑∑∑attention and they were derelict in their duty.∑Then                  22∑∑∑they took notice and they saw what was going on and he
            23∑∑∑they might not report that I was derelict in my duty.                 23∑∑∑tells Lawson that.∑You're not aware of that?
            24 A.∑∑Do you have evidence to back that up?                               24 A.∑∑As I sit here, no.
            25 Q.∑∑Did you entertain that as a possibility in your IA                  25 Q.∑∑And are you aware of whether Corporal Lawson went to


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            ∑1∑∑∑department?                                                           ∑1∑∑∑talk to those guys?
            ∑2 A.∑∑I would have to defer you to Corporal Lawson.                       ∑2 A.∑∑No, I'm not.
            ∑3 Q.∑∑So your testimony is that a good investigator would                 ∑3 Q.∑∑Who might have been direct witnesses?
            ∑4∑∑∑follow up the leads of what my client specifically                    ∑4 A.∑∑No, I'm not aware.
            ∑5∑∑∑said happened and who might have seen something                       ∑5 Q.∑∑Can you give an opinion on whether that would be a
            ∑6∑∑∑happen; right?                                                        ∑6∑∑∑good or bad thing to do to go check with them?
            ∑7 A.∑∑Now, we gotta be very careful.                                      ∑7 A.∑∑No.∑I would expect that if he had been told that that
            ∑8 Q.∑∑Okay.                                                               ∑8∑∑∑he should have went and asked them.
            ∑9 A.∑∑We're speaking specifically about this case.∑We're                  ∑9 Q.∑∑And if he goes and interviews a witness, he should be
            10∑∑∑not speaking about all cases.∑We're speaking about                    10∑∑∑recording it and making report about it; right?
            11∑∑∑the facts of this case.                                               11 A.∑∑Yes.
            12 Q.∑∑Okay.                                                               12 Q.∑∑Do you know when you first received any training
            13 A.∑∑Because in this case the evidence is based upon the                 13∑∑∑relative to the Prison Rape Elimination Act?
            14∑∑∑testimony or the witness, the victim.                                 14 A.∑∑I don't remember exactly what year it was.∑I know we
            15 Q.∑∑Okay.                                                               15∑∑∑were kind of in the forefront.∑We were writing the
            16 A.∑∑If there was physical evidence or something in some                 16∑∑∑policy on it, and then we got that online training
            17∑∑∑other case that leads you to believe that there's                     17∑∑∑through the NCIC for responding to and investigating
            18∑∑∑something else that's going on, then you can follow                   18∑∑∑reports of prison rape.
            19∑∑∑that trail.∑So what I'm saying is is we follow the                    19 Q.∑∑When I think of forefront, I think what you mean but I
            20∑∑∑trail.∑I don't want to paint this to where every case                 20∑∑∑want to understand is that you were early adopters?
            21∑∑∑is done this way because if there was something else                  21 A.∑∑I believe we were, yes.∑That's my recollection of it.
            22∑∑∑to where, you know -- some other kind of forensic                     22∑∑∑We were -- we were in the beginning.
            23∑∑∑information came up that would lead you to think                      23 Q.∑∑Okay.∑Do you know when the PREA standards came out?
            24∑∑∑something else happened, then you would follow that.                  24∑∑∑Was it 2012?
            25 Q.∑∑Okay.∑Is it your testimony that a good investigation                25 A.∑∑I wouldn't be surprised, because I remember Deputy


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            ∑1∑∑∑Chief Larry Hall, who's not been with us for quite a                    ∑1∑∑∑decision or we go to trial on this date.∑So I would
            ∑2∑∑∑few years, was the one responsible for initially                        ∑2∑∑∑get updates about -- so we probably talked about it at
            ∑3∑∑∑writing the policy, and I remember reviewing it and                     ∑3∑∑∑some point.
            ∑4∑∑∑talking to him about it a little bit here and there,                    ∑4 Q.∑∑Okay.∑It sounds like there's nothing where you
            ∑5∑∑∑and he's been gone for quite a while.∑So that                           ∑5∑∑∑specifically remember a more substantive discussion
            ∑6∑∑∑wouldn't surprise me.                                                   ∑6∑∑∑about it that you can testify about?
            ∑7 Q.∑∑Okay.∑PREA requires everybody get PREA training every                 ∑7 A.∑∑No.
            ∑8∑∑∑two years as a refresher.∑If they haven't had it                        ∑8 Q.∑∑Do you know whether the policies on rounds were being
            ∑9∑∑∑before, certainly to have it in the first place if                      ∑9∑∑∑followed the night of the rape?
            10∑∑∑they haven't had it before.∑And that wasn't happening                   10 A.∑∑I thought that was part of what we talked about the
            11∑∑∑until 2016.∑Are you aware of that?                                      11∑∑∑last time.
            12 A.∑∑I don't know what was going on in the jails.∑I'm not                  12 Q.∑∑Well, we talked about cameras and some on rounds, but
            13∑∑∑sure if that's accurate for Internal Affairs.                           13∑∑∑I'm just wondering if you know whether like Williams,
            14 Q.∑∑Okay.∑But you don't know when the Internal Affairs                    14∑∑∑Bell, Seals, Lee, those rounds they did were in
            15∑∑∑trainings were?                                                         15∑∑∑accordance with written policy at the time.
            16 A.∑∑Well, no.∑They were all online.∑So, I mean, we may                    16 A.∑∑I thought that that was part of the review or whatever
            17∑∑∑have been doing it in the jails maybe -- I don't know                   17∑∑∑for the last deposition and that it looked like they
            18∑∑∑if the jail were doing it or not doing it.∑I wasn't                     18∑∑∑were.∑That's my recollection.
            19∑∑∑in charge of the jails at that point.∑But what I'm                      19 Q.∑∑Okay.∑And so we talked about whether the policy
            20∑∑∑saying is is that you're saying they weren't doing it                   20∑∑∑saying that there needed to be continuous rounds of
            21∑∑∑until 2016.∑I'm not arguing that.∑I'm just saying                       21∑∑∑prisoners of this kind and we talked about continuous
            22∑∑∑I -- it may have been.∑I don't know if you have our                     22∑∑∑means continuous.
            23∑∑∑training records from IA.∑I wouldn't be shocked if we                   23 A.∑∑Um-hmm.
            24∑∑∑were doing it.                                                          24 Q.∑∑Your point is but we could do our rounds?
            25 Q.∑∑Would you be able to identify the IA file, the full IA                25 A.∑∑Um-hmm.


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            ∑1∑∑∑file on Solomon and Burks or would you not have seen                    ∑1 Q.∑∑And the records do show that they were doing rounds
            ∑2∑∑∑it because it wouldn't have been completed until after                  ∑2∑∑∑about hourly; right?
            ∑3∑∑∑the prosecution?                                                        ∑3 A.∑∑Um-hmm.
            ∑4 A.∑∑I mean, when you say identify it, like -- well, see,                  ∑4 Q.∑∑Do you recall that?
            ∑5∑∑∑do you mean like if anything is missing?                                ∑5 A.∑∑Um-hmm.
            ∑6 Q.∑∑Yes.∑Yeah.                                                            ∑6 Q.∑∑That's yes?
            ∑7 A.∑∑I mean, I wouldn't know without the original file if                  ∑7 A.∑∑Yes.∑I'm sorry.
            ∑8∑∑∑something was missing.∑I mean, I can tell you what's                    ∑8 Q.∑∑Okay.∑So did anyone at any point ever put in writing
            ∑9∑∑∑there and what it looks like it is and what -- what I                   ∑9∑∑∑that you know of we're not going to be doing
            10∑∑∑would think should be there, but without the actual                     10∑∑∑continuous rounds, we're going to be doing these
            11∑∑∑file, I wouldn't know if -- I mean, what -- if they                     11∑∑∑hourly rounds, this policy that says continuous, we're
            12∑∑∑left something out, I don't know if I would know.                       12∑∑∑not applying that, that you know of?
            13 Q.∑∑Okay.∑Do you ever remember specifically talking to                    13 A.∑∑Yeah.∑I don't know.∑I mean, when I left the jail in
            14∑∑∑Lawson about the Burks and Solomon investigation?                       14∑∑∑2002, we were doing continuous rounds, but then I made
            15 A.∑∑I don't specifically remember talking to him about it,                15∑∑∑detective and went out to a street unit, and then they
            16∑∑∑but I know that we would have because you're required                   16∑∑∑brought in the cameras, and so it all changed at that
            17∑∑∑to do case extensions -- oh, wait a minute.∑This is a                   17∑∑∑time period, and I'm not -- I don't know what was
            18∑∑∑criminal case not involving an officer, so there would                  18∑∑∑written or not written or anything about it.
            19∑∑∑be no case extensions.∑Periodically I would look at                     19 Q.∑∑Do you think that they've changed doing the continuous
            20∑∑∑the case logs to see how many cases were assigned to                    20∑∑∑rounds because of the cameras?
            21∑∑∑each officer where they were and so I would go to them                  21 A.∑∑Yeah.∑Yeah.∑Because of the camera system, that's --
            22∑∑∑and I would say give me an update, where are you on                     22∑∑∑doing continuous rounds were stopped.
            23∑∑∑this case and it would be like, well, hey, we're                        23 Q.∑∑I see.∑Okay.∑And then you're not sure -- okay.∑So
            24∑∑∑waiting for this person to come back from sick leave                    24∑∑∑that's an example.∑So you're in IA and there's this
            25∑∑∑or this one's at the prosecutor's office waiting for a                  25∑∑∑policy and it's on the books that says do continuous


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            ∑1∑∑∑rounds with these kinds of prisoners.∑And nobody has                    ∑1 BY MS. PRESCOTT:
            ∑2∑∑∑said to stop that; right?∑You just said I'm not aware                   ∑2 Q.∑∑"In fact, some of the policies call for not just
            ∑3∑∑∑of there being anything in writing that says that's                     ∑3∑∑∑rounds every 30 minutes but continuous rounds; right?
            ∑4∑∑∑not what we're doing anymore.∑So doesn't that put                       ∑4∑∑∑∑∑∑∑∑∑Answer:∑On specific housing units.
            ∑5∑∑∑your department in a weird position because there's a                   ∑5∑∑∑∑∑∑∑∑∑Question:∑And continuous rounds means just
            ∑6∑∑∑written policy that says to do it and there's nothing                   ∑6∑∑∑that, you're constantly walking between one and the
            ∑7∑∑∑saying to stop?                                                         ∑7∑∑∑next, or does it mean something different?
            ∑8 A.∑∑No.∑No, no, no.                                                       ∑8∑∑∑∑∑∑∑∑∑Answer:∑No.∑You're walking -- you're
            ∑9 Q.∑∑Okay.                                                                 ∑9∑∑∑walking, you know, continuously from one and the
            10 A.∑∑I think I misconstrued your question.∑I mean, I got                   10∑∑∑other.
            11∑∑∑the new policy that says do them hourly or half hourly                  11∑∑∑∑∑∑∑∑∑Question:∑And so were there times that
            12∑∑∑if the camera system's down.∑You asked was there a                      12∑∑∑continuous rounds were instituted in certain wards
            13∑∑∑policy saying to stop the old policy.∑I don't                           13∑∑∑because of camera inoperability?"
            14∑∑∑remember seeing a policy that says stop the old                         14∑∑∑∑∑∑∑∑∑So then we get into the cameras.∑You say,
            15∑∑∑policy.∑I have the new policy where we were operating                   15∑∑∑"I wasn't there.∑I don't have personal knowledge of
            16∑∑∑under, but it doesn't -- I don't know if it                             16∑∑∑that."
            17∑∑∑specifically says this supersedes or replaces the                       17∑∑∑∑∑∑∑∑∑And I asked you if there were continuous
            18∑∑∑other one or whatever.                                                  18∑∑∑rounds during the time frame of this rape, and you
            19 Q.∑∑So you're not aware that the current up-to-date today                 19∑∑∑say -- let's see.∑"Were there times continuous rounds
            20∑∑∑policy still says to do continuous rounds with                          20∑∑∑were instituted?"
            21∑∑∑prisoners that are close security or higher?                            21∑∑∑∑∑∑∑∑∑"I don't -- I wasn't there.∑I don't have
            22 A.∑∑No.∑There's -- there's been several ideations of that                 22∑∑∑personal knowledge.∑Yes, there would have been times
            23∑∑∑policy even since the other deposition that we did and                  23∑∑∑continuous rounds were instituted."
            24∑∑∑so -- because it just changed at my jail again.                         24∑∑∑∑∑∑∑∑∑"How about from January 15 through August
            25 Q.∑∑Okay.                                                                 25∑∑∑of '16" --


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            ∑1 A.∑∑That closed continuous observation rounds I think                     ∑1∑∑∑∑∑∑∑∑∑"Answer:∑I wasn't --"
            ∑2∑∑∑you're talking about?                                                   ∑2∑∑∑∑∑∑∑∑∑I finished the question.∑"-- time frame?"
            ∑3 Q.∑∑It says continuous rounds -- okay.∑So let's take -- I                 ∑3∑∑∑∑∑∑∑∑∑"I wasn't there at that time.∑But I would
            ∑4∑∑∑confused things by saying up till today because we're                   ∑4∑∑∑venture to guess if the camera systems monitoring, the
            ∑5∑∑∑not worried about 2021 or 2022.∑So in 2016 we're                        ∑5∑∑∑video monitoring itself was down on the fifth and
            ∑6∑∑∑allowed to ask for what was the policies, and then                      ∑6∑∑∑sixth floor, then continuous rounds would have been
            ∑7∑∑∑Mr. O'Neill goes and he gets the policies that were in                  ∑7∑∑∑implemented."
            ∑8∑∑∑place in 2016 and he hands me the policy on rounds,                     ∑8∑∑∑∑∑∑∑∑∑Is that your belief that continuous rounds
            ∑9∑∑∑and the policy -- and this is what we talked about at                   ∑9∑∑∑were implemented?
            10∑∑∑your last deposition, and the policy says you do                        10 A.∑∑I -- I only believe continuous rounds would be
            11∑∑∑continuous rounds.∑Do you remember talking about that                   11∑∑∑implemented if it's a mental health issue, like for
            12∑∑∑and we went over that policy?                                           12∑∑∑suicide watch or something.∑They call it close
            13 A.∑∑I remember the hourly and half hourly according to the                13∑∑∑observation, but usually that's on the fourth floor,
            14∑∑∑camera system.                                                          14∑∑∑Division 1.∑Or possibly the fifth floor if it was a
            15 Q.∑∑Okay.∑You don't remember us talking about the                         15∑∑∑female inmate.
            16∑∑∑continuous rounds?                                                      16 Q.∑∑Okay.∑Then we talk about 2.3.∑So policy 2.3 is the
            17 A.∑∑Maybe if you can show it to me.                                       17∑∑∑policy on classification.∑Okay?∑Classification
            18 Q.∑∑Okay.                                                                 18∑∑∑plans.∑And it says that "Security Level 2.∑Close
            19 A.∑∑I know with mental health close observation there may                 19∑∑∑security inmates shall have in cell supervision from a
            20∑∑∑be still times that continuous rounds are necessary.                    20∑∑∑continuously staffed security post in the immediate
            21 Q.∑∑And I can pull out the policy too.∑Just give me a                     21∑∑∑area and within sound of the housing unit.∑In
            22∑∑∑second.                                                                 22∑∑∑addition, rovers shall continuously monitor close
            23 A.∑∑But that's mental health.                                             23∑∑∑custody housing areas and make continuous rounds.
            24∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑This is Page 21, Paul, if                           24∑∑∑Continuous rounds and sound supervision shall be
            25∑∑∑you want to pull it up.                                                 25∑∑∑provided close security inmates who are assigned to


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            ∑1∑∑∑occupancy cells and for out of cell activities as                       ∑1∑∑∑aren't going to do this or we shouldn't do this, what
            ∑2∑∑∑well."∑And then also "Supplemental security measures                    ∑2∑∑∑policy 2.3 is saying, we're going to be doing a
            ∑3∑∑∑also shall be taken if warranted."                                      ∑3∑∑∑different kind of rounds?
            ∑4∑∑∑∑∑∑∑∑∑So that's in 2.3.∑It's Paragraph 5-A.∑And                         ∑4 A.∑∑The classification -- no.∑No.
            ∑5∑∑∑I can hand it to you if you want.                                       ∑5 Q.∑∑Okay.∑You mentioned that you had looked at the expert
            ∑6 A.∑∑You say that's a classification policy?                               ∑6∑∑∑reports and that you're here to rebut them.∑What did
            ∑7 Q.∑∑That's right.                                                         ∑7∑∑∑you mean?∑How so?
            ∑8 A.∑∑Yeah.∑Can I see it, please?                                           ∑8 A.∑∑Well, I don't agree with the opinions and conclusions
            ∑9 Q.∑∑Yeah.∑So it's 5.∑It's got the orange.                                 ∑9∑∑∑that were reached on.∑One of the things that I
            10 A.∑∑Like Page 1 or 2 does it say the classification at the                10∑∑∑noticed was that the experts didn't seem to have any
            11∑∑∑top or --                                                               11∑∑∑investigative experience.∑They had experiences like
            12 Q.∑∑Page 1 and 2.∑I've handed the witness Page 1 and 2.                   12∑∑∑jail administrators and teachers and things like that.
            13 A.∑∑So this was written in January of '06.                                13∑∑∑And one of the guidelines especially through PREA is
            14 Q.∑∑Okay.                                                                 14∑∑∑that an independent third party review takes place,
            15 A.∑∑I don't know if it was subsequently replaced because I                15∑∑∑which in our instance is the Wayne County Prosecutor's
            16∑∑∑wasn't -- I've never been assigned to classification.                   16∑∑∑Office reviewing this case and doing their criminal
            17∑∑∑It may have been replaced.∑It may have been that the                    17∑∑∑prosecution.∑See, it's easy as a jail administrator
            18∑∑∑jail updated the round policy and didn't know this one                  18∑∑∑to point out a flaw because you're the trier of fact.
            19∑∑∑existed, because classification is kind of separate                     19∑∑∑You get to say, okay, you're wrong in this avenue, but
            20∑∑∑from the jail because you've got -- you've got like,                    20∑∑∑you don't have to run that by anybody.∑It's not
            21∑∑∑you know, commander of the jail, but classification,                    21∑∑∑peer-reviewed.∑Whereas like a true investigator,
            22∑∑∑you have a director of classification and they're kind                  22∑∑∑they're not the trier of fact.∑They present the fact
            23∑∑∑of equal and separate, so . . .∑I mean, I'm                             23∑∑∑and then a discipline panel makes the decision or the
            24∑∑∑speculating.∑It could be this had been updated or                       24∑∑∑jail administration makes the decision or the
            25∑∑∑rescinded.                                                              25∑∑∑prosecutor's office or whatever.∑So, I mean, to me it


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            ∑1 Q.∑∑The information I have is that it's the policy as of                  ∑1∑∑∑was very obvious that they were paid -- they presented
            ∑2∑∑∑2016 even yes, though, it was a decade old by then.                     ∑2∑∑∑their facts in a certain light and they also presented
            ∑3∑∑∑This is what the county provided.∑Excuse me.∑The                        ∑3∑∑∑them somewhat skewed in my opinion because they wanted
            ∑4∑∑∑sheriff's office provided.                                              ∑4∑∑∑to like believe facts one way but then would kind of
            ∑5 A.∑∑Yeah.∑I don't know why this is -- my guess is they                    ∑5∑∑∑ignore exculpatory information.∑So, I mean, again,
            ∑6∑∑∑didn't know it existed.                                                 ∑6∑∑∑it's -- you get what you pay for.
            ∑7 Q.∑∑So do you know whether classifications understood when                ∑7 Q.∑∑Well, you're being paid to give your expert opinion,
            ∑8∑∑∑they say this person is this level of dangerous, there                  ∑8∑∑∑aren't you?
            ∑9∑∑∑are two, they need -- and there shall be continuous                     ∑9 A.∑∑I get paid the same whether I'm here or not.∑I get
            10∑∑∑close security rounds from continuously staffed local                   10∑∑∑paid the same whether I'm sitting at Jail Division 2
            11∑∑∑places and then also rovers continuously monitoring                     11∑∑∑or if I'm sitting here providing testimony about this.
            12∑∑∑them, do you know whether they were aware that that's                   12∑∑∑There's no increase.∑There's no decrease.∑It's --
            13∑∑∑not what was happening?                                                 13 Q.∑∑You're paid to sit here today, unlike me, --
            14 A.∑∑I mean, it's speculation.∑My point -- but logically                   14 A.∑∑And if I wasn't --
            15∑∑∑all I can say is that the classification staff often                    15 Q.∑∑-- the person you accuse of being here for money.
            16∑∑∑works overtime in the jail, so -- in like security                      16 A.∑∑And if I wasn't sitting here, I'd be sitting at the
            17∑∑∑positions, so, I mean, you would think that they knew                   17∑∑∑jail doing my job there --
            18∑∑∑that wasn't being done by working in those positions,                   18 Q.∑∑Right.
            19∑∑∑but, again, that's speculation.∑I don't have direct                     19 A.∑∑-- to the best of my ability trying to make sure it's
            20∑∑∑knowledge.                                                              20∑∑∑safe.
            21 Q.∑∑I mean, the thing in this case is the person who                      21 Q.∑∑Okay.∑So you get paid by the county and you're
            22∑∑∑classified Solomon is a civilian, so that wouldn't be                   22∑∑∑definitely a supporter of the sheriff's office; right?
            23∑∑∑applying to her, but I take your point.                                 23 A.∑∑I'm a supporter of -- of the criminal justice system.
            24∑∑∑∑∑∑∑∑∑Okay.∑Suffice it to say, you're not aware                         24 Q.∑∑So you're not a supporter of the sheriff's office?
            25∑∑∑of anyone ever in writing saying, hey, we don't -- we                   25 A.∑∑But I don't want this to --


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            ∑1 Q.∑∑Have I misstated that?                                                ∑1 Q.∑∑Okay.∑Sorry.∑Okay.∑So the independent reviewer, are
            ∑2 A.∑∑No.∑I don't want this to sound political because I                    ∑2∑∑∑you talking about like auditors?∑I didn't understand
            ∑3∑∑∑was a supporter of the prior administration, I was a                    ∑3∑∑∑your point about those.
            ∑4∑∑∑supporter of the administration before that, I was a                    ∑4 A.∑∑Yeah.∑And I realize it could be done in different
            ∑5∑∑∑supporter of the administration before that.∑I joined                   ∑5∑∑∑capacities.∑Like some agencies have a PREA response
            ∑6∑∑∑this organization to be a Wayne County Sheriff, and I                   ∑6∑∑∑team.∑Some agencies -- like we have a PREA
            ∑7∑∑∑support whichever sheriff is in power.∑So I'm not --                    ∑7∑∑∑coordinator that also reviews cases.∑It's James Davis
            ∑8∑∑∑I mean, I am in an appointed position as a commander,                   ∑8∑∑∑and before that it was Chuck Pappas, but . . .∑You
            ∑9∑∑∑but I -- it was not a political appointment.∑I mean,                    ∑9∑∑∑can be audited, but like for us, the independent --
            10∑∑∑it was -- I came up through the ranks and I've been a                   10∑∑∑like a lot -- the independent agency that reviews like
            11∑∑∑police officer and I'm going to end as a police                         11∑∑∑for all criminal sexual assaults, unless somebody says
            12∑∑∑officer.                                                                12∑∑∑they do not want to prosecute, we submit a warrant
            13 Q.∑∑Have you made donations to the sheriffs in their                      13∑∑∑request, you know, and let the Wayne County
            14∑∑∑campaigns?                                                              14∑∑∑Prosecutor's Office decide do they want to prosecute
            15 A.∑∑I have attended -- I have attended fundraisers, yes.                  15∑∑∑or not.∑So they are like an additional checks and
            16∑∑∑And various sheriffs and prosecutors as well.                           16∑∑∑balance.∑Because they also have the ability and the
            17 Q.∑∑And have you -- so when you attend, like you pay, you                 17∑∑∑authority to go back and say, hey, I want you to do
            18∑∑∑know, 20 bucks to get in the door or 20 bucks for the                   18∑∑∑further follow-up investigations in this matter in
            19∑∑∑spaghetti dinner or whatever is for the fundraiser?                     19∑∑∑this area.
            20 A.∑∑Buy a ticket.∑Buy a ticket.                                           20 Q.∑∑Okay.∑Does the Prosecutor's Office review files that
            21 Q.∑∑And then you've also -- like have you helped put those                21∑∑∑are not submitted for prosecution?
            22∑∑∑kinds of events together, a car wash or a spaghetti                     22 A.∑∑No.
            23∑∑∑dinner or whatever?                                                     23 Q.∑∑Okay.∑So, for example, you might find that someone
            24 A.∑∑Never.                                                                24∑∑∑hasn't committed a crime but they violated --
            25 Q.∑∑No?∑And have you, you know, asked friends to vote for                 25∑∑∑seriously violated internal policy in their behavior,


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            ∑1∑∑∑the sheriff, like not campaign, but like, you know,                     ∑1∑∑∑so it's not going to go to Kym Worthy's office, but
            ∑2∑∑∑spread the word for the candidate?                                      ∑2∑∑∑your office can certainly say you violated an -- like,
            ∑3 A.∑∑I can't say I've ever asked anybody to vote.∑I've had                 ∑3∑∑∑you know, maybe it's sexual harassment.∑You violated
            ∑4∑∑∑people ask me like, hey, what kind of guy is -- you                     ∑4∑∑∑an expectation with regard to this prisoner's rights
            ∑5∑∑∑know, like I remember somebody specifically saying                      ∑5∑∑∑and we're firing you.∑That's a thing that can happen;
            ∑6∑∑∑what kind of guy is Benny Napoleon.∑And, you know,                      ∑6∑∑∑right?
            ∑7∑∑∑he's a good guy.∑He treats us well.∑You know, he                        ∑7 A.∑∑Yeah.∑Now, are we speaking about staff or inmates or
            ∑8∑∑∑cares about people.∑That type of thing.∑I don't                         ∑8∑∑∑both?
            ∑9∑∑∑recall ever saying, hey, you should vote for him.                       ∑9 Q.∑∑It could be either; right?
            10 Q.∑∑Okay.∑And so let me go back because you mentioned                     10 A.∑∑Okay.
            11∑∑∑some things in your last answer.∑So you said one of                     11 Q.∑∑You sexually harassed a colleague or you sexually
            12∑∑∑the things that you noticed about the experts are that                  12∑∑∑harassed a prisoner; right?
            13∑∑∑they didn't have investigative experience.∑And PREA                     13 A.∑∑Okay.
            14∑∑∑talks about an independent reviewer.∑Do you think IA                    14 Q.∑∑Either one of those can happen; right?
            15∑∑∑is independent of the sheriff's office?                                 15 A.∑∑Yes.
            16 A.∑∑No.∑The Wayne County Prosecutors is.                                  16 Q.∑∑And it may not be all the way to a crime, but it's
            17 Q.∑∑Okay.∑But you understand -- so to go back, and this                   17∑∑∑still something that you are going to take seriously
            18∑∑∑isn't just about Wayne County Jail, you understand                      18∑∑∑and do something about; right?
            19∑∑∑that all systems, whether it's MDOC or a jail system,                   19 A.∑∑Yes.
            20∑∑∑through a sheriff's office, they're all supposed to                     20 Q.∑∑Okay.∑So Kym Worthy's office isn't like auditing
            21∑∑∑under PREA make not an independent review, with an                      21∑∑∑those files or overseeing or reviewing those files in
            22∑∑∑inside their own system review; right?                                  22∑∑∑any way, is she?
            23 A.∑∑Right.                                                                23 A.∑∑No.∑It would only be something that's of a criminal
            24 Q.∑∑Your mask made it hard.∑Did you say yes?                              24∑∑∑nature.
            25 A.∑∑Yes.                                                                  25 Q.∑∑And likewise her office isn't responsible for and it


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            ∑1∑∑∑doesn't participate in are jail operations running                      ∑1∑∑∑matters at other agencies where they've requested us
            ∑2∑∑∑according to constitutional standards, does it?                         ∑2∑∑∑to come in but they were not proven related.
            ∑3 A.∑∑Well, Kym Worthy wouldn't be part of that, but the                    ∑3 Q.∑∑Okay.∑And so I guess I'm just going to your point
            ∑4∑∑∑federal government would be.∑You're talking about the                   ∑4∑∑∑about the PREA standard and how there's this idea of
            ∑5∑∑∑United States Constitution.                                             ∑5∑∑∑independent reviewers.∑You have not been that person;
            ∑6 Q.∑∑Yeah.                                                                 ∑6∑∑∑right?
            ∑7 A.∑∑Yeah.∑I mean, like -- like obviously the feds will                    ∑7 A.∑∑Correct.
            ∑8∑∑∑come in if you're in violation of civil rights and                      ∑8 Q.∑∑Okay.∑And you understand Kym Worthy's office doesn't
            ∑9∑∑∑things like that.                                                       ∑9∑∑∑enforce PREA or like implement PREA standards as to
            10 Q.∑∑Okay.∑But you've not had the federal government even                  10∑∑∑the jail; right?
            11∑∑∑investigating anything to do with civil rights                          11 A.∑∑Correct.
            12∑∑∑violations in the Wayne County Jail, have you?                          12 Q.∑∑So I guess I want to understand your point about --
            13 A.∑∑I -- there were times that the FBI reached out to me                  13∑∑∑because I had asked you what did you see in the
            14∑∑∑and asked for case information so they could review                     14∑∑∑reports that raised issues for you, and fairly enough
            15∑∑∑it.                                                                     15∑∑∑you said, okay, these people didn't have investigative
            16 Q.∑∑Okay.∑But those were for criminal matters; right?∑Or                  16∑∑∑experience as independent reviewers.∑But you haven't
            17∑∑∑potentially?                                                            17∑∑∑either, so I'm trying to understand why that raises an
            18 A.∑∑Potentially criminal matters, yes.                                    18∑∑∑issue for you.
            19 Q.∑∑Right.∑I'm talking about the civil side of the                        19 A.∑∑I was speaking of investigations in totality, not just
            20∑∑∑justice department that's coming in and saying -- to                    20∑∑∑sexual assault investigations --
            21∑∑∑your point about an independent reviewer, has the                       21 Q.∑∑I see.
            22∑∑∑civil side of the justice department come in let's say                  22 A.∑∑-- when I made that statement.∑I'm talking about all
            23∑∑∑in 2015 or '16, just to make it more discrete, and                      23∑∑∑investigations.∑I don't get to decide if I'm right or
            24∑∑∑said we're looking at adherence to civil rights laws?                   24∑∑∑wrong.∑I have to let somebody else look at it and
            25 A.∑∑Okay.                                                                 25∑∑∑they say, hey, you were right or you were wrong.


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            ∑1 Q.∑∑Has that happened?                                                    ∑1 Q.∑∑Okay.∑And what about auditing?∑Is that -- you
            ∑2 A.∑∑No.                                                                   ∑2∑∑∑consider that different or the same as investigating?
            ∑3 Q.∑∑Okay.∑And your career in criminal justice has been at                 ∑3∑∑∑Like when you're auditing PREA or, you know.
            ∑4∑∑∑the Wayne County Sheriff's Office, right, completely?                   ∑4 A.∑∑No.∑Auditing -- auditing could be a review.
            ∑5∑∑∑Although I know you were a detective on a street unit                   ∑5 Q.∑∑Could be?∑I'm sorry.
            ∑6∑∑∑at different times.∑Like is it all under --                             ∑6 A.∑∑Could be a review.
            ∑7 A.∑∑Well, I just want to be clear.∑At one point the                       ∑7 Q.∑∑Akin to an independent review?
            ∑8∑∑∑prosecutor's office was paying my salary, so I was                      ∑8 A.∑∑Yes.
            ∑9∑∑∑technically a Wayne County Prosecutor's employee, but                   ∑9 Q.∑∑Okay.∑So you're not aware that one of our experts,
            10∑∑∑I was still sworn in by the sheriff, so . . .                           10∑∑∑Ms. Bonner, has been doing PREA audits all over the
            11 Q.∑∑And is that when you were a street officer?                           11∑∑∑country for different facilities throughout her
            12 A.∑∑Yeah.∑That was from 2002 to 2009.                                     12∑∑∑career?
            13 Q.∑∑Okay.∑So fair enough.∑That's a fair clarification.                    13 A.∑∑I mean, I didn't know that, no.
            14∑∑∑So there was a time where the check would have come                     14 Q.∑∑Okay.∑So this is one of the points you saw in one of
            15∑∑∑through a different payroll, but you've always been                     15∑∑∑these things is whether they had investigative
            16∑∑∑sworn within the sheriff's office; right?                               16∑∑∑experience.∑You said that you thought that their view
            17 A.∑∑Yes.                                                                  17∑∑∑of things were skewed, they seemed to believe one way
            18 Q.∑∑And so there isn't -- sometimes we ask really obvious                 18∑∑∑and ignore exculpatory evidence.∑Do you have any
            19∑∑∑questions, but I just want to make sure I'm                             19∑∑∑particular area that you thought that they ignored
            20∑∑∑understanding.∑You have never played that independent                   20∑∑∑something exculpatory?
            21∑∑∑role of checking over some other agency's PREA                          21 A.∑∑There was one section in there where they state that
            22∑∑∑compliance or its handling or management of how are                     22∑∑∑the inmate made a statement that he had told the
            23∑∑∑you guys doing with regard to sexual safety of                          23∑∑∑officer or whatever and if you are to believe the
            24∑∑∑prisoners?                                                              24∑∑∑inmate at face value or whatever, then, you know,
            25 A.∑∑Not PREA, but I have had to investigate other criminal                25∑∑∑basically the sheriff's office is wrong, but the


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            ∑1∑∑∑problem is is he didn't have -- they, he, she, they, I                  ∑1∑∑∑the most honest answer I can give you is I guess that
            ∑2∑∑∑don't know who --                                                       ∑2∑∑∑it's an individual.
            ∑3 Q.∑∑The expert.                                                           ∑3 Q.∑∑I see.∑I take your point.∑So sometimes you would see
            ∑4 A.∑∑The expert.∑Thank you.∑Did not have any evidence to                   ∑4∑∑∑officer B and they know darn well officer A just got
            ∑5∑∑∑say that the investigator or that the officers had                      ∑5∑∑∑fired for doing something --
            ∑6∑∑∑been told.∑I mean, you could very -- you could just                     ∑6 A.∑∑And they do the same thing.
            ∑7∑∑∑as likely have changed that statement if they take the                  ∑7 Q.∑∑-- and they do the same thing and you're like
            ∑8∑∑∑officer's testimony at face value, then the officer's                   ∑8∑∑∑scratching your head like what the heck?
            ∑9∑∑∑right.∑It could have just as easily been stated that                    ∑9 A.∑∑Why?
            10∑∑∑way.∑But instead of stating it both ways or that way,                   10 Q.∑∑Okay.∑Is there anything else that stopped you about
            11∑∑∑they chose to state it in the side that was most                        11∑∑∑the reports that you thought, you know, these are
            12∑∑∑beneficial in that light.                                               12∑∑∑the --
            13 Q.∑∑Okay.∑I get you.∑Did you see other things like that                   13 A.∑∑Nothing off the top of my head.
            14∑∑∑that stood out to you as --                                             14 Q.∑∑Okay.∑So I know it sounds like you -- you know, we
            15 A.∑∑That's the thing that really hit me over the head. I                  15∑∑∑covered what you didn't -- you know, did you see this
            16∑∑∑mean, like instead of listing it -- you know, it's                      16∑∑∑or talk to these people.∑Is there anything that we
            17∑∑∑kind of like when you put it down, you put it all                       17∑∑∑haven't covered that you did do relative to the IA
            18∑∑∑down.∑You don't just put it one way, one-sided.                         18∑∑∑investigation with Burks and Solomon that we haven't
            19 Q.∑∑And that's something that Corporal Lawson should do,                  19∑∑∑talked about?
            20∑∑∑too, as an investigator; right?                                         20 A.∑∑I can't think of anything, no.
            21 A.∑∑Yes.∑If the evidence leads you there.                                 21 Q.∑∑Okay.∑And am I correct that you were not involved
            22 Q.∑∑Do you know why he didn't record in any of his reports                22∑∑∑with training the floor security staff on Ward 610 in
            23∑∑∑that my client had told him that there were other                       23∑∑∑the -- let's at least just say in the calendar year or
            24∑∑∑inmates who had claimed to have seen the activity                       24∑∑∑two before August of 2016?∑Is that true?
            25∑∑∑going on in and out of the cell?                                        25 A.∑∑I just want to clarify.∑I don't know -- I know


                                                                               Page 95                                                                 Page 97
            ∑1∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Asked and answered.                                  ∑1∑∑∑Corporal Judy Bell I would not have been.∑The other
            ∑2 A.∑∑I don't know that he was told that.∑And I don't know,                 ∑2∑∑∑officer, I don't know what his seniority date is
            ∑3∑∑∑if that is the truth, why.                                              ∑3∑∑∑because I don't know him.∑He -- if he had -- was a
            ∑4 BY MS. PRESCOTT:                                                          ∑4∑∑∑newer officer, I may have taught at his jailer's
            ∑5 Q.∑∑What could be some of the punishments that could                      ∑5∑∑∑training class or something, because there was an IA
            ∑6∑∑∑happen to somebody if they ignored a prisoner's                         ∑6∑∑∑class that I taught, so just for total clarity, maybe
            ∑7∑∑∑request for assistance after the prisoner had been                      ∑7∑∑∑that.
            ∑8∑∑∑sexually assaulted?∑Do you know?                                        ∑8 Q.∑∑Okay.∑So I just want to clarify my question too.∑So
            ∑9 A.∑∑Well, you could be criminally prosecuted, for one.                    ∑9∑∑∑like I'm just -- so in 2014, '15, '16 you would not
            10∑∑∑You could be federally prosecuted.∑You could be                         10∑∑∑have been doing training for the floor security staff
            11∑∑∑civilly liable.∑You could certainly be terminated.                      11∑∑∑of 610; is that right?
            12 Q.∑∑Do you think that the officers believe that threat of                 12 A.∑∑Unless they were new hired into the department and
            13∑∑∑termination is not a really serious threat?∑Like, in                    13∑∑∑jailer's training.
            14∑∑∑other words, that that's not the kind of thing that                     14 Q.∑∑I see.∑So if they were brand-new kind of -- if they
            15∑∑∑would really happen, though, if you ignored a request                   15∑∑∑were --
            16∑∑∑for help?                                                               16 A.∑∑Coming in.
            17 A.∑∑I guess that would depend on the officer, because my                  17 Q.∑∑If they came in during '14, '15, '16 you were doing
            18∑∑∑experience at IA, you know, like I said, I had over a                   18∑∑∑some of the jailer training.∑All right.∑Thank you.
            19∑∑∑hundred people that were either terminated or resigned                  19∑∑∑That's helpful.∑But other than that, no?
            20∑∑∑as a result of investigations that we did, and I would                  20 A.∑∑No.
            21∑∑∑kind of be shocked like, hey, this person just saw                      21 Q.∑∑Okay.∑And then also with regard to supervising on
            22∑∑∑somebody two or three months ago get caught for the                     22∑∑∑Ward 610 let's say in '14 -- 2014 to 2016, would you
            23∑∑∑same thing, how is it that they're doing it?∑I mean,                    23∑∑∑have been in a supervisorial role?
            24∑∑∑did they think they were going to get away -- so that                   24 A.∑∑No.
            25∑∑∑would kind of shock me from time to time.∑So, I mean,                   25 Q.∑∑And then in terms of, you know, PREA enforcement or


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            ∑1∑∑∑enforcement, again, using your word of enforcement,                    ∑1∑∑∑sexual violation or to stay safe, like maybe more like
            ∑2∑∑∑like these are the rules and you've violated them, I                   ∑2∑∑∑tips to stay safe or hotlines to report.∑Do you
            ∑3∑∑∑have to enforce it, you didn't do any of that for the                  ∑3∑∑∑remember when that signage went up?
            ∑4∑∑∑floor security staff of 6 Old in the two years before                  ∑4 A.∑∑I don't remember the specific year.∑I know that Chuck
            ∑5∑∑∑the rape, did you?                                                     ∑5∑∑∑Pappas is the one that had it done.∑He was the first
            ∑6 A.∑∑No.                                                                  ∑6∑∑∑PREA coordinator.∑So it was after he came on.∑You
            ∑7 Q.∑∑And you weren't in the chain of command on the night                 ∑7∑∑∑know, we also have the PREA hotlines in our phones
            ∑8∑∑∑of the rape of floor security staff?                                   ∑8∑∑∑too.
            ∑9 A.∑∑No.                                                                  ∑9 Q.∑∑Okay.∑Do you know when that stuff got rolled out?
            10 Q.∑∑And we already covered you didn't do -- have you ever                10 A.∑∑No.∑It just -- it kind of all runs together after so
            11∑∑∑in your career worked on the corrections -- or                         11∑∑∑many years.
            12∑∑∑classification side?                                                   12 Q.∑∑It's been a while too.∑I understand that.
            13 A.∑∑Never.                                                               13 A.∑∑Yeah.
            14 Q.∑∑Okay.∑So like do you know what the -- how they sort                  14 Q.∑∑There was also an update to the inmate handbook and it
            15∑∑∑out who might be dangerous from who?                                   15∑∑∑had to do with sexual safety.∑Do you have any idea
            16 A.∑∑I have a basic understanding of the criteria in the                  16∑∑∑when that happened?
            17∑∑∑operation.                                                             17 A.∑∑No.∑But I do remember seeing that that happened. I
            18 Q.∑∑Do you in IA -- does IA have jurisdiction over the                   18∑∑∑do recall it, yeah.
            19∑∑∑civilians who work like in classification?                             19 Q.∑∑Could you say whether that happened before or after
            20 A.∑∑Yes.∑We -- we -- I mean, we have jurisdiction over                   20∑∑∑July of '16?
            21∑∑∑everybody kind of, but, I mean, again, you're                          21 A.∑∑I'm sorry.∑I don't know.
            22∑∑∑reporting it.∑Somebody above you decides the                           22 Q.∑∑Okay.∑And there was also at some point someone
            23∑∑∑discipline or security revocation.                                     23∑∑∑decided to put together a pamphlet that everybody
            24 Q.∑∑Fair enough.∑Is it right to say you guys are                         24∑∑∑would get as they came in through intake or
            25∑∑∑essentially the investigatory arm of the whole                         25∑∑∑classification on sexual safety.∑Do you know whether


                                                                              Page 99                                                                   Page 101
            ∑1∑∑∑department, then?                                                      ∑1∑∑∑that would have happened before July '16?
            ∑2 A.∑∑Yeah.∑We police the police.                                          ∑2 A.∑∑I don't know.∑I think that was a Chuck Pappas thing
            ∑3 Q.∑∑So it would go up to whoever their bosses may be, but                ∑3∑∑∑also, but I don't know.
            ∑4∑∑∑you guys are the investigators across; is that fair?                   ∑4 Q.∑∑And do you know whether the classification system with
            ∑5 A.∑∑Yeah.                                                                ∑5∑∑∑regard to Solomon and how he was classified and Burks
            ∑6 Q.∑∑Okay.∑I can't remember if I asked if you know if the                 ∑6∑∑∑and how he was classified, do you know whether that
            ∑7∑∑∑floor security staff on duty the night of the rape                     ∑7∑∑∑system worked according to whatever the policies and
            ∑8∑∑∑violated any rules or violated any practices of the                    ∑8∑∑∑procedures are supposed to be?
            ∑9∑∑∑command staff that were instituted down.                               ∑9 A.∑∑I believe, and, in my opinion, even with this
            10 A.∑∑You did ask that and no, I do not.                                   10∑∑∑unfortunate incident it did, because Solomon is
            11 Q.∑∑I'm sorry.                                                           11∑∑∑somebody that was in on a kidnapping charge I believe
            12 A.∑∑That's okay.                                                         12∑∑∑and then Mr. Burks was on a child case of some sort,
            13 Q.∑∑I truly didn't remember if I did.∑Do you know when --                13∑∑∑and so they're both individuals that could be at risk
            14∑∑∑you mentioned that people were working on a policy                     14∑∑∑inside the general population, and we don't have a
            15∑∑∑around sexual safety and you may have used the name, I                 15∑∑∑crystal ball.∑I mean, even as unfortunate as the
            16∑∑∑don't think I remembered, it was a Hall or somebody                    16∑∑∑sexual assault is, say Mr. Burks had not been placed
            17∑∑∑who was working on policy.∑Do you know when the                        17∑∑∑in protection.∑Say he had been placed in general
            18∑∑∑updated policy was rolled out?                                         18∑∑∑population.∑He may have been murdered.∑So, I mean,
            19 A.∑∑No, I don't.                                                         19∑∑∑maybe as unfortunate as the CSC is, he could have been
            20 Q.∑∑Okay.∑And do you know when the floor security staff                  20∑∑∑killed had he been placed somewhere else, and we'll
            21∑∑∑in 6 Old was trained on the policy whenever it got                     21∑∑∑never get to know that because that didn't happen.
            22∑∑∑rolled out?                                                            22∑∑∑So, I mean, I believe that unfortunately sometimes you
            23 A.∑∑No, I do not.                                                        23∑∑∑do everything you can but bad things still happen and
            24 Q.∑∑And at one point there was a time when people went                   24∑∑∑you do the best you can.
            25∑∑∑around posting up signs for, you know, how to report                   25 Q.∑∑Do you know if Solomon was placed in protective


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            ∑1∑∑∑custody because he was at risk from others or whether                 ∑1∑∑∑determine whether they might be sexually aggressive
            ∑2∑∑∑he was -- had, for example, dozens of misconducts and                 ∑2∑∑∑and sexually violent under PREA?
            ∑3∑∑∑disciplinary charges and had been rock bossing people?                ∑3 A.∑∑I don't know how they do it.∑I mean, I may have been
            ∑4 A.∑∑I don't know how that decision was made.∑I know he                  ∑4∑∑∑aware at some point that they're doing something, but,
            ∑5∑∑∑had a kidnapping charge at that time.                                 ∑5∑∑∑I mean, I would say we're doing something, too, so, I
            ∑6 Q.∑∑Do you think classifications is basing its decisions                ∑6∑∑∑mean, I don't know what they do.
            ∑7∑∑∑on charges as opposed to convictions?                                 ∑7 Q.∑∑But to get to like the something that you think that
            ∑8∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection to foundation.                           ∑8∑∑∑you were doing, you've told us everything you know
            ∑9∑∑∑∑∑∑∑∑∑You can answer if you know.                                     ∑9∑∑∑about that; right?
            10 A.∑∑My basic understanding of the classification system is              10 A.∑∑I have the basic knowledge and understanding.∑I'm
            11∑∑∑they take current charges, past charges, history, all                 11∑∑∑sure there's more to it that I don't know of.
            12∑∑∑of those things into consideration, size, weight,                     12 Q.∑∑Fair.∑But have you told me what you do know?
            13∑∑∑gender, religion, you know, height, weight, race.∑All                 13 A.∑∑Yes.
            14∑∑∑of those issues are involved.                                         14 Q.∑∑Okay.∑Do you know who did the housing assignment of
            15 BY MS. PRESCOTT:                                                        15∑∑∑Burks and Solomon as of the time of the rape?
            16 Q.∑∑Okay.∑So I guess you don't know what the thought                    16 A.∑∑No.
            17∑∑∑process was on how Solomon was placed in Ward 610; is                 17 Q.∑∑Do you know whether Solomon or Burks got the handbook
            18∑∑∑that right?                                                           18∑∑∑or the pamphlet or saw the signs that we talked about
            19 A.∑∑No, I do not.                                                       19∑∑∑in the last few questions?
            20 Q.∑∑And do you know whether anybody looked at the                       20 A.∑∑Do I know for sure?∑No.∑They would have had to have
            21∑∑∑compatibility of Solomon and Burks when housing them                  21∑∑∑seen the signs at some point moving throughout the
            22∑∑∑in the same ward?                                                     22∑∑∑jail.∑But, I mean, there's -- the handbooks are
            23 A.∑∑No.∑I wouldn't know that.                                           23∑∑∑issued by classification and registry.∑They should
            24 Q.∑∑Okay.∑Do you know whether the classification system                 24∑∑∑have gotten it, but can I guarantee you that they did?
            25∑∑∑has a way to assess whether someone is likely to be a                 25∑∑∑I mean, I don't have that knowledge.


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            ∑1∑∑∑sexual aggressor and by contrast whether another                      ∑1 Q.∑∑Well, and just also like when those things were
            ∑2∑∑∑person is likely to be a sexual victim?                               ∑2∑∑∑instituted.∑Like were they before or after them?
            ∑3 A.∑∑I have basic knowledge of a screening process that                  ∑3 A.∑∑Yeah.∑I was at IA, so I'm not sure.
            ∑4∑∑∑takes place upon entry where they will ask questions                  ∑4 Q.∑∑Okay.∑Do you know if Mr. Burks was ever in an
            ∑5∑∑∑about like sexual orientation, things of that matter.                 ∑5∑∑∑assignment other than protective custody, like in
            ∑6∑∑∑We do offer some alternative lifestyle housing                        ∑6∑∑∑general population?
            ∑7∑∑∑assignments.∑So I do think that an effort is made in                  ∑7 A.∑∑I don't know that.
            ∑8∑∑∑those categories.                                                     ∑8 Q.∑∑Do you know whether suicide risk played a factor in
            ∑9 Q.∑∑Okay.∑So for sure there's an effort to say do people                ∑9∑∑∑where Solomon was placed into 610 as opposed to other
            10∑∑∑have a certain lifestyle if they're transgender or                    10∑∑∑assignments?
            11∑∑∑they may feel at risk because they're homosexual and                  11 A.∑∑I don't know if it was necessarily involving him, but
            12∑∑∑then they're going to be going into general population                12∑∑∑I do know that suicide is something that is taken into
            13∑∑∑with a bunch of men.∑Putting those pieces aside, do                   13∑∑∑consideration.∑You know, you try not to house inmates
            14∑∑∑you know of a system to assess whether someone might                  14∑∑∑alone because if there's nobody there to see them in
            15∑∑∑be particularly sexually violent with regard to the                   15∑∑∑between rounds, it would be, you know, possible to
            16∑∑∑people they're housed with?                                           16∑∑∑hurt yourself, so that is something that is taken into
            17 A.∑∑No, I don't.                                                        17∑∑∑consideration.∑Do I know that that directly applied
            18 Q.∑∑Okay.∑Do you know what, for example, MDOC does to try               18∑∑∑to Solomon or Mr. Burks?∑I do not.∑But it is
            19∑∑∑to figure that out or the feds when someone comes into                19∑∑∑something that is considered.
            20∑∑∑their --                                                              20 Q.∑∑Okay.∑Is your point about that someone might see it
            21 A.∑∑No.                                                                 21∑∑∑that another inmate might scream, like, hey, man --
            22 Q.∑∑-- care and custody?∑So you're not aware that by 2016               22 A.∑∑Oh, he's hanging himself.∑And I've had that happen.
            23∑∑∑because of rules that had issued in 2012 the federal                  23∑∑∑I've had many times where other inmates have alerted
            24∑∑∑government, the state, and other, you know, other                     24∑∑∑me to that.
            25∑∑∑jurisdictions were screening people specifically to                   25 Q.∑∑And tell me about -- like had there been a push in


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            ∑1∑∑∑this era at least, you know, 2014, '15, '16, to                         ∑1 Q.∑∑I see.∑So IA doesn't get ordered -- so what was your
            ∑2∑∑∑address suicide risk and that there had been some                       ∑2∑∑∑point about -- were you saying you could get ordered
            ∑3∑∑∑unfortunate incidents of suicide in the jail?                           ∑3∑∑∑in to do overtime when you were like division
            ∑4 A.∑∑Yeah.∑Like the years kind of run together.∑I'm not                    ∑4∑∑∑commanders over the jail divisions?
            ∑5∑∑∑sure exactly what years they were.∑But there were                       ∑5 A.∑∑Yes.
            ∑6∑∑∑some years like you'd get -- you wouldn't have any and                  ∑6 Q.∑∑Is that what it would be?
            ∑7∑∑∑then you'd have some where maybe you had a few.∑So                      ∑7 A.∑∑Yes.
            ∑8∑∑∑you would always try to redouble your efforts to                        ∑8 Q.∑∑Okay.∑But during IA -- I think you answered my point
            ∑9∑∑∑just -- you know, you wanted zero every year.∑You'd                     ∑9∑∑∑is that the IA people are not sort of like covering
            10∑∑∑try everything to keep everyone safe, and so you                        10∑∑∑those shifts --
            11∑∑∑always look at it after an unfortunate incident and                     11 A.∑∑No.
            12∑∑∑try to take action.                                                     12 Q.∑∑-- with other floor security?
            13 Q.∑∑Yeah.∑But wasn't there something where there was an                   13 A.∑∑If they do, it's voluntary and it's specific
            14∑∑∑investigation or a news report, either an outside                       14∑∑∑locations.
            15∑∑∑agency or some sort of report that Wayne County had an                  15 Q.∑∑Okay.∑It's those more like isolated?
            16∑∑∑alarmingly high number?                                                 16 A.∑∑Yes.
            17 A.∑∑Yeah.∑I know at some point there was a news report.                   17 Q.∑∑Okay.
            18∑∑∑I remember.∑I don't know what year.∑Some of that                        18 A.∑∑Now, as a jail commander I've been ordered in.
            19∑∑∑stuff is sensationalized.∑I mean, if you look at the                    19 Q.∑∑Makes IA have its positives.∑There are certain
            20∑∑∑national average, the rate of suicide is far lower in                   20∑∑∑divisions, right, where you get a car and certain --
            21∑∑∑the Wayne County Jail than it is per capita                             21 A.∑∑Right.
            22∑∑∑population.                                                             22 Q.∑∑-- where you don't have to do overtime.
            23 Q.∑∑Okay.∑Yeah.∑That's -- the reports don't -- I don't                    23∑∑∑∑∑∑∑∑∑Okay.∑So when there is an allegation of
            24∑∑∑know if they say that, but that's your understanding?                   24∑∑∑something less than an assault but that's still
            25 A.∑∑Yeah.                                                                 25∑∑∑sexual, like, you know, he keeps pressing me, like he


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            ∑1 Q.∑∑Okay.∑So what is the -- what are the criteria for                     ∑1∑∑∑keeps making comments, does that -- who investigates
            ∑2∑∑∑assignment to the alternate lifestyle area?∑Would you                   ∑2∑∑∑that?∑Is that IA or is that outside of IA?
            ∑3∑∑∑be able to opine on that or comment on that?                            ∑3 A.∑∑It depends on what it is.∑Like, for instance, if an
            ∑4 A.∑∑No.∑I mean, I really don't know what goes into that                   ∑4∑∑∑inmate just said, hey, this guy keeps flashing me,
            ∑5∑∑∑determination between classification and possibly                       ∑5∑∑∑then that's when, you know, you'd write a JMS report
            ∑6∑∑∑medical.                                                                ∑6∑∑∑for jail discipline, have classification move that
            ∑7 Q.∑∑When you would be on IA, and I think you might have                   ∑7∑∑∑inmate, see if, you know, different housing needs to
            ∑8∑∑∑testified to this, but is it -- even when you were in                   ∑8∑∑∑be made available or whatever.∑If it's -- like let's
            ∑9∑∑∑IA, would there be times where you were ordered in for                  ∑9∑∑∑say somebody says, hey, I want you to have sex with
            10∑∑∑overtime or coming into the floor security to cover?                    10∑∑∑me, if you don't, I'm going to beat you up.∑Now
            11∑∑∑I think you were talking about in the case of rounds                    11∑∑∑you're bordering on potentially, you know, criminal
            12∑∑∑where we have to maintain a certain level of rounds,                    12∑∑∑activity.∑So generally in those cases, you know, a
            13∑∑∑and then you said sometimes you'd get ordered in?                       13∑∑∑prosecution rights form would be filled out.∑If the
            14 A.∑∑Yeah.∑Now, IA was and is exempt from being ordered                    14∑∑∑person wanted to prosecute, then that's IA.∑If they
            15∑∑∑into the jail on overtime.                                              15∑∑∑say no, I don't want to prosecute, I just want the guy
            16 Q.∑∑Okay.                                                                 16∑∑∑moved or get the guy to leave me alone, then that's,
            17 A.∑∑You were allowed to volunteer, but there was only very                17∑∑∑you know, a jail discipline and moving issue
            18∑∑∑specific locations you were allowed to work.∑You                        18∑∑∑reassignment.∑And, you know, one of the other things
            19∑∑∑weren't supposed to have any contact with other                         19∑∑∑we do, too, is we link them in JMS as enemies in the
            20∑∑∑inmates or other staff members.∑So, for instance, you                   20∑∑∑facility.∑That way they don't get housed together.
            21∑∑∑would be like in a key control booth or a center                        21 Q.∑∑Okay.∑So it sounds like that the prosecution rights
            22∑∑∑station booth, because the problem is is, you know, if                  22∑∑∑form and that prosecution rights decision sometimes
            23∑∑∑you did have some kind of interaction with an inmate                    23∑∑∑controls the channel or the flow of things because if
            24∑∑∑or a staff member or something, who's going to                          24∑∑∑the inmate doesn't want to pursue it, then you're just
            25∑∑∑investigate it?∑Who's going to -- you know.                             25∑∑∑doing a management issue now of keeping people apart?


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            ∑1 A.∑∑That's possible, yes.                                               ∑1∑∑∑witnesses for us in Internal Affairs where we had to
            ∑2 Q.∑∑Okay.∑And then also the flashing.∑Can I just make                   ∑2∑∑∑have them placed in CAPIAS and protective housing or
            ∑3∑∑∑sure I understand because these terms and these words                 ∑3∑∑∑we've even had people moved outside of our system to
            ∑4∑∑∑might mean --                                                         ∑4∑∑∑other counties and things.
            ∑5 A.∑∑Sure.                                                               ∑5 Q.∑∑What was the acronym?∑CAPIAS?
            ∑6 Q.∑∑So like I think of flashing as people exposing their                ∑6 A.∑∑CAPIAS.
            ∑7∑∑∑genitals; right?                                                      ∑7 Q.∑∑Is it -- that's the C-A-P-I-A-S?
            ∑8 A.∑∑Yes.                                                                ∑8 A.∑∑Yes.
            ∑9 Q.∑∑Okay.∑So have you encountered in your IA career and                 ∑9 Q.∑∑Can you tell me what that is?
            10∑∑∑maybe even just your floor security career that the                   10 A.∑∑It's a couple of holding cells that's behind our jail
            11∑∑∑fear inmates will have over what could happen to them                 11∑∑∑medical on the second floor Division 1, and they're --
            12∑∑∑in retaliation if they're considered a snitch?                        12∑∑∑they're isolated cells where you can place a very high
            13 A.∑∑Yeah.∑That's why you take precautions to make sure                  13∑∑∑risk or high visibility, you know, inmate.∑Like when
            14∑∑∑that that doesn't occur, and that's one of the things                 14∑∑∑Kwame Kilpatrick was in, that's where he was.
            15∑∑∑that the PREA phone system and the tablet system has                  15 Q.∑∑I was going to say like if you're arresting a judge or
            16∑∑∑helped alleviate.                                                     16∑∑∑something, --
            17 Q.∑∑Have you over your career had inmates that were                     17 A.∑∑Yes.
            18∑∑∑attacked, rightly or wrongly, because they were                       18 Q.∑∑-- they're going to be in that or if you're arresting
            19∑∑∑suspected of being a snitch?                                          19∑∑∑a, I don't know, hundred-year-old like Alzheimer's
            20 A.∑∑When you say have I had them attack --                              20∑∑∑patient that's super vulnerable or something, they can
            21 Q.∑∑Like have you seen the situation where the victim                   21∑∑∑be there?
            22∑∑∑alleges he's kicking my rear-end because he thinks I'm                22 A.∑∑Yeah.∑We'd probably place them in the infirmary
            23∑∑∑a snitch?                                                             23∑∑∑instead if it's a medical issue, but . . .
            24 A.∑∑Yeah.∑Usually it's more from the outside world, like                24 Q.∑∑Okay.∑So what's the point of the cell, then?∑It's
            25∑∑∑this guy thinks I testified on this case in Detroit                   25∑∑∑for a non-medical reason that they need to be --


                                                                            Page 111                                                                   Page 113
            ∑1∑∑∑back on him ten years ago so he beat me up now.                       ∑1 A.∑∑Yes.∑Yes.
            ∑2 Q.∑∑Okay.∑Yeah.∑I mean, people pass through your                        ∑2 Q.∑∑Okay.∑And are those cells, like are those places
            ∑3∑∑∑facility pretty quickly in order --                                   ∑3∑∑∑where they're kind of like medical can also see them
            ∑4 A.∑∑Before Covid, yes.                                                  ∑4∑∑∑coming and going so that they -- in case of suicide
            ∑5 Q.∑∑So within IA, when you have to have an inmate in to                 ∑5∑∑∑or . . .?
            ∑6∑∑∑talk about another inmate because of the fear of                      ∑6 A.∑∑They're very isolated, and we don't like using them
            ∑7∑∑∑retaliation or the risk of retaliation, that's why                    ∑7∑∑∑because of suicide, so like -- like they don't get
            ∑8∑∑∑you're trying to keep some like anonymity or keep them                ∑8∑∑∑used unless it's, like I said, a Kwame Kilpatrick or a
            ∑9∑∑∑separated, that sort of thing?                                        ∑9∑∑∑Matty Moroun or somebody that -- it's got to be
            10 A.∑∑Yeah.∑There was different things you can do.∑I mean,                10∑∑∑somebody really high risk that we have to keep safe
            11∑∑∑you'll have the floor officer pull them out for a                     11∑∑∑from everybody else because that -- the suicide risk
            12∑∑∑visit and you talk to them there.∑You may have them                   12∑∑∑is a real concern.
            13∑∑∑move him down to like a conference room or something                  13 Q.∑∑Okay.∑So they're not in the medical area is what
            14∑∑∑like in shift command so that nobody knows they were                  14∑∑∑you're saying?
            15∑∑∑there or even possibly taken upstairs to like a                       15 A.∑∑The medical area is on the second floor, but they're
            16∑∑∑recreation room that's not being used or something,                   16∑∑∑tucked off way in the back around a corner.
            17∑∑∑line-up room, you know, just something that makes it                  17 Q.∑∑Okay.
            18∑∑∑sounds like they're going to something innocuous when                 18∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Sarah, can we take a break
            19∑∑∑really they're going to talk to you.                                  19∑∑∑when you're ready?
            20 Q.∑∑Okay.∑And if someone gives evidence to IA about                     20∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑Yeah.∑We can take a break
            21∑∑∑another inmate, so inmate about inmate, do they then                  21∑∑∑any time.
            22∑∑∑get classified as enemies to keep them apart from that                22∑∑∑∑∑∑∑∑∑(Recess taken at 11:32 a.m.)
            23∑∑∑point forward?                                                        23∑∑∑∑∑∑∑∑∑(Back on the record at 11:37 a.m.)
            24 A.∑∑Yes.∑And we have had instances where, like I said,                  24 BY MS. PRESCOTT:
            25∑∑∑we -- we've had inmates testify against officers as                   25 Q.∑∑Is there only a certain group of people in IA that can


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            ∑1∑∑∑pull in staff and question them or is like a Corporal                 ∑1 Q.∑∑Invoked Garrity and now I can't tell you.∑Yeah.
            ∑2∑∑∑Lawson or anybody else when they get a file they can                  ∑2∑∑∑Okay.
            ∑3∑∑∑go ask anyone they want anything they want?                           ∑3 A.∑∑So yeah.∑They don't understand it.
            ∑4 A.∑∑Yeah.∑I mean, they have to have the union involved,                 ∑4 Q.∑∑Okay.∑Which is weird because they have a union.∑But
            ∑5∑∑∑so the only other criteria is if it's a command                       ∑5∑∑∑okay.∑So if there is an interview with an officer
            ∑6∑∑∑officer, I would like for there to be -- like if it's                 ∑6∑∑∑with or without their union by IA, would there be an
            ∑7∑∑∑a sergeant, I would like an IA sergeant to sit in.∑If                 ∑7∑∑∑expectation that a record would be made of it?
            ∑8∑∑∑it's above a sergeant, I would -- you know, usually I                 ∑8 A.∑∑Yes.
            ∑9∑∑∑try to sit in unless it was something very like not                   ∑9 Q.∑∑Even if it was two lines of I asked him if he was
            10∑∑∑directly involving them, just like they're adding a                   10∑∑∑there on that night, he said he had, you know, a sick
            11∑∑∑little informational piece to it, and then if it's                    11∑∑∑kid and he never was even there?
            12∑∑∑above the rank of commander or deputy chief, there                    12 A.∑∑Yes.
            13∑∑∑would be times like I would have to have someone                      13 Q.∑∑And then certainly if there was a Garrity, you would
            14∑∑∑higher rank sit in.                                                   14∑∑∑also record and we also gave the Garrity warnings
            15 Q.∑∑Okay.∑So do you have to have the union involved any                 15∑∑∑and --
            16∑∑∑time an officer is questioned by IA?                                  16 A.∑∑Yes.∑And there's a form.
            17 A.∑∑It depends.∑It depends on which union they're in and                17 Q.∑∑And there's a form.∑Okay.∑And then are there rules
            18∑∑∑what the Collective Bargaining Agreement says at a                    18∑∑∑about how you get an officer?∑That's just a floor
            19∑∑∑specific time.∑Like some unions do not allow you                      19∑∑∑security officer; right?∑Just like a corporal or
            20∑∑∑to -- even if the officer instead of -- the command                   20∑∑∑floor security officer that's not a sergeant or above.
            21∑∑∑officer's union was like that.∑Even if you said I do                  21∑∑∑Are there rules about what you have to do to get
            22∑∑∑not want the union in, the union had a right to be in.                22∑∑∑through the union to get to have a sit-down with them?
            23 Q.∑∑I see.∑Okay.∑So let's put it this way.∑Unless the                   23 A.∑∑Oh, no.∑I mean, basically like let's say I want to
            24∑∑∑officer specifically says I do not want someone from                  24∑∑∑talk to a day shift GL2 officer.∑I call their shift
            25∑∑∑my union and it's a floor security officer, does the                  25∑∑∑command and say can you send me officer so-and-so and


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            ∑1∑∑∑union need to be involved?                                            ∑1∑∑∑a union rep, and so the officer will pick does he want
            ∑2 A.∑∑Yes.                                                                ∑2∑∑∑his local chief steward, does he want -- he's got the
            ∑3 Q.∑∑Okay.∑And unless -- whenever IA questions folks with                ∑3∑∑∑right to excuse the chief steward and have the
            ∑4∑∑∑the union, does it always do a Garrity or is it just                  ∑4∑∑∑president or vice president of the union instead, so
            ∑5∑∑∑sometimes?                                                            ∑5∑∑∑it's kind of like --
            ∑6 A.∑∑No.∑And -- no.∑It's not always Garrity.∑It's                        ∑6 Q.∑∑You're doing it right then, whoever's coming up right
            ∑7∑∑∑just -- usually it's when the union insists on it or                  ∑7∑∑∑then.∑Okay.
            ∑8∑∑∑the officer because they won't answer your questions                  ∑8∑∑∑∑∑∑∑∑∑Okay.∑Do you know of any involvement of
            ∑9∑∑∑normally.∑And a lot of times they hurt themselves                     ∑9∑∑∑Corporal Rogers with the events of the Solomon and
            10∑∑∑with Garrity.∑They don't -- they don't really                         10∑∑∑Burks rape?
            11∑∑∑understand what it means.                                             11 A.∑∑No.
            12 Q.∑∑Because then they still refuse?                                     12 Q.∑∑There's a Corporal D-Z-I-A-D-O-W-I-C-Z.∑Do you know
            13 A.∑∑Well, Garrity only protects you if you've done                      13∑∑∑of any information or observations they had about the
            14∑∑∑something illegal.∑If you haven't, why would you need                 14∑∑∑events leading -- like the night or two before the
            15∑∑∑Garrity?∑Because the problem with Garrity is like --                  15∑∑∑rape or the night of the rape?
            16∑∑∑like let's say an inmate says an officer assaulted                    16 A.∑∑No.
            17∑∑∑them, and so I would bring the person in and say did                  17 Q.∑∑How about a Corporal O'Connor?
            18∑∑∑you assault this person?∑Well, I want Garrity.∑Okay.                  18 A.∑∑No.
            19∑∑∑So I read you Garrity.∑Did you assault this person?                   19 Q.∑∑With an O.∑Three O's actually.∑How about Officer
            20∑∑∑No.∑Why wouldn't you want me to know that without                     20∑∑∑Piazza, P-I-A-Z-Z-A?
            21∑∑∑Garrity?∑Because now I can't tell the prosecutor that                 21 A.∑∑No.
            22∑∑∑I've interviewed you and you told me you didn't do it.                22 Q.∑∑How about Officer Clark?
            23∑∑∑What happens is the prosecutor sees this inmate says                  23 A.∑∑No.
            24∑∑∑he assaulted him.∑When I attempted to ask him about                   24 Q.∑∑How about a Corporal Scott?
            25∑∑∑it, he took Garrity.                                                  25 A.∑∑No.


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            ∑1 Q.∑∑How about a Corporal Spencer with a C?                               ∑1 Q.∑∑Well, like in your memory or --
            ∑2 A.∑∑No.                                                                  ∑2 A.∑∑No.
            ∑3 Q.∑∑How about a Corporal Thorpe with an E?                               ∑3 Q.∑∑Okay.∑That's fair.∑Are you able to testify about
            ∑4 A.∑∑No.                                                                  ∑4∑∑∑whether there was knowledge on the part of the
            ∑5 Q.∑∑There's something that the county provided -- or                     ∑5∑∑∑department in August of 2006 whether my client,
            ∑6∑∑∑excuse me, sorry, the Sheriff's Department provided                    ∑6∑∑∑Mr. Burks, was at serious risk of attack from other
            ∑7∑∑∑that these deputies are believed to have information                   ∑7∑∑∑inmates?
            ∑8∑∑∑regarding the observations they made during their                      ∑8 A.∑∑In 2006?
            ∑9∑∑∑shifts in the day or two before the rape.∑You don't                    ∑9 Q.∑∑Did I say that?∑2016.∑Thank you.
            10∑∑∑know anything about that?                                              10 A.∑∑No.
            11 A.∑∑No.                                                                  11 Q.∑∑Are you able to testify whether there was knowledge on
            12 Q.∑∑Okay.∑Your department is able to pull I think you                    12∑∑∑the part of the department that Mr. Solomon was an
            13∑∑∑said like housing information about who -- what                        13∑∑∑imminent risk to the people that he was bunking with
            14∑∑∑prisoners are in a particular area --                                  14∑∑∑or assigned in the same area with?
            15 A.∑∑Yes.                                                                 15 A.∑∑No.
            16 Q.∑∑-- when like a sexual assault is alleged to occur;                   16 Q.∑∑Do you know whether there is any different level of
            17∑∑∑right?                                                                 17∑∑∑supervision in Ward 610 as it being a protective
            18 A.∑∑Yes.                                                                 18∑∑∑custody unit than there is in like a general
            19 Q.∑∑And then it's not unheard of or -- because I've seen                 19∑∑∑population setting?
            20∑∑∑it in a number of interviews where, you know, maybe                    20 A.∑∑It's -- it's the same level of supervision.∑You're
            21∑∑∑they just pass out the blank form and it's like what                   21∑∑∑just isolated.∑There's less people you have contact
            22∑∑∑did you see and different inmates will say, you know,                  22∑∑∑with.∑There's three cells instead of, you know, ten.
            23∑∑∑he did this to this guy or I didn't see anything.                      23 Q.∑∑Fair enough.∑So do you know whether there's any
            24∑∑∑That's pretty common to hand out witness statements to                 24∑∑∑effort to -- do you know whether sometimes people are
            25∑∑∑the inmates; right?                                                    25∑∑∑put into Ward 610 or other protective custody areas


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            ∑1 A.∑∑Yes.                                                                 ∑1∑∑∑because they've become dangerous and difficult to
            ∑2 Q.∑∑And sometimes it's done when the inmates don't know                  ∑2∑∑∑manage in general population?∑In other words, they're
            ∑3∑∑∑anything and they write I didn't see anything; right?                  ∑3∑∑∑problematic to others in general population?
            ∑4 A.∑∑Yes.                                                                 ∑4 A.∑∑I don't have specific knowledge of that.∑That's more
            ∑5 Q.∑∑The county provided -- the office -- the sheriff's                   ∑5∑∑∑of a classification issue because, I mean, I know that
            ∑6∑∑∑office provided a list of inmates who were on the same                 ∑6∑∑∑we have disciplinary wards and we also have maximum
            ∑7∑∑∑floor or cellblock or nearby adjacent cellblock as the                 ∑7∑∑∑security wards.∑So, I mean, there are ways to manage
            ∑8∑∑∑Solomon and Burks rape happened.∑I can -- I'm going                    ∑8∑∑∑somebody who's difficult.∑But then if it's a mental
            ∑9∑∑∑to show you -- I'm not going to mark it because I                      ∑9∑∑∑health issue, I mean, you can do that through mental
            10∑∑∑printed it funny, but I'm going to show you 34 names.                  10∑∑∑health on the fourth floor, so . . .∑I don't know if
            11∑∑∑I'm not going to read them all into the record, but 34                 11∑∑∑they would use it for that reason.∑That's not
            12∑∑∑names.∑They start Sims and end with Powell.∑Can you                    12∑∑∑something I would do.
            13∑∑∑just tell for the record whether you've got that list                  13 Q.∑∑You gave me an example of where there might be a
            14∑∑∑of names now in front of you?                                          14∑∑∑flasher, and I know you're not saying that happened or
            15 A.∑∑Yes, I do.                                                           15∑∑∑that was just an example, and you said that in that
            16 Q.∑∑Okay.∑So these were names that the county provided                   16∑∑∑case it might be that the floor security staff could,
            17∑∑∑that may have information about this matter.∑Just                      17∑∑∑you know, kind of pull out the guy who was complaining
            18∑∑∑take a second and look at if and let me know if you                    18∑∑∑from the guy who was alleged to do it.∑Is the floor
            19∑∑∑know of any information about any of them being                        19∑∑∑security staff authorized to act that quickly, though?
            20∑∑∑questioned about the rape.                                             20∑∑∑Like do they have to involve other people or are they
            21 A.∑∑No, I do not.                                                        21∑∑∑able to do that?
            22 Q.∑∑Even if you know whether they were questioned or not,                22 A.∑∑Yeah.∑No.∑I mean, let's walk all the way through it.
            23∑∑∑you don't have anything that tells you they do or                      23∑∑∑So say, hey, help on Ward 505, this guy just exposed
            24∑∑∑don't have information one way or the other, do you?                   24∑∑∑his penis to me.∑I'm not going to wait and make a
            25 A.∑∑No.∑Not in front of me.                                              25∑∑∑bunch of phone calls.∑I'm going to pull the guy out


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            ∑1∑∑∑that exposed his penis and remove him from the housing                 ∑1∑∑∑steps happened because of anything unique to them or
            ∑2∑∑∑unit and secure him in a holding cell, so now I've                     ∑2∑∑∑that their situation is in some way about it being
            ∑3∑∑∑removed the threat, I've done this or that.∑Now, as                    ∑3∑∑∑Mr. Solomon and Mr. Burks as opposed to just any two
            ∑4∑∑∑far as in terms of writing a report, I've got to                       ∑4∑∑∑people?
            ∑5∑∑∑notify the sergeant because he's got to approve the                    ∑5 A.∑∑No.
            ∑6∑∑∑report.∑I've got to notify classification for a new                    ∑6 Q.∑∑Do you know of any prosecution of any officers that
            ∑7∑∑∑housing assignment.∑I've got to refer it to the jail                   ∑7∑∑∑had anything -- were present, aware, near anything to
            ∑8∑∑∑compliance department so that a disciplinary hearing                   ∑8∑∑∑do with the rape of Solomon -- of Burks by Solomon?
            ∑9∑∑∑can be done.∑So, I mean, yes, you take action                          ∑9 A.∑∑Do I know the prosecution of any officers like --
            10∑∑∑immediately, but after everybody's safe and secure,                    10 Q.∑∑So any officer that had anything to do with whether it
            11∑∑∑then you have to notify a bunch.                                       11∑∑∑was an investigation, whether they were floor
            12 Q.∑∑Are there places on every ward or cell -- that was                   12∑∑∑security, whether they were follow-up, whether they
            13∑∑∑nonsense.∑Strike that.                                                 13∑∑∑were there, you know, before and set up the scenario,
            14∑∑∑∑∑∑∑∑∑Are there places on every floor or                               14∑∑∑anything to do with Burks's rape by Solomon.∑Have any
            15∑∑∑accessible to floor officers where they can, you know,                 15∑∑∑of those officers ever been prosecuted for anything?
            16∑∑∑pull someone out for a temporary spot?∑I think I've                    16 A.∑∑No.
            17∑∑∑seen that marked like with a star on the housing                       17 Q.∑∑Has any prosecution of any officer that you do know of
            18∑∑∑placements or something.                                               18∑∑∑have anything to do with the rape of Solomon -- of
            19 A.∑∑I don't know about a star in the housing placements,                 19∑∑∑Burks by Solomon?
            20∑∑∑but like you have several different options, so like                   20 A.∑∑No.
            21∑∑∑a -- like a -- primarily you can always say lock down                  21 Q.∑∑Other than -- we know Solomon was prosecuted.∑Do we
            22∑∑∑and lock everybody in their individual cells because                   22∑∑∑know of any other inmate whose prosecution has
            23∑∑∑they're all single bunked in Division 2.∑Another                       23∑∑∑anything to do with Burks's rape by Solomon?
            24∑∑∑option is you could get somebody locked in -- like so                  24 A.∑∑No.
            25∑∑∑say I have two inmates fighting.∑I can't get them all                  25 Q.∑∑Was there any pattern of behavior that was played out


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            ∑1∑∑∑to lock down because they won't, but I can get one of                  ∑1∑∑∑and prosecuted that related to the Burks and
            ∑2∑∑∑the combatants to step into a sally port and close                     ∑2∑∑∑Solomon -- that, you know, your department brought to
            ∑3∑∑∑that side and I can lock them doors.∑I don't want to                   ∑3∑∑∑bear on investigating Burks's rape by Solomon?
            ∑4∑∑∑pull him out and have the guy start fighting me, but                   ∑4 A.∑∑Not that I'm aware of, no.
            ∑5∑∑∑I've got him isolated from everybody else, so I can                    ∑5 Q.∑∑Do you know what observations Williams, Bell, Seals,
            ∑6∑∑∑leave him there.∑The other issue is you could pull                     ∑6∑∑∑or Lee made on the night of the rape?
            ∑7∑∑∑them out and put them into the hallway holding cell                    ∑7 A.∑∑No.
            ∑8∑∑∑areas where you can isolate them there if they're                      ∑8 Q.∑∑Do you know how long they spent on their rounds
            ∑9∑∑∑compliant or if you're able to get handcuffs on them                   ∑9∑∑∑or . . .?∑I mean, I know it's knowable and we have
            10∑∑∑or whatever.∑So the officers actually do have -- they                  10∑∑∑those records, but do you have any information about
            11∑∑∑do have options available to them.                                     11∑∑∑that?
            12 Q.∑∑Do you know whether Burks asked for help at any point                12 A.∑∑No.
            13∑∑∑from Williams or Bell or Seals or Lee?                                 13 Q.∑∑Do you have any opinions about how long they spent on
            14 A.∑∑No.                                                                  14∑∑∑their rounds or whether they were good or bad rounds?
            15 Q.∑∑You know you're going to be asked to testify and give                15 A.∑∑My opinion is they met the minimum requirement for
            16∑∑∑your opinion about why specific to Burks and Solomon                   16∑∑∑what they're supposed to do at the very least.
            17∑∑∑the county fulfilled its constitutional duties.∑What                   17 Q.∑∑Based on knowing what the times of their rounds were?
            18∑∑∑will be your answer on why the jury should say it did?                 18∑∑∑Is that what you're basing that on?∑Or is there some
            19 A.∑∑Because upon being notified about it they took action                19∑∑∑other information you have?
            20∑∑∑to get him removed from the housing assignment, get                    20 A.∑∑I'm basing it on the totality of all of this that I've
            21∑∑∑medical attention, get investigations launched into it                 21∑∑∑been through.∑I mean, at some point if there had been
            22∑∑∑and a criminal prosecution and conviction.                             22∑∑∑discipline or anything, this would have come up
            23 Q.∑∑Okay.∑Do you know of any facts that suggest that the                 23∑∑∑through all these depositions and question and
            24∑∑∑scenario with Burks and Solomon, the rape that                         24∑∑∑paperwork and everything, and I have -- I've never --
            25∑∑∑occurred and then the following steps, that those                      25∑∑∑nobody's ever hinted at that or anything, and I'm not


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            ∑1∑∑∑aware of any discipline or anything, so . . .                         ∑1 A.∑∑So I don't want to let this go on.∑I don't want to
            ∑2 Q.∑∑So it's the absence of a disciplinary step or --                    ∑2∑∑∑let this happen.∑I've got to -- and with the tablets,
            ∑3 A.∑∑Information of anything negative.                                   ∑3∑∑∑now you can send, you know, grievances that nobody
            ∑4 Q.∑∑Okay.∑Do you know if anyone's ever assessed whether                 ∑4∑∑∑else can get access to, kites, the PREA hotline, their
            ∑5∑∑∑the two of them are doing rounds that really give them                ∑5∑∑∑visits.∑You know, you get pulled for recreation or a
            ∑6∑∑∑an opportunity to observe signs of risk or stress                     ∑6∑∑∑medical appointment or whatever.∑I mean, there are
            ∑7∑∑∑of -- you know, the signs that someone can be                         ∑7∑∑∑ample opportunities to report activity.∑You could
            ∑8∑∑∑imperiled and threatened and they're afraid?∑Do you                   ∑8∑∑∑pass a note when you ask for your razor or the mop
            ∑9∑∑∑know whether they've been trained on those techniques?                ∑9∑∑∑bucket or something.∑I mean . . .
            10 A.∑∑We have training that's covered in our suicide                      10 Q.∑∑You have not been PREA coordinator; right?
            11∑∑∑prevention training.∑It's covered in the PREA                         11 A.∑∑No.
            12∑∑∑training.∑It's covered I'm sure in multiple other --                  12 Q.∑∑And in terms of -- are you able to testify -- I mean,
            13∑∑∑probably first aid, CPR.∑It's covered in multiple --                  13∑∑∑we have talked to Mr. Davis.∑But are you planning to
            14∑∑∑there's mental health training that everyone takes. I                 14∑∑∑testify about the activities of his work and how he's
            15∑∑∑don't know if you've ever met Corporal Judy Bell, but                 15∑∑∑implemented PREA or . . .?
            16∑∑∑she's a very experienced officer, like 35 plus years                  16 A.∑∑Director Davis's?
            17∑∑∑probably in the agency.                                               17 Q.∑∑Yeah.
            18 Q.∑∑Do you have any information or facts about what                     18 A.∑∑No.
            19∑∑∑training any of the four of them got prior to                         19 Q.∑∑Do you have any insight on how he has run things with
            20∑∑∑August 2016?                                                          20∑∑∑setting up training or coordinating training for
            21 A.∑∑I don't have that information.                                      21∑∑∑staff?∑Is that something you plan to testify about?
            22 Q.∑∑Have you ever walked rounds with any of the four of                 22 A.∑∑If asked, I would be offered -- I would be willing to
            23∑∑∑them in a supervisorial, like evaluating their                        23∑∑∑provide that Director Davis is a retired deputy chief
            24∑∑∑demeanor with prisoners or whatever?                                  24∑∑∑in the Wayne County Sheriff's Office, and when he was
            25 A.∑∑No.                                                                 25∑∑∑a sergeant, I worked as an officer under -- underneath


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            ∑1 Q.∑∑Do you know if anyone has above them, command staff?                ∑1∑∑∑him, and in his time with the sheriff's office, I
            ∑2 A.∑∑I'm sure there's been a sergeant or lieutenant or                   ∑2∑∑∑mean, he was lieutenant over the training unit.∑He
            ∑3∑∑∑somebody at some point who has.                                       ∑3∑∑∑was a commander at the jails and at the courts, deputy
            ∑4 Q.∑∑Okay.∑Not something that you know of sitting here?                  ∑4∑∑∑chief.∑He's been -- he's been involved in training
            ∑5 A.∑∑Right.                                                              ∑5∑∑∑throughout most of his career.∑He's been involved
            ∑6 Q.∑∑Is there any way to know how many times sexual                      ∑6∑∑∑with, you know, implementing systems and monitoring
            ∑7∑∑∑assaults are going unreported in the jail maybe from                  ∑7∑∑∑and supervisory and all of those types of activities.
            ∑8∑∑∑fear of being considered a snitch or someone's being                  ∑8∑∑∑He's very qualified in that area.
            ∑9∑∑∑threatened?∑Is there any way to tell?                                 ∑9 Q.∑∑Okay.∑Do you have a set of facts that you're basing
            10 A.∑∑No.∑But I would be confident that at Jail Division 2                10∑∑∑any particular opinion on based on what he has done on
            11∑∑∑with single cell bunking is extremely difficult                       11∑∑∑PREA or sexual assault training?
            12∑∑∑because I can see a scenario if you're double bunked                  12 A.∑∑I mean, I had to work with him when I was the captain
            13∑∑∑or during the middle of the night with nobody around                  13∑∑∑of Internal Affairs.∑We would work together on the
            14∑∑∑you can do it, but at Division 2, I mean, the housing                 14∑∑∑PREA statistics and things like that.∑So, I mean, you
            15∑∑∑units are so small.∑It's so cramped.∑You're single                    15∑∑∑know, he was reporting the statistics at certain
            16∑∑∑celled.∑So the doors are open if you're out together.                 16∑∑∑times.∑He took over that role and that duty, and we
            17∑∑∑There's no two people in the cell together on lockdown                17∑∑∑would look at different cases and things like that.
            18∑∑∑or anything.∑So, I mean, anything that goes on in                     18∑∑∑So I had had some interactive experience with him.
            19∑∑∑that cell, other people are going to know about it.                   19 Q.∑∑Okay.∑Do you know when he ordered training or what
            20∑∑∑And I know that it would be easy to say, well, they                   20∑∑∑the training was for floor security?∑Do you have any
            21∑∑∑wouldn't tell, but you have to realize if you're the                  21∑∑∑facts on what he directed and when?
            22∑∑∑guy that sees this other guy get sexually assaulted,                  22 A.∑∑Yes.∑Now, I can't provide the specific dates, but
            23∑∑∑you may have the thought in your mind of next week                    23∑∑∑even to this day he will send out mass emails that
            24∑∑∑it'll be me.                                                          24∑∑∑says, hey, jail PREA captains, which are captains that
            25 Q.∑∑Right.                                                              25∑∑∑are designated to be PREA, it is time for the annual


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            ∑1∑∑∑training, here is the website, I need everybody to                    ∑1∑∑∑whether -- how the captains that are designated as
            ∑2∑∑∑pick a class from these three categories or however                   ∑2∑∑∑PREA managers as to the steps they've taken, when,
            ∑3∑∑∑many categories, print out their certificates, they                   ∑3∑∑∑what, where, your opinions of the steps they've taken
            ∑4∑∑∑all need to be collected and sent back to me on a                     ∑4∑∑∑on PREA training or any kind of training on sexual
            ∑5∑∑∑specific date.∑And so like to this day he still                       ∑5∑∑∑assault?
            ∑6∑∑∑coordinates and collects all of that, and I get the                   ∑6 A.∑∑If asked, I would offer that they help coordinate when
            ∑7∑∑∑emails from him, but I don't know when.∑I mean, I                     ∑7∑∑∑the notices are sent out that training be conducted.
            ∑8∑∑∑know we've already done it for this year.                             ∑8∑∑∑They help coordinate that everybody's notified of it,
            ∑9 Q.∑∑And that effort -- are you planning to testify that                 ∑9∑∑∑everybody completes it, prints out the certificates,
            10∑∑∑that effort of getting everybody trained and tracking                 10∑∑∑they're all collected, they're all forwarded on for
            11∑∑∑and paying attention to their certificates and the                    11∑∑∑record-keeping, and that when he or she is reviewing
            12∑∑∑classes they're taking that's showing appropriate                     12∑∑∑reports investigatively that she's keeping PREA -- or
            13∑∑∑necessary care for avoiding sexual harm to prisoners?                 13∑∑∑he or she is keeping PREA in mind and making sure that
            14 A.∑∑I didn't believe that I was going to be testifying                  14∑∑∑the steps and processes are being followed, in
            15∑∑∑about that.∑I said if I was asked my opinion, these                   15∑∑∑addition to the other maintenance issues and things.
            16∑∑∑are the things that I would say and I would say that.                 16∑∑∑Like, for instance, if you have a phone that's down on
            17 Q.∑∑Okay.                                                               17∑∑∑a housing unit on a ward, well, guess what?∑Your
            18 A.∑∑I mean, his credentials will speak for themselves.                  18∑∑∑phone's not just down.∑Your PREA hotline is down.∑So
            19 Q.∑∑Okay.∑But you don't know when he -- like, for                       19∑∑∑you need to make sure that you get that up and running
            20∑∑∑example, when the floor security staff got ordered,                   20∑∑∑because that is a PREA hotline possible notification.
            21∑∑∑you must have training by X the first time that he was                21∑∑∑You know, same thing with the tablets, you know, so --
            22∑∑∑running this?                                                         22∑∑∑so, again, it's -- these are things we've all done
            23 A.∑∑No.∑I mean, like if we searched the emails, I may                   23∑∑∑before.∑We're just going to make sure that we're even
            24∑∑∑find the emails, but . . .∑From when I was told to do                 24∑∑∑focused on them even more.
            25∑∑∑it.                                                                   25 Q.∑∑Okay.∑And so let's see if I under -- so you know


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            ∑1 Q.∑∑Do you know whether there were PREA managers prior to               ∑1∑∑∑there's a policy of turning off the phones at night;
            ∑2∑∑∑August of 2016?                                                       ∑2∑∑∑right?
            ∑3 A.∑∑I don't know when they were implemented.                            ∑3 A.∑∑After lockdown.∑Yep.
            ∑4 Q.∑∑Okay.∑And do you know when they did get implemented                 ∑4 Q.∑∑Well, is it after lockdown?
            ∑5∑∑∑whether their duties and jobs were the same as they                   ∑5 A.∑∑Yes.∑Well, it's 9:00; right?∑Lockdown's at ten.∑So
            ∑6∑∑∑are today?∑Whenever that -- you know, I know you                      ∑6∑∑∑no.∑It's one hour before lockdown.
            ∑7∑∑∑don't know the date, but . . .                                        ∑7 Q.∑∑Okay.∑So does that still happen?
            ∑8 A.∑∑To answer that, I would want to say that their duties               ∑8 A.∑∑Yes.∑It should.
            ∑9∑∑∑and jobs have always been the same because we've                      ∑9 Q.∑∑And in terms of when someone got -- anything else that
            10∑∑∑always treated sexual assaults in a very serious                      10∑∑∑you are prepared to offer an opinion on relative to
            11∑∑∑manner.∑By designating them PREA managers, the                        11∑∑∑the PREA managers working on training or anything to
            12∑∑∑captains, I believe it was kind of one of those                       12∑∑∑do with sexual assault?
            13∑∑∑things, hey, let's redouble our efforts, let's remind                 13 A.∑∑No.∑I think we've covered it.
            14∑∑∑ourselves, let's remind the staff, let's make sure --                 14 Q.∑∑All right.∑Do you know whether the policy on sexual
            15∑∑∑you know, it's kind of like when you have an uptick in                15∑∑∑assault misconduct, prevention, and intervention, it's
            16∑∑∑the suicides that we spoke about earlier, we decide,                  16∑∑∑14.17, do you know whether that policy contains or
            17∑∑∑hey, we're going to really reevaluate and really                      17∑∑∑reflects each of the requirements of federal law on,
            18∑∑∑buckle down on this, and I think that's what the PREA                 18∑∑∑you know, for example, PREA?
            19∑∑∑manager designation did.∑So I would like to say that                  19 A.∑∑When Deputy Chief Larry Hall wrote the policy
            20∑∑∑their duties are the same.∑It's just been a                           20∑∑∑originally, he is a lawyer, so that was one of the
            21∑∑∑redoubling of the efforts.                                            21∑∑∑criterias that he was making sure that it followed
            22 Q.∑∑Okay.∑And their duties are the -- these are people                  22∑∑∑through, and when him and I would have discussions and
            23∑∑∑who are captains; is that right?                                      23∑∑∑conversations about that, those were issues that he
            24 A.∑∑Yes.∑Um-hmm.                                                        24∑∑∑was in line with.∑Now, the subsequent -- you know, if
            25 Q.∑∑And so how about are you able to testify as to                      25∑∑∑there had been changes to that policy or order for


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            ∑1∑∑∑anything, you know, I don't know what may have been                    ∑1 Q.∑∑And do you know who has been doing that, if anyone?
            ∑2∑∑∑omitted.                                                               ∑2 A.∑∑I believe the PREA coordinator.
            ∑3 Q.∑∑Okay.                                                                ∑3 Q.∑∑Okay.∑Do you have dates or exactly what steps that
            ∑4 A.∑∑But I know that was in consideration at the time.                    ∑4∑∑∑that would have happened?
            ∑5 Q.∑∑Okay.∑And so if I've understood, and I just want to                  ∑5 A.∑∑Not with me, no.
            ∑6∑∑∑make sure I understand, so Deputy Chief Hall, who's a                  ∑6 Q.∑∑Okay.
            ∑7∑∑∑lawyer, he would have been a person who paid attention                 ∑7 A.∑∑Because we have our own virtual online learning, and
            ∑8∑∑∑to the law, and so that's -- and that's the best you                   ∑8∑∑∑the PREA is outside of our own virtual.∑So, yeah,
            ∑9∑∑∑can kind of tell me about whatever the policy would be                 ∑9∑∑∑it's through an independent party.
            10∑∑∑lined up next to whatever federal or state laws?                       10 Q.∑∑Okay.∑It sounds like you -- did you ever fill out any
            11 A.∑∑Yeah.∑Unless you give me the federal, state law                      11∑∑∑of the quarterly reports that would go, for example,
            12∑∑∑and/or policy and let me go through it line by line                    12∑∑∑to the Bureau of Prisons?
            13∑∑∑over several hours.∑That would be the only way to --                   13 A.∑∑There was a time that I was doing it, and then when
            14∑∑∑and even then, I mean, I can only give you my                          14∑∑∑Director Davis took over, he took it over at a certain
            15∑∑∑layman's -- I'm sure that if I got seven lawyers in a                  15∑∑∑point where I would just pull the files and give them
            16∑∑∑room, all seven would have a different opinion on what                 16∑∑∑to him.
            17∑∑∑it means.                                                              17 Q.∑∑Okay.∑Do you know when that transition happened?
            18 Q.∑∑Well, let's put it this way.∑That's not been                         18 A.∑∑It was in my later time in IA, and he was the PREA
            19∑∑∑something -- alignment of the policy to state and                      19∑∑∑coordinator after Chuck Pappas, so it would have been
            20∑∑∑federal law is not something that has ever been part                   20∑∑∑my later -- my later stages in IA.∑I don't know exact
            21∑∑∑of your lookout or your duties that have been assigned                 21∑∑∑dates or years.
            22∑∑∑to you; right?                                                         22 Q.∑∑Okay.∑And so were you able -- do you have the
            23 A.∑∑Correct.                                                             23∑∑∑decision-making that you would do on, okay, this
            24 Q.∑∑And so, for example, if PREA says that it's important                24∑∑∑matter here, the Smith file, qualifies in this
            25∑∑∑to identify specifically people who are sexually                       25∑∑∑category versus that category or would that be


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            ∑1∑∑∑aggressive and separate them from people who are                       ∑1∑∑∑something Davis would be deciding?
            ∑2∑∑∑sexually vulnerable in housing, Mr. Rommel says we                     ∑2 A.∑∑If he was sending the report, he would be deciding
            ∑3∑∑∑don't have flags for that, could you testify about                     ∑3∑∑∑that.
            ∑4∑∑∑whether the policy lines up with federal law on that                   ∑4 Q.∑∑What about the time before he took over and that you
            ∑5∑∑∑point?                                                                 ∑5∑∑∑were doing it?∑Were you with someone else telling you
            ∑6 A.∑∑I believe the PREA coordinator would be better.                      ∑6∑∑∑how to categorize or were you deciding that?
            ∑7 Q.∑∑Have you ever had anything to do with the PREA                       ∑7 A.∑∑Yeah.∑There were times like I would fill it out and
            ∑8∑∑∑Resource Center?                                                       ∑8∑∑∑discuss it with DC Guy and then it would be sent up.
            ∑9 A.∑∑I think we've done some training through them, some                  ∑9 Q.∑∑Okay.∑And the things that you were reporting to the
            10∑∑∑online training.                                                       10∑∑∑Bureau of Prisons, would those all be things that IA
            11 Q.∑∑Okay.∑So you think you might have done -- so when you                11∑∑∑had investigated?
            12∑∑∑say we might have done training, you mean like you                     12 A.∑∑This is a more complicated issue because IA is the
            13∑∑∑might have taken modules yourself?                                     13∑∑∑de facto keeper of the records for the agency, so even
            14 A.∑∑Yes.                                                                 14∑∑∑if a case file is let's say a record only, a
            15 Q.∑∑Okay.                                                                15∑∑∑non-prosecutorial incident, it is still sent to IA and
            16 A.∑∑I've definitely taken modules.                                       16∑∑∑filed and copied there.∑So we have it.∑It was not
            17 Q.∑∑Fair enough.∑Through the PREA Resource Center?                       17∑∑∑investigated.∑It was immediately closed upon
            18 A.∑∑Yeah.∑I thought I called it NCIC or something                        18∑∑∑receiving it.∑But we actually have the information to
            19∑∑∑earlier, but -- or the NICIC Center or something, but                  19∑∑∑report it because the jail has no system for that type
            20∑∑∑yeah, I recognize the PREA Resource Center title.                      20∑∑∑of activity.
            21 Q.∑∑Let me just understand it this way.∑Have you had any                 21 Q.∑∑Okay.∑So let's say I'm a guy and I'm like that guy is
            22∑∑∑role as a liaison for the department to the PREA                       22∑∑∑flashing me and I'm going to -- I'm sure they get
            23∑∑∑Resource Center to obtain resources, evaluate                          23∑∑∑angry about that.∑You need to get him apart from me.
            24∑∑∑resources, implement resources?                                        24∑∑∑Does that become a record that goes to IA?
            25 A.∑∑No.                                                                  25 A.∑∑Yeah.∑It could be.∑Now, and keep in mind flashing


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            ∑1∑∑∑could be a crime, but usually, I mean, it's a                          ∑1 Q.∑∑Do you know whether a form was made on Solomon to say,
            ∑2∑∑∑misdemeanor.∑These guys are facing hard time.∑So                       ∑2∑∑∑you know, classification, you need to reclassify this
            ∑3∑∑∑they usually would sign like a prosecution rights                      ∑3∑∑∑guy because he's probable cause sexually assaulted
            ∑4∑∑∑form, hey, I don't want to prosecute, just move the                    ∑4∑∑∑somebody?
            ∑5∑∑∑guy.∑So then that comes over as a record only and                      ∑5 A.∑∑It wouldn't be a form.∑It would be the report, the
            ∑6∑∑∑it's just filed, but technically there is something                    ∑6∑∑∑JMS report.
            ∑7∑∑∑that could still fall beneath the PREA guidelines.                     ∑7 Q.∑∑Okay.∑Do you know of any way that classification has
            ∑8 Q.∑∑Okay.∑What if it's just like, you know, he's pushing                 ∑8∑∑∑to like up someone's classification or change their
            ∑9∑∑∑me, he's pressing me for sex, get him away from me --                  ∑9∑∑∑management because of a sexual assault even happening
            10∑∑∑I guess you testified earlier some people aren't --                    10∑∑∑within your own facility?
            11∑∑∑they aren't given that assignment or the prosecution                   11 A.∑∑I mean, they can review people's classification
            12∑∑∑rights form.∑Does that then have a record in the                       12∑∑∑levels.
            13∑∑∑record only category?                                                  13 Q.∑∑Sure.∑And, in fact, they have to; right?∑Like every
            14 A.∑∑It depends on the incident and the situation, because                14∑∑∑so often?
            15∑∑∑without a prosecution rights form, then I want a                       15 A.∑∑Every so often or as a command officer or even as an
            16∑∑∑detective to go and ask this person what happened, or                  16∑∑∑officer or whatever I would feel comfortable with,
            17∑∑∑you send it back to the jail and say, hey, you need to                 17∑∑∑hey, can you look at so-and-so and see, you know.
            18∑∑∑go back and do a prosecution rights form on this.∑You                  18 Q.∑∑But do you know whether there's like a weighted
            19∑∑∑know, I mean, it depends on the case.                                  19∑∑∑formula or a formula or a check box or a flag that
            20 Q.∑∑What if it's not a crime?∑There's no doubt there's no                20∑∑∑says, hey, this guy has committed a sexual, you know,
            21∑∑∑crime.∑It's just sexually inappropriate.                               21∑∑∑violent or even just a flashing situation in our
            22 A.∑∑Yeah.∑Record only.∑We file it.                                       22∑∑∑cells, we've got to manage him differently?
            23 Q.∑∑So what gets generated?∑So the guy's like this guy is                23 A.∑∑Yeah.∑I don't know how any of that's done.∑They have
            24∑∑∑just asking me for sex.∑There's no crime.∑I mean,                      24∑∑∑a system, but I don't know what it is.∑Because I know
            25∑∑∑maybe that's solicitation.∑And the guy is like                         25∑∑∑they used a Northpointe computer system at one point.


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            ∑1∑∑∑talking about sex and talking about how he likes to                    ∑1∑∑∑They've had a confinement file system.∑So I don't
            ∑2∑∑∑have -- I don't want it, you know, he's weirding me                    ∑2∑∑∑know what it is.
            ∑3∑∑∑out.∑What happens -- what's documented --                              ∑3 Q.∑∑Do you know anything about the training that's
            ∑4 A.∑∑What happens with like PREA is you would write a                     ∑4∑∑∑mandated at the academy specific to sexual safety,
            ∑5∑∑∑report, a JMS report, because it's referred for                        ∑5∑∑∑whether it's PREA or just more generally sexual
            ∑6∑∑∑discipline or even if it's referred for information                    ∑6∑∑∑safety?
            ∑7∑∑∑only, and then like typically we get those through the                 ∑7 A.∑∑So when you say the academy, do you mean the police
            ∑8∑∑∑PREA hotline, which go to Internal Affairs or through                  ∑8∑∑∑academy we send to a new jailer's training person
            ∑9∑∑∑the grievance system, which goes to compliance, so                     ∑9∑∑∑who's going to operate in the jail or do you mean
            10∑∑∑what happens is is we get notified by the compliance                   10∑∑∑somebody we send to Schoolcraft College to become a
            11∑∑∑person or the IA person.∑Hey, so-and-so just called                    11∑∑∑certified state licensed police officer on the street?
            12∑∑∑the PREA hotline or so-and-so just sent this                           12 Q.∑∑Let's start with the new jailer training.
            13∑∑∑grievance.∑Somebody's got to go up and interview him.                  13 A.∑∑New jailer's training, yes.∑They teach PREA in
            14∑∑∑Usually we send a sergeant out.∑So the sergeant goes                   14∑∑∑jailer's training because those are officers that are
            15∑∑∑out, hey, what happened?∑Oh, nothing.∑I just want                      15∑∑∑going to work in our jail specifically.
            16∑∑∑this guy to leave me alone.∑So you write that quick                    16 Q.∑∑Okay.∑And do you know when they started teaching PREA
            17∑∑∑two-liner out.∑Hey, we interviewed this guy because                    17∑∑∑concepts specific to --
            18∑∑∑he picked up the PREA hotline.∑He says that this guy                   18 A.∑∑No.
            19∑∑∑exposed his genitals to him.∑He just wants to be left                  19 Q.∑∑-- your academy?∑Okay.∑And then do you know whether
            20∑∑∑alone.∑He was never physically touched, assaulted,                     20∑∑∑when they did do that there was some other module that
            21∑∑∑doesn't need medical, doesn't need mental health or                    21∑∑∑rolled out with -- parallel to the training of the
            22∑∑∑nothing.∑We just gotta move this guy.∑Contact                          22∑∑∑people who had already been to the academy?
            23∑∑∑classification.∑New housing assignment.∑So PJ83, JMS                   23 A.∑∑I don't know.
            24∑∑∑report.∑Classification.∑You move the guy.∑Record                       24 Q.∑∑Okay.∑And then the second group you said is that
            25∑∑∑only.∑No investigation necessary.                                      25∑∑∑there's also someone could go to Schoolcraft for the


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            ∑1∑∑∑state -- you know, state licensed position?                            ∑1 A.∑∑The 17th maybe.

            ∑2 A.∑∑Yeah.∑Now, they're training people to be police                      ∑2 Q.∑∑Okay.∑The 17th was the last Friday.

            ∑3∑∑∑officers on the street.∑I doubt they cover PREA.                       ∑3 A.∑∑I think -- I think it was Friday the 17th.

            ∑4 Q.∑∑Okay.                                                                ∑4 Q.∑∑Okay.∑And then did you write the words on the paper?

            ∑5 A.∑∑Because they're doing traffic stops and stuff.∑That                  ∑5∑∑∑Like did you type -- even if you didn't put them into

            ∑6∑∑∑type of stuff.                                                         ∑6∑∑∑this format, did you write any of this content?

            ∑7 Q.∑∑Fair.∑Although there was a case I think it was in                    ∑7 A.∑∑We had had a conversation and then he wrote it or I'm

            ∑8∑∑∑2017 where a guy was asking women for sexual favors                    ∑8∑∑∑assuming he wrote it.

            ∑9∑∑∑when he would pull them over and stop them and they                    ∑9 Q.∑∑Okay.∑So the answer is you didn't write this?

            10∑∑∑caught him.                                                            10 A.∑∑Correct.

            11 A.∑∑Yeah.∑I mean, that's a crime, but, I mean, the Prison                11 Q.∑∑Okay.∑And have you ever seen it in this -- I mean,

            12∑∑∑Rape Elimination Act is designed for prisons.                          12∑∑∑have you seen it in this format?∑So this -- with this

            13 Q.∑∑Prison.∑Right.∑Yeah.∑All right.∑And have you ever                    13∑∑∑like header and signature line and all that?

            14∑∑∑had any role in like developing the modules at the new                 14 A.∑∑Yeah.∑I believe this is the same.

            15∑∑∑jailer training or on sexual safety specifically?                      15 Q.∑∑Okay.∑Do you know of any Internal Affairs

            16 A.∑∑No.                                                                  16∑∑∑investigation that would have reviewed a

            17 Q.∑∑And have you ever like sat through the modules                       17∑∑∑classification decision at any time or said anyone

            18∑∑∑specific to sexual safety at the new jailer training?                  18∑∑∑sort of fell down on the job relative to how they

            19 A.∑∑No.                                                                  19∑∑∑would classify somebody?

            20 Q.∑∑Okay.∑And you don't know when Williams, Bell, Seals,                 20 A.∑∑No.∑As I sit here I do not.

            21∑∑∑or Lee took any training at all let along PREA                         21 Q.∑∑I should have asked you one more thing about

            22∑∑∑specific training; right?                                              22∑∑∑Exhibit 1.∑I'm sorry.∑Is there anything in it that

            23 A.∑∑I don't have that information.                                       23∑∑∑you see that you would change or be incorrect about

            24∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑Do you mind if we take five?                       24∑∑∑your -- the portion that comes under your name?

            25∑∑∑I'm going to look at my notes.∑I think I'm done, but                   25 A.∑∑The one -- the only thing is you had asked me earlier



                                                                             Page 143                                                                  Page 145
            ∑1∑∑∑I just want to check my notes.                                         ∑1∑∑∑if Mr. Burks was ever in general population.∑I told

            ∑2∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Yeah.                                               ∑2∑∑∑you I didn't know.∑And it says that Mr. Burks was

            ∑3∑∑∑∑∑∑∑∑∑(Recess taken at 12:22 p.m.)                                     ∑3∑∑∑never in general population at the Wayne County Jail.

            ∑4∑∑∑∑∑∑∑∑∑(Back on the record at 12:30 p.m.)                               ∑4∑∑∑That would be the only thing that . . .

            ∑5∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑Okay.∑We can go back on.                           ∑5 Q.∑∑Okay.∑How about anything that you would add to this

            ∑6∑∑∑∑∑∑∑∑∑(Marked EXHIBIT 1 at 12:30 p.m.)                                 ∑6∑∑∑exhibit?

            ∑7 BY MS. PRESCOTT:                                                         ∑7 A.∑∑No.

            ∑8 Q.∑∑I'm going to hand it to your lawyer first.∑It's not                  ∑8 Q.∑∑Okay.∑Do you think that the Wayne County Jail has

            ∑9∑∑∑because I'm being rude but so he can look at it.∑This                  ∑9∑∑∑needed a culture change to align itself to what PREA

            10∑∑∑is what I'm going to mark as Exhibit 1.∑Take a look                    10∑∑∑requires in terms of protecting people from prison

            11∑∑∑at it.∑Tell me when you've had a chance to do so.                      11∑∑∑rape?

            12 A.∑∑Do I need to read the parts about Director Davis or                  12 A.∑∑No.∑No.∑We have some of the most violent criminals

            13∑∑∑just my own?                                                           13∑∑∑in the country, if not the world, and, you know, other

            14 Q.∑∑Anything you're comfortable with.∑I wasn't going to                  14∑∑∑agencies when we talk to them and discuss to them and,

            15∑∑∑ask you specific questions about that area, but . . .                  15∑∑∑you know, they hear how many homicide suspects we have

            16 A.∑∑Okay.                                                                16∑∑∑and other things of that nature, they can't even

            17 Q.∑∑So that document is signed by -- it's not signed by                  17∑∑∑fathom how we're able to maintain the control that we

            18∑∑∑you.∑It's signed by Mr. O'Neill.∑I'm just wondering                    18∑∑∑do, especially in light of we were supposed to be in a

            19∑∑∑if you've seen this document before.                                   19∑∑∑new jail back in 2012 that was never completed, and

            20 A.∑∑Yes, I have.                                                         20∑∑∑with the national staffing issues and everything else

            21 Q.∑∑Okay.∑And when did you first see it?                                 21∑∑∑that's going on, we actually do an incredible job with

            22 A.∑∑It was the Friday -- not last Friday.∑The Friday                     22∑∑∑what we have.∑I mean, that jail was built in the

            23∑∑∑before.                                                                23∑∑∑1920s.

            24 Q.∑∑Okay.∑And let's see.∑We're on a Monday, so it would                  24 Q.∑∑Do you think it gets in the way of your ability to

            25∑∑∑have been -- let me look at the calendar.                              25∑∑∑keep prisoners safe?




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            ∑1 A.∑∑Oh, a newer facility would absolutely make it easier                  ∑1∑∑∑them altogether.∑So I don't believe that they had the
            ∑2∑∑∑and aid us and help us with being able to do that.                      ∑2∑∑∑money and just kept it from us.∑I believe that it
            ∑3 Q.∑∑How about the fact that the county controls what you                  ∑3∑∑∑wasn't possible to do business as usual.
            ∑4∑∑∑can offer to people to pay them?∑Do you think that                      ∑4 BY MS. PRESCOTT:
            ∑5∑∑∑that gets in the way of your ability to recruit and                     ∑5 Q.∑∑Do you remember -- were you ever part of the sheriff
            ∑6∑∑∑get the right numbers that keep people safe?                            ∑6∑∑∑having to in a court of law go back and forth with the
            ∑7 A.∑∑I can't necessarily say that that's the case because                  ∑7∑∑∑county about mandates that he was up against with the
            ∑8∑∑∑when I wanted to be a cop it wasn't because I ever                      ∑8∑∑∑constitution and the consent decree?
            ∑9∑∑∑thought I was going to get rich.∑I think that there's                   ∑9 A.∑∑No.∑I was never part of that.
            10∑∑∑a cultural shift in the country.∑Some of it is                          10 Q.∑∑You weren't part of that.
            11∑∑∑deserved, some of it is media manipulated, and some of                  11∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑Okay.∑Those are my
            12∑∑∑it is perceived.∑We have some work to do, and I don't                   12∑∑∑questions.∑Appreciate it.
            13∑∑∑mean Wayne County.∑I mean law enforcement in general.                   13∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑I have nothing.∑Thank you.
            14∑∑∑But society has some work to do too.                                    14∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑Thank you for your time.
            15 Q.∑∑Were you ever present when Mr. Napoleon would say that                15∑∑∑∑∑∑∑∑∑THE WITNESS:∑Thank you.
            16∑∑∑the way that the county executives would control the                    16∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑I'll take an electronic copy,
            17∑∑∑pay scale would interfere with his ability to bring                     17∑∑∑please.
            18∑∑∑people on and the numbers that was needed?                              18∑∑∑∑∑∑∑∑∑(The deposition was concluded at 12:39 p.m.
            19 A.∑∑I've heard the sheriff say that, yes.                                 19∑∑∑∑∑∑Signature of the witness was not requested by
            20 Q.∑∑Do you agree with that?                                               20∑∑∑∑∑∑counsel for the respective parties hereto.)
            21 A.∑∑To an extent.∑I mean, like I said, when I wanted to                   21
            22∑∑∑be a cop, it wasn't because I thought I would get                       22
            23∑∑∑rich.∑I think the benefits has more to do with it                       23
            24∑∑∑than the pay scale, the cost of the medical insurance                   24
            25∑∑∑and the pension situation.                                              25



                                                                              Page 147                                                                 Page 149
            ∑1 Q.∑∑But weren't the benefits and the pay better for people                ∑1∑∑∑∑∑∑∑∑∑∑CERTIFICATE OF NOTARY
            ∑2∑∑∑like you when you came in versus people today?                          ∑2 STATE OF MICHIGAN )
            ∑3 A.∑∑Yeah.∑Yeah.∑They sure were.                                           ∑3∑∑∑∑∑∑∑∑∑∑) SS
            ∑4 Q.∑∑Do you think that the county has devoted the resources                ∑4 COUNTY OF WAYNE∑∑)
            ∑5∑∑∑to the sheriff's office and specifically to the jail                    ∑5
            ∑6∑∑∑that it really needs to maintain its operations?                        ∑6∑∑∑∑∑∑∑∑∑I, Cheri L. Poplin, certify that this
            ∑7∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection.∑Foundation and                            ∑7∑∑∑deposition was taken before me on the date
            ∑8∑∑∑outside the scope of this expert's planned testimony                    ∑8∑∑∑hereinbefore set forth; that the foregoing questions
            ∑9∑∑∑at trial.                                                               ∑9∑∑∑and answers were recorded by me stenographically and
            10∑∑∑∑∑∑∑∑∑You can answer if you can.                                        10∑∑∑reduced to computer transcription; that this is a
            11 A.∑∑I was on the bargaining team for the command officers                 11∑∑∑true, full and correct transcript of my stenographic
            12∑∑∑union when I was a captain, so I had a chance to sit                    12∑∑∑notes so taken; and that I am not related to, nor of
            13∑∑∑down with the county and negotiate some of these very                   13∑∑∑counsel to either party nor interested in the event of
            14∑∑∑issues right before we were imposed upon from the                       14∑∑∑this cause.
            15∑∑∑consent decree.∑And has the county been able to fund                    15
            16∑∑∑us the way that I would like to see us funded?∑No.                      16
            17∑∑∑But the county had to fund us in the way that they                      17
            18∑∑∑were able to fund us, and the simple fact of the                        18
            19∑∑∑matter is is the money didn't exist.∑They didn't have                   19
            20∑∑∑it, so they couldn't give it to us.∑And because of                      20
            21∑∑∑some bad decisions that were made previously in the                     21
            22∑∑∑past regarding the pension system and things of that                    22∑∑∑∑∑∑∑∑∑∑∑∑∑Cheri L. Poplin, CSR 5132, RPR, CRR
            23∑∑∑nature, it wasn't sustainable, and I would rather see                   23∑∑∑∑∑∑∑∑∑∑∑∑∑Notary Public,
            24∑∑∑them make the cuts that they did and, you know, go                      24∑∑∑∑∑∑∑∑∑∑∑∑∑Wayne County, Michigan
            25∑∑∑through a bankruptcy or something and possibly lose                     25∑∑∑My Commission expires:∑August 21, 2025




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